            Case 8:19-mj-00241-DUTY Document 1 Filed 03/22/19 Page 1 of 198 Page ID #:1
AO 91 (Rev. 11/82)                                                  CRIMINAL COMPLAINT
                                                                                                                      oR~~~c~A~
            UNITED STATES DISTRICT COURT                                                      CENTRAL DI
                                                                                                                           FILED
                                                                                        DOCKET NO.
                  UNITED STATES OF AMERICA
                                                 ~.                                                                    MAR 2 2 ~~19
                         MICHAEL J. AVENATTI
                                                                                        MaGisT~.TE°s casErro.   ~CNTRA D ' t;l OF CALIFORNIA
                                                                                                                ~Y                   DEPUTY

                                                                                                      ~~




                         Complaint for violations of Title 18, United States Code, Sections 1343 and 1344(1)

 NAME OF MAGISTRATE JUDGE                                                                                             LOCATION
                                                                                        UNITED STATES
 HONORABLE DOUGLAS F. MCCORMICK                                                         MAGISTRATE JUDGE              Santa Ana, California

 DATE OF OFFENSES                                        PLACE OF OFFENSE               ADDRESS OF ACCUSED (IF'KNOB

 Beginning in.or around                                      Orange County and          10000 Santa Monica Boulevard, Unit 2205,
 January 2014 and continuing                                 Los Angeles County         Los Angeles, California 90067
 through in or around March
 2019
 COMPLAINANT'S STATEMENT OF FACTS CONSTINTING THE OFFENSE OR VIOLATION:

         (See attached Co                       laint's Statement of Facts Constituting the Offense or Violation which is incorporated as part
 of this Comg~int~',i
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 BASIS OF COMPLAINANT'S CI3ARGE AGAINST THE ACCUSED:

           (See attached Affidavit which is incorporated as part of this Complaint)

 MATERIAL WITNESSES IN RELATION TO THIS CHARGE: NIA


                                                                      SIGNATURE OF COMPLAINANT                                   "`f/   ~
 Being duly sworn, I declare that the
 foregoing is true and correct to the best                            Remoun Karlous
 of my knowledge.                                                     oFFiciaL TITLE
                                                                      S ecial
                                                                            .~«Agent, Internal Revenue Service —Criminal Investigation
                                                                                ~~
 Sworn to be r me and subscribed in my presence,                                ''~,,

 SIGNAT        O         GISTRATE NDGE~'~                                                                                 DATE
            r~'            DOUG                    S            cC0       CK
                                                                                                                          March 22, 2019
~~> See Federal~le~ of Criminal Pro duce              d 54
AUSAs JulianL. Andre 21                         4.6683 and Brett A. Sage1714.338.3598            REC: Detention
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                   Complaint's Statement of Facts

               Constituting the Offense or Violation

                               COUNT ONE

                        [18 U.S.C. § 1344(1)]


     Beginning in or about January 2014, and continuing through

in or about April 2016, in Orange County, within the Central

District of California, and elsewhere, defendant MICHAEL J.

AVENATTI ("AVENATTI"), together with others known and unknown,

knowingly and with intent to defraud, executed and attempted to

execute a scheme to defraud The Peoples Bank as to material

matters.

     On or about December 12, 2014, in Orange County, within the

Central District of California, and elsewhere, defendant

AVENATTI, together with others known and unknown, committed and

willfully caused others to commit the following act, which

constituted an execution of, or an attempt to execute, the

fraudulent scheme: (1) wire transfer of approximately $494,500

from The Peoples Bank in Biloxi, Mississippi, to a California

Bank & Trust bank account in the name of Eagan Avenatti LLP in

Irvine, California.
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                               COUNT TWO

                          [18 U.S.C. ~ 1343]

     Beginning as early as in or around December 2017 and

continuing through in or around March 2019, in Los Angeles and

Orange Counties, within the Central District of California, and

elsewhere, defendant MICHAEL J. AVENATTI ("AVENATTI"), knowingly

and with intent to defraud, devised participate in, and executed

a scheme to defraud clients to whom defendant AVENATTI had

agreed to provide legal services, as to material matters, and to

obtain money and property from his legal clients by means of

material false and fraudulent pretenses, representations, and

promises, and the concealment of material facts.

     On or about January 5, 2018, in Los Angeles and Orange

Counties, within the Central District of California, and

elsewhere, defendant AVENATTI, for the purpose of executing the

above-described scheme to defraud, transmitted or caused the

transmission of the following items by means of wire

communication in interstate and foreign commerce:         (1) wire

transfer of approximately $1,600,000 sent from Silicon Valley

Bank through the interstate Fedwire system to defendant

AVENATTI's City National Bank attorney trust account in Los

Angeles, California.
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     I, Remoun Karlous, being duly sworn, declare and state as

follows:

                            I. INTRODUCTION

     1.    I am a Special Agent ("SA") with the Internal Revenue

Service-Criminal Investigation ("IRS-CI") in the Los Angeles

Field Office and have been so employed since April 1995.          As an

IRS-CI SA, I have investigated numerous cases involving criminal

violations of Title 18, Title 21, Title 26, and Title 31 of the

United States Code, which have resulted in seizure, search, and

arrest warrants.    In particular, I have investigated cases

involving money laundering, international money laundering,

securities fraud, tax evasion (domestic and international

cases), and subscribing to false tax returns.

                       II. PURPOSE OF AFFIDAVIT

     2.    This affidavit is submitted in support of an arrest

warrant for and criminal complaint charging Michael J. Avenatti

("AVENATTI") with:    (a) one count of bank fraud, in violation of

18 U.S.C. ~ 1344(1); and (b) one count of wire fraud, in

violation of 18 U.S.C. § 1343.

     3.    The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.   This affidavit is intended to show merely that there

is sufficient probable cause for the requested warrant and

complaint, and does not purport to set forth all of my knowledge

of or investigation into this matter.       Unless specifically


                                    1
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indicated otherwise, all conversations and statements described

in this affidavit are related in substance and in part only.

                  III. STATEMENT OF PROBABLE CAUSE

A.   February 2019 Warrant to Search GBUS Digital Devices

     4.   On February 22, 2019, in case number 8:19-MJ-103, I

submitted an affidavit in support of an application for a

warrant to search seven digital devices in the custody of IRS-CI

in Laguna Niguel, California (the "prior affidavit"); the seven

digital devices had been produced by former Global Baristas US

LLC ("GBUS") employees.     The Honorable Douglas F. McCormick,

United States Magistrate Judge, authorized the warrant that same

day (the "February 2019 search warrant").       The application for a

search warrant in case number 8:19-MJ-103, as well as my prior

affidavit in support thereof, are attached hereto as Exhibit 1

and incorporated herein by reference.       In summary, my prior

affidavit stated, among other things, the following:

          a.    AVENATTI was and is an attorney licensed to

practice law in the State of California.       AVENATTI practiced law

through Avenatti & Associates, APC ("A&A") and Eagan Avenatti

LLP ("EA LLP") in Newport Beach, California.        AVENATTI was the

sole owner of A&A.

          b.    AVENATTI was also the principal owner and Chief

Executive Officer ("CEO") of GBUS, which operated Tully's Coffee

("Tully's") stores in Washington and California.         In 2013,

AVENATTI's company, Global Baristas LLC ("GB LLC"), acquired TC

Global Inc., which previously operated Tully's, out of

bankruptcy for approximately $9.2 million.        AVENATTI's company,


                                    2
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A&A, owned 100 percent of Doppio Inc., which in turn owned 80

percent of GB LLC.    GB LLC wholly owned GBUS, which handled the

day-to-day business operations of Tully's.

          c.    There is probable cause to believe that between

at least 2011 and the present AVENATTI committed federal

offenses, including, but not limited to, the following:

(i) fraud-related offenses relating to loans AVENATTI and his

companies obtained from The Peoples Bank in Mississippi (Ex. 1,

~ IV.F); and (ii) wire fraud and money laundering offenses

relating to an approximately $1.6 million settlement payment

AVENATTI and EA LLP received in January 2018, but failed to

transfer to EA LLP's client (Ex. 1, ~ IV.G).

          d.    First, between approximately January 2014 and

December 2014, AVENATTI obtained three separate loans from The

Peoples Bank, a FDIC insured bank in Mississippi: (1) a $850,500

loan to GB LLC in January 2014; (2) a $2,750,000 loan to EA LLP

in March 2014; and (3) a $500,000 loan to EA LLP in December

2014.   In connection with these loans, AVENATTI provided The

Peoples Bank with false federal personal income tax returns for

the 2011, 2012, and 2013 tax years.      In these purported tax

returns, AVENATTI claimed that he earned $4,562,881 in adjusted

gross income in 2011, $5,423,099 in adjusted gross income in

2012, and $4,082,803 in adjusted gross income in 2013.         He also

claimed that he had paid to the IRS $1,600,000 in estimated tax

payments in 2012, and $1,250,000 in estimated tax payments in

2013.   However, AVENATTI never filed personal income tax returns

for the 2011, 2012, and 2013 tax years, and did not make any


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estimated tax payments to the IRS during the 2012 and 2013 tax

years.    In fact, at the time, AVENATTI still owed the IRS

approximately $850,438 in unpaid personal income taxes, plus

interest and penalties, from the 2009 and 2010 tax years.

Additionally, in March 2014, AVENATTI provided The Peoples Bank

with a 2012 federal tax return for EA LLP which claimed total

income of $11,426,021 and ordinary business income of

$5,819,456.      However, the 2012 federal tax return EA LLP

actually filed with the IRS in October 2014 claimed total income

of only $6,212,605 and an ordinary business loss of $2,128,849.

            e.     Second, from in or about December 2017 and the

present, AVENATTI defrauded one of EA LLP's client, G.B., out of

the client's portion of an approximately $1.6 million settlement

payment.    Specifically, in January 2018, AVENATTI arranged for

the $1.6 million settlement payment to be transferred to a newly

opened attorney trust account.      Rather than transfer his

client's portion of the settlement proceeds to his client,

AVENATTI used the entire $1.6 million for his own purposes,

including to pay for expenses relating to GBUS.        AVENATTI lied

to his client and claimed that the settlement payment was not

due until March 2018.      When the fake March 2018 deadline passed,

AVENATTI led his client to believe that the $1.6 million payment

had never been received.

B.   Additional Evidence Regarding AVENATTI's Scheme to Defraud
     His Legal Client, G.B.

     5.     As set forth in my prior affidavit, AVENATTI engaged

in a scheme to defraud his client, G.B., out of G.B.'s portion



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of an approximately $1.6 million settlement payment AVENATTI and

EA LLP received in January 2018 in connection with an

arbitration proceeding against a Colorado-based company

("Company 1")    (See Ex. 1, ~ IV.G.)      On March 15, 2019, I

participated in an interview of G.B.      The information G.B.

provided during the interview was consistent with the

information G.B. and his counsel had previously provided to IRS-

CI and the Newport Beach Police Department ("NBPD")          During the

interview, G.B.1 also provided the following additional

information:

          a.    On or about December 28, 2017, G.B. met with

AVENATTI at EA LLP's offices in Newport Beach, California, to go

over the proposed settlement agreement with Company 1.         During

this meeting, AVENATTI provided G.B. with a copy of the $1.9

million settlement agreement to review.       The settlement

agreement AVENATTI provided to G.B. listed the payment dates as

$1.6 million on March 10, 2018, and $100,000 on March 10 of each

of the next three years.     As noted in my prior affidavit, this

information was false and the actual settlement agreement

required Company 1 to pay G.B. $1.9 million on January 10, 2018,

and $100,000 on January 10 of each of the three subsequent

years.   (Ex. 1, ¶ 75.e.)




     1 G.B. previously pleaded guilty to a felony theft count in
approximately September 2018 and was sentenced to probation.
(See Ex. 1, ~ 75 n.44.) During his interview, G.B. said that
AVENATTI had encouraged him to plead guilty and that AVENATTI
continued working with G.B. and one of G.B.'s companies after
G.B.'s guilty plea.

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           b.     Based on my review of documents produced by

G.B.'s counsel, I know that on or about June 29, 2018, G.B. sent

an email to an EA LLP employee ("EA Employee 1") asking her to

forward to G.B. the signed settlement agreement with Company 1.

During his interview, G.B. said that sometime after he sent this

email EA Employee 1 brought him a physical copy of the fully-

executed settlement agreement while G.B. was at EA LLP's

offices.   EA Employee 1 handed AVENATTI the settlement

agreement.      AVENATTI flipped through the settlement agreement

and then handed it to G.B.      This copy of the settlement

agreement also falsely stated that the settlement payments were

due on March 10 of 2018 through 2021, as opposed to January 10

of 2018 through 2021.

             c.    As noted in my prior affidavit, between April

2018 and November 2018, AVENATTI "advanced" G.B. approximately

$130,000 to help G.B. meet certain financial obligations while

he waited for his portion of the $1.6 million settlement payment

from Company 1.      During his interview, G.B. said that in

approximately October 2018, AVENATTI told G.B. that AVENATTI

would be able to loan G.B. another $100,000 sometime during the

first two weeks of January 2019.         Notably, under the terms of

the true settlement agreement, Company 1 was scheduled to make

an additional $100,000 settlement payment to AVENATTI's trust

account on January 10, 2019.      Thus, it appears that AVENATTI was

offering to loan G.B.'s own money to G.B.

      6.     During the interview on March 15, 2019, G.B's current

counsel also confirmed that AVENATTI still has not turned over


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G.B.'s client file to his current attorneys despite repeated

requests that he do so.

     7.    Based on my review of bank records and other

documents, I have learned that on or about January 5, 2019, a

wire transfer of approximately $1,600,000 was transmitted from

Silicon Valley Bank through the interstate Fedwire system to a

City National Bank attorney trust account ending in 5566 ("CNB

Trust Account 5566") associated with AVENATTI.2

                       IV.   REQUEST FOR SEALING

      8.   I request that the criminal complaint, the arrest

warrant, and this affidavit be kept under seal to maintain the

integrity of this investigation until further order of the

Court, or until defendant makes his initial appearance on the

arrest warrant.    I make this request for several reasons.

           a.    First, this criminal investigation is ongoing and

is neither public nor known to AVENATTI and other subjects of

the investigation.     Public disclosure of the complaint, arrest

warrant, and this affidavit prior to AVENATTI's arrest and

initial appearance could cause AVENATTI and others to accelerate

any existing or evolving plans to, and give them an opportunity

to, destroy or tamper with evidence, tamper with or intimidate

witnesses, change patterns of behavior, or notify confederates.




     2 I understand that the State Bar of California has
specific rules that apply to the proper use of attorney trust
accounts. For example, I understand that Rule 1.15 of the State
Bar of California states that "[f]unds belonging to the lawyer
or the law firm shall not be deposited or otherwise commingled
with funds held in a trust account."

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           b.    Second, based on evidence collected to date and

described in my prior affidavit, there is probable cause to

believe that AVENATTI took a number of affirmative actions to

obstruct an IRS collection action relating to GBUS's unpaid

payroll taxes by, among other things, lying to an IRS Revenue

Officer, changing contracts, merchant accounts, and bank account

information to avoid liens and levies imposed by the IRS, and

instructing employees to deposit over $800,000 in cash from

Tully's stores, which were owned and operated by GBUS, into a

bank account associated with a separate entity to avoid liens

and levies by the IRS.     If AVENATTI were to learn of the instant

investigation prior to his arrest he might engage in similarly

obstructive conduct.

           c.    Third, a number of former GBUS employees have

expressed concerns that AVENATTI might attempt to retaliate

against them if he learned they were cooperating with the

government's investigation.

           d.    Fourth, there is a possibility that some evidence

relating to GBUS's operations may have already been lost when

GBUS was evicted from its corporate offices and AVENATTI refused

to pay the bill for GBUS's cloud-based server.         Although IRS-CI

has been able to obtain some GBUS records, including the data

stored on the SUBJECT DEVICES, from other sources, AVENATTI's

apparent willingness to allow GBUS records to be lost or

destroyed raises a concern that, were AVENATTI to learn of the

criminal complaint and arrest warrant, he might not hesitate to

destroy any remaining GBUS records and other relevant evidence.
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                              V.   CONCLUSION

     9.      For all the reasons described above, there is probable

cause to believe that AVENATTI has committed bank fraud, in

violation of 18 U.S.C. § 1344(1), and wire fraud, in violation

of 18 U.S.C. ~ 1343.




                                        ~emoun Karlous, Special Agent
                                        Internal Revenue Service -
                                        Criminal Investigation

Subsc   be    to and savor     ire me
t 's         day of Marc     2019:




    RABLE D U LAS F. MCCO`.ICK
UNITED STA    MAGISTRATE JUDGE
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                 EXHIBIT 1
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                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                              Central District of California

                   In the Matter of the Search of                            )
           (Brie~Zy describe the property to be searched or identify the
                          person byname and address)                         ~       Case No. 8:19-MJ-103


    Seven Digital Devices in the Custody of the Internal
    Revenue Service —Criminal Investigation in Laguna
    Niguel, California                                                       ~


                                                APPLICATION FOR A SEARCH WARRANT
       I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that Ihave reason to believe that on the following person or property (tdenttfy the Person or des~rtbe the
property to be searched and give its location):

       See Attachment A
located in the Central District of California, there is now concealed (idennfy the person or describe the property to be seized):
       See Attachment B
          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or mope):
                  ~ evidence of a crime;
                  ~ contraband, fruits of crime, or other items illegally possessed;
                  ~ property designed for use, intended for use, or used in committing a crime;
                  ❑ a person to be arrested or a person who is unlawfully restrained.

          The search is related to violations of:
                Code Section                                                           Offense Description
        26 U.S.C. § 7201                                                    Attempt to Evade or Defeat Taa~
        26 U.S.C. § 7202                                                    Willful Failure to Collect or Pay Over Tax
        26 U.S.C. § 7203                                                    Willful Failure to Pay Tax or File Return
        26 U.S.C. § 7212                                                    Interference with Administration of Internal
                                                                            Revenue Laws
        18 U.S.C. § 152                                                     Concealment of Assets in Bankruptcy
        18 U.S.C. § 157                                                     Bankruptcy Fraud
        18 U.S.C. § 371                                                     Conspiracy
        18 U.S.C. § 1001                                                    False Statements
        18 U.S.C. § 1014                                                    False Statement to a Bank or Other Federally
                                                                            Insured Institution
        18 U.S.C. § 1028A                                                   Aggravated Identity Theft
        18 U.S.C. § 1343                                                    Wire Fraud
        18 U.S.C. § 1344                                                    Bank Fraud
        18 U.S.C. § 1957                                                    Money Laundering


          ///
          ///
          ///
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           The application is based on these facts:
               See attached Affidavit
                ~ Continued on the attached sheet.
        ❑ Delayed notice of            days (give exact ending date ifmore than 30 days:                   )is requested
        under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                     /s/
                                                                                   Applicant's signature

                                                                    IRS CI Special Agent Remoun Karlous
   Sworn to before me and signed in my presence.                                  Printed name and title

                                                                     DOUGLAS F. McCORMICK
   Date: February 22,2019
                                                                                     Judge's signature

City and state: Santa Ana, CA                               United States Magistrate Jud ~e Douglas F. McCormick
                                                                               Printed name and title

AUSAs: Julian L. Andre (213.894.6683) &Brett A. Sagel (714.338.3598)
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                               ATTACFIMENT A

  PROPERTY TO BE SEARCHED

        Forensic images of the following digital devices (the

  ~~SUBJECT DEVICES"), which are currently maintained in the

  custody of the Internal Revenue Service-Criminal Investigation

  (~~IRS-CI") in Laguna Niguel, California:

        1.   Dell XPS 128 GB Samsung SSD, bearing serial number

  S1D2NSAG5000777, provided to IRS-CI by M.E. on or about October

  22, 2018 (~~SUBJECT DEVICE 1");

        2.   Dell Precision, Model M4800, bearing service tag

  number 252M262, provided to IRC-CI by S.F. on or about October

  21, 2018 (~~SUBJECT DEVICE 2");

        3.   Seagate External Hard Drive, model number SRDOOFI,

  bearing serial number NA44HLQH, provided to IRS-CI by M.G. on or

  about October 22, 2018 (~~SUBJECT DEVICE 3");

        4.   Samsung flash drive    provided to IRS-CI by V.S. on or

  about October 31, 2018 ("SUBJECT DEVICE 4");

        5.   Seagate Hard Drive, bearing serial number 5VJCIGXV

  provided to IRS-CI by A.G. on or about November 13, 2018

  (~~SUBJECT DEVICE 5");

        6.   Veeam 2GB flash drive provided to IRS-CI by A.G. on or

  about November 13, 2018 (~~SUBJECT DEVICE 6"); and

        7.   Seagate Hard Drive, bearing serial number 5VJCIGXV

  provided to IRS-CI by A.G. on or about November 20, 2018

  (~~SUBJECT DEVICE 7").
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                               ATTACFIMENT B

   I.   ITEMS TO BE SEIZED

        1.   The items to be seized are evidence, contraband,

  fruits, and/or instrumentalities of violations of 26 U.S.C.

  § 7201 (attempt to evade or defeat tax); 26 U.S.C. ~ 7202

  (willful failure to collect or pay over tax); 26 U.S.C. § 7203

  (willful failure to pay tax or file return); 26 U.S.C. § 7212

  (interference with administration of internal revenue laws); 18

  U.S.C. ~ 152 (concealment of assets in bankruptcy); 18 U.S.C.

  § 157 (bankruptcy fraud); 18 U.S.C. ~ 371 (conspiracy); 18

  U.S.C. ~ 1001 (false statements); 18 U.S.C. § 1014 (false

  statement to a bank or other federally insured institution); 18

  U.S.C. ~ 1028A (aggravated identity theft); 18 U.S.C. ~ 1343

  (wire fraud); 18 U.S.C. ~ 1344 (bank fraud); and 18 U.S.C.

  ~ 1957 (money laundering) (the "Subject Offenses"), namely:

             a.    Records, documents, correspondence, programs,

  applications, or materials from January 2013 through September

  2018 that evidence, discuss, reflect, or relate to the ownership

  of Global Baristas US, LLC (~~GBUS"); Global Baristas, LLC (~~GB

  LLC"); GB Autosport, LLC (~~GB Auto"); GB Hospitality LLC (~~GB

  Hospitality"); Doppio Inc. ("Doppio"); Eagan Avenatti LLP ("EA

  LLP"); and Avenatti & Associates, APC (~~A&A") (collectively, the

  "Subject Entities").




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              b.   Records, documents, correspondence, programs,

  applications, or materials from January 2013 through September

  2018 that evidence, discuss, reflect, or relate to the sale or

  purchase of TC Global, Inc. or Tully's Coffee.

              c.   Records, documents, correspondence, programs,

  applications, or materials from January 2013 through September

  2018 that evidence, discuss, reflect, or relate to the purchase

  or sale of GBUS, GB LLC, or Doppio.

              d.   Records, documents, correspondence, programs,

  applications, or materials from January 2013 through September

  2018 that evidence, discuss, reflect, or relate to AVENATTI's

  control or management of any of the Subject Entities.

              e.   Records, documents, correspondence, programs,

  applications, or materials from January 2013 through September

  2018 that evidence, discuss, reflect, or relate to the

  organizational or management structure of any of the Subject

  Entities.

              f.   Records, documents, correspondence, programs,

  applications, or materials from January 2013 through September

  2018 that evidence, discuss, reflect, or relate to the finances

  of any of the Subject Entities, including assets, liabilities,

  accounts receivable, and accounts payable.

              g.   Records, documents, correspondence, programs,

  applications, or materials from January 2013 through September



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  2018 that evidence, discuss, reflect, or relate to value of GBUS

  or GB LLC.

               h.   Records, documents, correspondence, programs,

  applications, or materials from January 2013 through September

  2018 that evidence, discuss, reflect, or relate to the

  accounting records for GBUS and GB LLC, including any Microsoft

  Dynamics NAV accounting data, files, or records.

              i.    Records, documents, correspondence, programs,

  applications, or materials from January 2013 through September

  2018 that evidence, discuss, reflect, or relate to GBUS employee

  handbooks or manuals, employment contracts, compensation

  records, and employee lists.

               j.   Records, documents, correspondence, programs,

  applications, or materials from January 2013 through September

  2018 that evidence, discuss, reflect, or relate to the personal

  finances of Michael J. Avenatti (~~AVENATTI"), including

  information relating to AVENATTI's assets, debts, income,

  expenses, and net worth.

               k.   Records, documents, correspondence, programs,

  applications, or materials from January 2013 through September

  2018 that evidence, discuss, reflect, or relate to any financial

  transactions, including any proposed or potential financial

  transactions, involving any of the Subject Entities and/or

  AVENATTI.



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             1.    Records, documents, correspondence, programs,

  applications, or materials from January 2013 through September

  2018 that evidence, discuss, reflect, or relate to financial

  decisions AVENATTI made on behalf of any of the Subject

  Entities, including decisions to authorize payments on behalf of

  any of the Subject Entities and transfer money to or from any of

  the Subject Entities.

             m.    Records, documents, correspondence, programs,

  applications, or materials from January 2013 through September

  2018 that evidence, discuss, reflect, or relate to any loans or

  other financing agreements, including any proposed or potential

  loans or other financing agreements, involving any of the

  Subject Entities and/or AVENATTI.

             n.    Records, documents, correspondence, programs,

  applications, or materials from January 2013 through September

  2018 that evidence, discuss, reflect, or relate to the payroll

  and tax preparation services that Ceridian HCM Inc. (~~Ceridian")

  provided to GBUS, including any records, documents,

  correspondence, programs, applications, or materials evidencing,

  discussing, reflecting, or relating to changes in the payroll

  and tax services to be provided by Ceridian.

             o.    Records, documents, correspondence, programs,

  applications, or materials from January 2013 through September

  2018 that evidence, discuss, reflect, or relate to the federal,



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  state, and/or local tax obligations, tax returns, tax

  liabilities, or tax payments of any of the Subject Entities

  and/or AVENATTI.

             p.    Records, documents, correspondence, programs,

  applications, or materials from January 2013 through September

  2018 that evidence, discuss, reflect, or relate to any liens,

  levies, garnishments, judgments, encumbrances, or tax-related

  investigations or actions associated with any of the Subject

  Entities and/or AVENATTI.

             q.    Records, documents, correspondence, programs,

  applications, or materials from January 2013 through September

  2018 that evidence, discuss, reflect, or relate to GBUS's and GB

  LLC's merchant credit card processing accounts (the "merchant

  accounts"), including contracts, agreements, account

  applications, and correspondence regarding changes to the

  merchant accounts.

             r.    Records, documents, correspondence, programs,

  applications, or materials from January 2013 through September

  2018 that evidence, discuss, reflect, or relate to any of the

  Subject Entities' and/or AVENATTI's contractual relationships,

  including drafts and final versions of any executed, proposed,

  or potential contracts and agreements, bills of sale,

  correspondence regarding payments, and correspondence regarding

  the cancellation or modification of contracts and/or agreements.



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             s.    Records, documents, correspondence, programs,

  applications, or materials from January 2013 through September

  2018 that evidence, discuss, reflect, or relate to changes in

  any of the Subject Entities' and/or AVENATTI's bank account

  information.

             t.    Any SUBJECT DEVICE which is itself or which

  contains evidence, contraband, fruits, or instrumentalities of

  the Subject Offenses and forensic copies thereof.

             u.    With respect to any SUBJECT DEVICE containing

  evidence falling within the scope of the foregoing categories of

  items to be seized:

                   i.    evidence of who used, owned, or controlled

  the device at the time the things described in this warrant were

  created, edited, or deleted, such as logs, registry entries,

  configuration files, saved usernames and passwords, documents,

  browsing history, user profiles, e-mail, e-mail contacts, chat

  and instant messaging logs, photographs, and correspondence;

                   ii.   evidence of the presence or absence of

  software that would allow others to control the device, such as

  viruses, Trojan horses, and other forms of malicious software,

  as well as evidence of the presence or absence of security

  software designed to detect malicious software;

                   iii. evidence of the attachment of other devices;




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                   iv.   evidence of counter-forensic programs (and

   associated data) that are designed to eliminate data from the

   device;

                   v.    evidence of the times the device was used;

                   vi.   passwords, encryption keys, and other access

   devices that may be necessary to access the device;

                   vii. applications, utility programs, compilers,

   interpreters, or other software, as well as documentation and

   manuals, that may be necessary to access the device or to

   conduct a forensic examination of it;

                   viii.      records of or information about

   Internet Protocol addresses used by the device;

                   ix.   records of or information about the device's

   Internet activity, including firewall logs, caches, browser

   history and cookies, ~~bookmarked" or "favorite" web pages,

   search terms that the user entered into any Internet search

   engine, and records of user-typed web addresses.

        2.    As used herein, the terms ~~records," ~~documents,"

  "correspondence," "programs," "applications," and "materials"

   include records, documents, correspondence, programs,

   applications, and materials created, modified, or stored in any

   form, including in digital form on any digital device and any

   forensic copies thereof.




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  II.   SEARCH PROCEDURES FOR HANDLING POTENTIAi,LY PRIVILEGED
        INFORMATION ON THE SUBJECT DEVICES


        3.    In searching the SUBJECT DEVICES (including the

   forensic copies thereof), the following procedures will be

   followed at the time of the search in order to avoid unnecessary

   disclosures of any privileged attorney-client communications or

   attorney work product.

        4.    Law enforcement personnel conducting the investigation

   and search and other individuals assisting law enforcement

   personnel in the search (the "Search Team") have already

   obtained custody of the SUBJECT DEVICES, which are capable of

   containing evidence of the Subject Offenses, or capable of

   containing data falling within the scope of the items to be

   seized.   The Search Team shall facilitate the transfer of the

   SUBJECT DEVICES to the ~~Privilege Review Team" (previously

   designated individuals not participating in the investigation of

   the case).    The Privilege Review Team, including a Privilege

   Review Team Assistant United States Attorney (~~PRTAUSA") or

   PRTAUSAs, will then review the SUBJECT DEVICES as set forth

   herein.   The Search Team will review only data from the SUBJECT

   DEVICES that has been released by the Privilege Review Team to

   the Search Team.

        5.      The Privilege Review Team will, in their discretion,

   either search each SUBJECT DEVICE where it is currently located



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   or transport it to an appropriate law enforcement laboratory or

   similar facility to be searched at that location.

        6.      The Privilege Review Team and the Search Team shall

   complete the search discussed herein as soon as is practicable

   but not more than 180 days from the date of execution of the

   warrant.    The government will not search the SUBJECT DEVICES

   beyond this 180-day period without obtaining an extension of

   time order from the Court.

        7.     The Search Team will provide the Privilege Review Team

   and/or appropriate litigation support personne155 with a list of

  "privilege key words" to search the SUBJECT DEVICES for

   communications, data, or documents relating to the following law

   firms:     (a) Foster Pepper PLLC; (b) Osborn Machler PLLC;

   (c) Eisenhower Carlson PLLC; (d) Talmadge/Fitzpatrick/Tribe,

   PPLC; and (e) Brager Tax Law Group.     Such "privilege key words"

   shall include specific words like "Foster Pepper," "Osborn,"

  "Machler," "Eisenhower," `Carlson," "Talmadge," "Fitzpatrick,"

  "Tribe," `~Brager," as well as other email addresses and domain

   names associated with those individuals and law firms.          Because

   the Chapter 7 bankruptcy trustee for GBUS (the "GBUS Trustee")

   has executed a waiver of the attorney-client privilege as to all


        ss Litigation support personnel and computer forensics
   agents or personnel, including IRS Computer Investigative
   Specialists, are authorized to assist both the Privilege Review
   Team and the Search Team in processing, filtering, and
   transferring data contained on the SUBJECT DEVICES.


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   communications between GBUS's officer, directors, employees, and

   agents, and any lawyer acting on GBUS's behalf (see Affidavit

   y[ 83.a, Ex. 1), including AVENATTI, the ~~privilege key words"

   need not include specific words designed to capture all

   communications with AVENATTI or his law firms, EA LLP and A&A,

   or standard privilege terms.

        8.      The Privilege Review Team will segregate and will not

   search or review the contents of AVENATTI's GBUS email accounts,

   including:    (1) MichaelA@globalbaristas.com; and

   (2) MAvenatti@globalbaristas.com.     Such data will be maintained

   under seal by the investigating agency without further review

   absent subsequent authorization as set forth in paragraph 12

   below.

        9.      The Privilege Review Team will conduct an initial

   review of the data on the SUBJECT DEVICES using the ~~privilege

   key words," and by using search protocols specifically chosen to

   identify documents or data containing potentially privileged

   information.     The Privilege Review Team may subject to this

   initial review all of the data contained in the SUBJECT DEVICES

   capable of containing any of the items to be seized.         Documents

   or data that are identified by this initial review as not

   potentially privileged may be given to the Search Team.

        10.     All documents or data that the initial review

   identifies as containing any of the ~~privilege key words" will
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   be reviewed by a Privilege Review Team member to confirm that

   the documents or data contain potentially privileged

   information.   Documents or data that are determined by this

   secondary review not to be potentially privileged may be given

   to the Search Team.    Documents or data that are determined by

   this review to be potentially privileged or privileged will be

   given to the United States Attorney's Office for further review

   b y the PRTAUSA(s)    Documents or data identified by the

   PRTAUSA(s) after further review as not potentially privileged

   may be given to the Search Team.        If, after further review, the

   PRTAUSA(s) determines it to be appropriate, the PRTAUSA may

   apply to the Court for a finding with respect to particular

   documents or data that no privilege, or an exception to the

   privilege, applies.    Documents or data that are the subject of

   such a finding may be given to the Search Team.        In such an

   instance, the PRTAUSA(s) shall conduct a review of the documents

   or data to determine whether they fall within the scope of the

   items to be seized prior to applying to the Court for relief.

   Documents or data identified by the PRTAUSA(s) after review as

   privileged will be maintained under seal by the investigating

   agency without further review absent subsequent authorization as

   set forth in paragraph 12 below.

        11.   The Privilege Review Team may, in its discretion, also

   use "scope key words" to search any documents or data that were



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   identified as potentially privileged using the "privilege key

   words" if the Privilege Review Team determines that such a

   procedure would allow the Privilege Review Team to complete its

   review of potentially privileged documents more effectively and

   efficiently.    The Privilege Review Team may also, in its

   discretion, apply the "scope key words" to a subset of the

   potentially privileged data.      At the Privilege Review Team's

   request, the Search Team may provide the Privilege Review Team

   and/or appropriate litigation support personnel with a list of

  "scope key words" designed to search for data relating to the

   items to be seized.    These "scope key words" may then be applied

   to the potentially privileged data identified by using the

  "privilege key words."     The Privilege Review Team may conduct a

   detailed quality check on any data that did not contain the

  "scope key words" to ensure that the scope key word search is

   effective.     Additional "scope key words" designed to locate the

   items to be seized may also be applied at the discretion of the

   PRTAUSA(s).     Any data or documents that contain both any of the

  "privilege key words" and any of "scope key words" shall be then

   reviewed by the Privilege Review Team and the PRTAUSA(s) in

   accordance with the procedures set forth in paragraph 9 above.

   Documents and data that are identified by the "scope key word"

   searches and quality checks as falling outside the scope of the

   warrant will be maintained under seal as set forth in paragraph



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   12 below and not further reviewed absent subsequent

   authorization.

        12.   Documents or data identified by the PRTAUSA(s) after

   review as privileged (that are not subject to a finding by a

   court of no privilege or an exception to the privilege) or

   potentially privileged and outside the scope of the items to be

   seized shall be segregated and sealed together in an enclosure,

   the outer portion of which will be marked as containing

   potentially privileged information, and maintained by the

   investigative agency.    Such data or documents shall not be

   accessible by or given to the Search Team at any time absent

   authorization of the Court.     However, the Privilege Review Team

   may, in its discretion, store the privileged and potentially

   privileged data and documents in a folder or a set of folders in

   a document review platform database, such as Relativity or

   Eclipse, that remains inaccessible to the Search Team.          The

   Privilege Review Team's access to this separate document review

   platform database shall cease upon expiration of the warrant.

   However, litigation support personnel from the United States

   Attorney's Office, United States Department of Justice, and/or

   the investigating agency may continue to access this separately-

   maintained document review database for the purpose of database

   maintenance.




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        13.   The Search Team will search only the documents and

   data that the Privilege Review Team provides to the Search Team

   at any step listed above in order to locate documents and data

   that are within the scope of the search warrant.        The Search

   Team does not have to wait until the entire privilege review is

   concluded to begin its review for documents and data within the

   scope of the search warrant.     The Privilege Review Team may also

   conduct the search for documents and data within the scope of

   the search warrant if that is more efficient, but is not

   required to do so.    In conducting its review, the Search Team

   may, in its discretion, use key word searches and other searches

   to determine whether documents or data fall within the scope of

   the search warrant.    Data that is identified after these scope

   reviews as outside the scope of the items to be seized will be

   maintained under seal by the Search Team and not further

   reviewed absent subsequent authorization from the Court.

        14.   All members of the Search Team shall be advised that

   AVENATTI may hold an individual attorney-client relationship

   with the law firms identified in paragraph 7 above or other law

   firms and lawyers not previously identified, and that

   communications with or records involving those law firms and

   lawyers may not be covered by GBUS Trustee's waiver of the

   attorney-client privilege.     If, upon review, a member of the

   Search Team determines that a document or data from the SUBJECT



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   DEVICES appears to contain potentially privileged information

   that may not be covered by GBUS's limited waiver of the

   attorney-client privilege, such as communications with the

   lawyers and law firms identified in paragraph 7 above or other

   law firms and lawyers not previously identified, the Search Team

   member shall discontinue its review of the document or data and

   shall immediately notify a member of the Privilege Review Team.

   The Search Team member may record identifying information

   regarding the potentially privilege document or data that is

   reasonably necessary to identity the document or data for the

   Privilege Review Team.    The Search Team shall not further review

   any documents or data that appears to contain such potentially

   privileged information until after the Privilege Review Team has

   completed its review of the additional potentially privileged

   information discovered by the Search Team member.

        15.   In performing the reviews, both the Privilege Review

   Team and the Search Team may:

              a.   search for and attempt to recover deleted,

  "hidden," or encrypted data;

              b.    use tools to exclude normal operating system

   files and standard third-party software that do not need to be

   searched; and

              c.    use forensic examination and searching tools,

   such as ~~EnCase," ~~FTK" (Forensic Tool Kit), Nuix, Axiom,



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   Relativity, and Eclipse, which tools may use hashing and other

   sophisticated techniques.

        16.   If either the Privilege Review Team or the Search

   Team, while searching a SUBJECT DEVICE encounters immediately

   apparent contraband or other evidence of a crime outside the

   scope of the items to be seized, they shall immediately

   discontinue the search of that device pending further order of

   the Court and shall make and retain notes detailing how the

   contraband or other evidence of a crime was encountered,

   including how it was immediately apparent contraband or evidence

   of a crime.

        17.   If the search determines that a SUBJECT DEVICES does

   contain data falling within the list of items to be seized, the

   government may make and retain copies of such data, and may

   access such data at any time.

        18.   The government may retain the SUBJECT DEVICES

   (including any forensic copy thereof), which have already been

   obtained by the Search Team, but may not access data falling

   outside the scope of the other items to be seized (after the

   time for searching the device has expired) on the SUBJECT

   DEVICES absent further court order.

        19.   After the completion of the search of the SUBJECT

   DEVICES, the government shall not access digital data falling




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   outside the scope of the items to be seized absent further order

   of the Court.

        20.   The special procedures relating to digital devices

   found in this warrant govern only the search of digital devices

   pursuant to the authority conferred by this warrant and do not

   apply to any search of digital devices pursuant to any other

   court order.




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                                    AFFIDAVIT

        I, Remoun Karlous, being duly sworn, declare and state as

   follows:

                               2.    INTRODUCTION

        1.    I am a Special Agent ("SA") with the Internal Revenue

   Service-Criminal Investigation (~~IRS-CI") in the Los Angeles

   Field Office and have been so employed since April 1995.          As an

   IRS-CI SA, I have investigated numerous cases involving criminal

   violations of Title 18, Title 21, Title 26, and Title 31 of the

   United States Code, which have resulted in seizure, search, and

   arrest warrants.    In particular, I have investigated cases

   involving money laundering, international money laundering,

   securities fraud, tax evasion (domestic and international

   cases), and subscribing to false tax returns.

                         I2.   PURPOSE OF AFFIDAVIT

        2.    This affidavit is made in support of an application

   for a warrant to search the forensic images of the following

   digital devices, which are currently held in the custody of IRS-

   CI in Laguna Niguel, California:

              a.   Dell XPS 128 GB Samsung SSD, bearing serial

   number S1D2NSAG5000777, provided to IRS-CI by M.E.1 on or about

   October 22, 2018 ("SUBJECT DEVICE 1");




        1 Although the government has requested that this
   affidavit, as well as the search warrant and application, be
   filed under seal, I have referred to victims and witnesses by
   their initials throughout the affidavit to protect their privacy
   in the event the affidavit is later unsealed by the Court.
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              b.   Dell Precision, Model M4800, bearing service tag

   number 252M262, provided to IRC-CI by S.F. on or about October

   21, 2018 (~~SUBJECT DEVICE 2");

              c.   Seagate External Hard Drive, model number

   SRDOOFI, bearing serial number NA44HLQH, provided to IRS-CI by

   M.G. on or about October 22, 2018 (~~SUBJECT DEVICE 3");

              d.   Samsung flash drive provided to IRS-CI by V.S. on

   or about October 31, 2018 ("SUBJECT DEVICE 4");

              e.   Seagate Hard Drive, bearing serial number

   5VJCIGXV, provided to IRS-CI by A.G. on or about November 13,

   2018 (~~SUBJECT DEVICE 5");

              f.   Veeam 2GB flash drive provided to IRS-CI by A.G.

   on or about November 13, 2018 (~~SUBJECT DEVICE 6"); and

              g.   Seagate Hard Drive, bearing serial number

   5VJCIGXV, provided to IRS-CI by A.G. on or about November 20,

   2018 (~~SUBJECT DEVICE 7")z (collectively, the ~~SUBJECT DEVICES").

        3.    The requested search warrant seeks authorization to

   seize any data on the SUBJECT DEVICES that constitutes evidence,

   contraband, instrumentalities, and/or fruits of violations of:

   26 U.S.C. ~ 7201 (attempt to evade or defeat tax); 26 U.S.C.

   ~ 7202 (willful failure to collect or pay over tax); 26 U.S.C.

   § 7203 (willful failure to pay tax or file return); 26 U.S.C.

   ~ 7212 (interference with administration of internal revenue

   laws); 18 U.S.C. § 152 (concealment of assets in bankruptcy); 18


        2 As discussed in paragraphs 81-82 below, A.G. used the same
   hard drive to produce to IRS-CI two different sets of data.
   IRS-CI created two separate forensic images of the hard drive,
   each of which is identified herein as a separate SUBJECT DEVICE,
   namely SUBJECT DEVICE 5 and SUBJECT DEVICE 7.


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   U.S.C. ~ 157 (bankruptcy fraud); 18 18 U.S.C. § 371

   (conspiracy); 18 U.S.C. ~ 1001 (false statements); 18 U.S.C.

   ~ 1014 (false statement to a bank or other federally insured

   institution); 18 U.S.C. ~ 1028A (aggravated identity theft); 18

   U.S.C. ~ 1343 (wire fraud); 18 U.S.C. § 1344 (bank fraud); and

   18 U.S.C. ~ 1957 (money laundering) (the "Subject Offenses"),

   and any SUBJECT DEVICE which is itself or which contains

   evidence, contraband, fruits, or instrumentalities of the

   Subject Offenses, and forensic copies thereof.

        4.    The SUBJECT DEVICES are identified in Attachment A to

   the search warrant application.      The list of items to be seized

   is set forth in Attachment B to the search warrant application.

   Attachments A and B are incorporated herein by reference.

        5.    The facts set forth in this affidavit are based upon

   my personal observations, my training and experience, and

   information obtained from various law enforcement personnel and

   witnesses.     This affidavit is intended to show merely that there

   is sufficient probable cause for the requested warrant and does

   not purport to set forth all of my knowledge of or investigation

   into this matter.     Unless specifically indicated otherwise, all

   conversations and statements described in this affidavit are

   related in substance and in part only.

                       III. SUNIl~lARY OF PROBABLE CAUSE

        6.      Michael J. Avenatti (~~AVENATTI") was and is an

   attorney licensed to practice law in the State of California.

   AVENATTI practiced law through Avenatti & Associates, APC

   ("A&A") and Eagan Avenatti LLP ("EA LLP") in Newport Beach,



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   California.   AVENATTI was the sole owner of A&A, which owned 75

   percent of EA LLP.

        7.    AVENATTI was also the principal owner and Chief

   Executive Officer ("CEO") of Global Baristas US LLC (~~GBUS"),

   which operated Tully's Coffee ("Tully's") stores in Washington

   and California.   In 2013, AVENATTI's company, Global Baristas

   LLC (~~GB LLC"), acquired TC Global Inc., which previously

   operated Tully's, out of bankruptcy for approximately $9.2

   million.   AVENATTI's company, A&A, owned 100 percent of Doppio

   Inc., which in turn owned 80 percent of GB LLC.        GB LLC wholly

   owned GBUS, which handled the day-to-day business operations of

   Tully's.

        8.    As set forth herein, there is probable cause to

   believe that between at least 2011 and the present AVENATTI

   committed federal offenses, including the following: (a) tax

   offenses relating to GBUS's payroll tax obligations and

   AVENATTI's efforts to obstruct an IRS collection action; (b) tax

   offenses relating to the tax obligations of EA LLP and A&A,

   including the payroll tax obligations of EA LLP; (c) tax

   offenses relating to AVENATTI's personal tax obligations;

   (d) fraud-related offenses relating to loans AVENATTI and his

   companies obtained from The Peoples Bank in Mississippi; and (e)

   wire fraud, money laundering, and bankruptcy fraud offenses

   relating to an approximately $1.6 million settlement payment

   AVENATTI and EA LLP received in January 2018, but failed to

   transfer to EA LLP's client or disclose in federal bankruptcy

   proceedings involving AVENATTI and EA LLP.
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        9.      First, between the fourth quarter of 2015 and the

   fourth quarter of 2017, inclusive, GBUS failed to file

   employment tax returns and pay approximately $3,121,460 in

   federal payroll taxes, including approximately $2,390,048 in

   trust fund taxes, which had been withheld from GBUS employees'

   paychecks.     Multiple former GBUS employees have said that

   AVENATTI was responsible for all of GBUS's significant financial

   and business decisions, including the decision not to pay the

   payroll and trust fund taxes that GBUS owed to the IRS.          Indeed,

   AVENATTI was well aware of GBUS's outstanding tax obligations,

   yet repeatedly refused to authorize the required tax payments to

   the IRS.

        10.     Although GBUS failed to pay to the IRS its payroll

   taxes between the fourth quarter of 2015 and the fourth quarter

   of 2017, AVENATTI caused substantial amounts of money to be

   transferred from GBUS's or GB LLC's bank accounts during this

   same time period.     For example, a preliminary analysis of GBUS's

   and GB LLC's bank account records shows that between 2015 and

   2017 AVENATTI caused a net of approximately $1.7 million to be

   transferred from GBUS's or GB LLC's bank accounts to bank

   accounts associated with A&A or EA LLP.      This money could have

   and should have been used to pay GBUS payroll tax obligations.

        11.     Additionally, after the IRS initiated a collection

   action relating to GBUS's outstanding payroll tax obligations in

   September 2016, issued an approximately $5,000,000 tax lien

   against GBUS in July 2017, and levied multiple GBUS bank

   accounts, AVENATTI directed repeated attempts to evade



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   collection of those payroll taxes and obstruct the IRS

   collection action.    Among other things, AVENATTI took the

   following steps to evade the collection of payroll taxes due to

   the IRS and obstruct the IRS collection action:

              a.   In October 2016, when first contacted by an IRS

   Revenue Officer ("RO 1") regarding GBUS's unpaid payroll taxes,

   AVENATTI falsely stated that a third-party payroll company was

   responsible for filing GBUS's payroll tax returns and making

   GBUS's federal tax deposits.     AVENATTI, however, knew that

   GBUS's third-party payroll company, Ceridian HCM Inc.

   (~~Ceridian"), had discontinued the tax services it had

   previously provided to GBUS and was, therefore, no longer

   responsible for filing GBUS's payroll tax returns and making the

   necessary federal tax deposits.         AVENATTI was well aware that

   GBUS was not paying its payroll taxes.        GBUS employees

   repeatedly asked him to authorize the payment of GBUS's payroll

   taxes to the IRS, yet he refused to do so.

              b.   In September 2017, after IRS RO 1 advised GBUS of

   the possibility of criminal proceedings and levied multiple GBUS

   bank accounts, including a GBUS account at KeyBank, AVENATTI

   directed GBUS employees to stop depositing cash receipts from

   the Tully's stores into the account at KeyBank.        Instead, in

   order to avoid the levies, AVENATTI directed GBUS employees to

   deposit all cash receipts from Tul1y's stores into a little-used

   bank account at Bank of America associated with his car racing

   entity, GB Autosport, LLC ("GB Auto").        Between September 2017




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   and December 2017, approximately $859,784 in cash was deposited

   into the GB Auto account at AVENATTI's direction.

              c.    In late-September and early-October 2017, in

   order to avoid IRS levies issued to the sponsoring bank for

   GBUS's merchant credit card processing accounts (~~merchant

   accounts"), AVENATTI directed GBUS's credit card processing

   company, TSYS Merchant Solutions ("TSYS"), to change the company

   name and Employer Identification Number ("EIN") associated with

   the merchant accounts from GBUS to GB LLC.      AVENATTI also

   directed TSYS to have all credit card receipts paid to a new

   bank account under the name of GB LLC, which AVENATTI had opened

   that same day in Orange County, California, instead of the bank

   accounts associated with GBUS, which were already subject to the

   IRS levies.

              d.   In November 2016, approximately one month after

   the IRS RO first contacted AVENATTI, AVENATTI changed the name

   of the party to a contract with The Boeing Company ("Boeing")

   from GBUS to "GB Hospitality LLC," a company which does not

   appear to have ever been registered with any government agency

   or operated.    Later, in September 2017, after the IRS had issued

   levies to Boeing and a number of banks with which GBUS had

   accounts, Boeing cancelled the contract because GBUS had failed

   to make the required commission payments.      In connection with

   the cancellation of the contract, Boeing agreed to purchase two

   existing Tully's ~~kiosks" at Boeing facilities and other Tully's

   equipment in exchange for a total of $155,010 and the

   forgiveness of GBUS's debt to Boeing.      Although all of the



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   Tully's locations were operated by GBUS, AVENATTI told an

   attorney at Boeing to use the name GB LLC on the two bills of

   sale for the kiosks and equipment, and instructed Boeing to wire

   the $155,010 payment to an attorney trust account associated

   with EA LLP rather than any of the bank accounts associated with

   GBUS.    Had the Boeing contract and subsequent bills of sale been

   under the name GBUS, Boeing would not have made the $155,010

   payment due to the existing GBUS tax lien.      After receiving the

   $155,010 payment from Boeing, AVENATTI transferred the $155,010

   to an A&A bank account, from which he then transferred $15,000

   to his personal checking account, paid approximately $13,073 for

   rent at his residential apartment in Los Angeles, California,

   and paid approximately $8,459 to Neiman Marcus.        Indeed, out of

   the $155,010 Boeing transferred to the EA LLP trust account, it

   appears that only approximately half ever ended up in GBUS's

   bank accounts.

           12.   Second, AVENATTI's other companies, EA LLP and A&A,

   have repeatedly failed to meet their tax obligations despite

   generating substantial revenues.     Between 2015 and 2017, EA LLP

   failed to file payroll tax returns and pay approximately $2.4

   million in payroll taxes, including approximately $1,279,001 in

   trust fund taxes that had been withheld from EA LLP employees'

   paychecks.      Just as he did in connection with GBUS, AVENATTI

   lied to the IRS when initially contacted regarding EA LLP's

   failure to pay its payroll taxes, and falsely claimed that a

   third-party payroll company, Paychex, was responsible for making

   the required tax payments even though the payroll company had
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   notified AVENATTI in January 2015 that it was discontinuing

   various payroll tax services.     Additionally, EA LLP has not

   filed partnership tax returns (IRS Form 1065) for the 2013,

   2014, 2015, 2016, and 2017 tax years, even though EA LLP appears

   to have received approximately $137,890,016 of deposits into its

   bank accounts during these tax years.      Indeed, AVENATTI's

   personal website claims that AVENATTI has recovered over one

   billion dollars in verdicts and settlements for his clients.

   Similarly, A&A has not filed corporate tax returns (IRS Form

   11205) for the 2011, 2012, 2013, 2014, 2015, 2016, or 2017 tax

   years, even though A&A appears to have received approximately

   $37,961,633 of deposits into its bank accounts during these tax

   years, including net payments of approximately $23,820,816 from

   EA LLP.

          13.   Third, AVENATTI filed federal personal income tax

   returns for the 2009 and 2010 tax years indicating that he owed

   the IRS a total of approximately $850,438, plus interest and

   penalties.     AVENATTI, however, did not pay the IRS the amounts

   he owed for those tax years.     AVENATTI then failed to file

   personal tax returns for the 2011 through 2017 tax years.

   During these tax years, AVENATTI generated substantial income

   and lived lavishly, yet largely failed to pay any federal income

   tax.    A preliminary analysis of AVENATTI's personal bank

   accounts reflects that AVENATTI received net payments of

   approximately $8,464,064 from A&A and EA LLP between 2011 to

   2017.     AVENATTI also repeatedly used money that had been

   transferred from GBUS, GB LLC, and EA LLP to A&A to pay for
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   personal expenses.    Further, AVENATTI received proceeds of

   approximately $5.4 million when he sold his home in Laguna

   Beach, California in 2015.     Finally, in connection with recent

   divorce proceedings, AVENATTI's wife said that AVENATTI told her

   that he earned $3.7 million dollars in 2016.      His wife also said

   that their family's monthly expenses were over $200,000 per

   month.     Financial and escrow company records show that from

   approximately September 2015 to September 2016, AVENATTI and his

   wife rented a home in Newport Beach for $100,000 per month,

   after making a $1,000,000 deposit.

        14.     Fourth, between approximately January 2014 and

   December 2014, AVENATTI obtained three separate loans from The

   Peoples Bank, a federally insured bank in Mississippi: (1) a

   $850,500 loan to GB LLC in January 2014; (2) a $2,750,000 loan

   to EA LLP in March 2014; and (3) a $500,000 loan to EA LLP in

   December 2014.     In connection with these loans, AVENATTI

   provided The Peoples Bank with false federal personal income tax

   returns for the 2011, 2012, and 2013 tax years.        In these

   purported tax returns, AVENATTI claimed that he earned

   $4,562,881 in adjusted gross income in 2011, $5,423,099 in

   adjusted gross income in 2012, and $4,082,803 in adjusted gross

   income in 2013.     He also claimed that he had paid to the IRS

   $1,600,000 in estimated tax payments in 2012, and $1,250,000 in

   estimated tax payments in 2013.      However, AVENATTI never filed

   personal income tax returns for the 2011, 2012, and 2013 tax

   years, and did not make any estimated tax payments during the

   2012 and 2013 tax years.     In fact, as noted above, at the time,



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   AVENATTI still owed the IRS approximately $850,438 in unpaid

   personal income taxes, plus interest and penalties, from the

   2009 and 2010 tax years.     Additionally, in March 2014, AVENATTI

   provided The Peoples Bank with a 2012 federal tax return for EA

   LLP which claimed total income of $11,426,021 and ordinary

   business income of $5,819,456.     However, the 2012 federal tax

   return EA LLP actually filed with the IRS in October 2014

   claimed total income of only $6,212,605 and an ordinary business

   loss of $2,128,849.

        15.      Fifth, between January 2018 and November 2018,

   AVENATTI defrauded one of EA LLP's client, G.B., out of the

   client's portion of an approximately $1.6 million settlement

   payment.      Specifically, in January 2018, AVENATTI arranged for

   the $1.6 million settlement payment to be transferred to one of

   his attorney trust accounts.     Rather than transfer his client's

   portion of the settlement proceeds to his client, AVENATTI used

   the entire $1.6 million for his own purposes, including to pay

   for expenses relating to GBUS.      He then lied to his client and

   claimed that the settlement payment was not due until March

   2018.    When the fake March 2018 deadline passed, AVENATTI led

   his client to believe that the $1.6 million payment had never

   been received.     Additionally, AVENATTI failed to disclose in

   federal bankruptcy proceedings involving AVENATTI and EA LLP

   that he had received the $1.6 million settlement payment,

   despite being aware that he was required to do so.

           16.   Judy Regnier ("REGNIER") has been described by

   AVENATTI as his office manager, chief paralegal, and bookkeeper.



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   She appears to have worked for EA LLP in an administrative

   capacity since at least 2010.     At various times, REGNIER was a

   signatory on bank accounts associated with GBUS, GB LLC, GB

   Auto, EA LLP, and A&A.    REGNIER was personally involved in many

   of the events described herein, including directing or executing

   the transfer of funds between various entities associated with

   AVENATTI, directing the actions of GBUS employees, and

   transmitting signed contracts and agreements on behalf of GBUS,

   GB LLC, EA LLP, or A&A to other parties.

                     IV.   STATEMENT OF PROBABLE CAUSE

        A.    Federal Tax Obligations

              1.   Federal Payroll Tax Obligations

        17.   Based on my training and experience, as well as

   discussions with other IRS-CI SAs and IRS revenue agents, I have

   learned the following regarding federal payroll taxes:

              a.   The Internal Revenue Code imposes four types of

   tax with respect to wages paid to employees:      (1) income tax;

   (2) Social Security tax; (3) Medicare tax; and (4) federal

   unemployment tax (collectively, "payroll taxes").

              b.   Income tax is imposed upon employees based upon

   the amount of wages they receive.

              c.   Social Security tax and Medicare tax are imposed

   b y the Federal Insurance Contributions Act, and are collectively

   referred to as ~~FICA" taxes.    FICA taxes are imposed separately

   on employees and on employers.




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              d.     Federal unemployment tax is imposed under the

   Federal Unemployment Tax Act (~~FUTA")      FUTA taxes are imposed

   solely on employers.

              e.     Employers are required to withhold employee FICA

   taxes and income taxes from the wages paid to their employees,

   and to pay over the withheld amounts to the United States.            The

   employers duty to pay over income taxes required to be collected

   exists even if the taxes are not actually withheld from the

   employees' wages.     The employee FICA taxes and income taxes that

   employers are required to withhold and pay over to the United

   States are commonly referred to as "trust fund taxes" because of

   the provision in the Internal Revenue Code requiring that such

   taxes ~~shall be held to be a special fund in trust for the

   United States."

              f.     Employers are required to file an Employer's

   Quarterly Federal Tax Return ("IRS Form 941") quarterly.          On IRS

   Form 941, the employer is required to report the income tax,

   Social Security tax, and Medicare tax withheld from employees'

   paychecks.      The employer is also required to report and pay the

   employer's portion of Social Security and Medicare tax for its

   employees.

                g.    Employers are required to file an Annual Federal

   Unemployment (FUTA) Tax Return ("IRS Form 940") yearly.          In

   connection with the IRS Form 940, the employer is required to

   report its FUTA tax liability for each quarter.




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                 2.   Federal Income Tax Obligations for Corporations,
                      Partnerships, and Limited Liability Companies

           18.   Based on my training and experience, as well as

   discussions with other IRS-CI SAs and IRS revenue agents, I have

   learned the following regarding federal income tax obligations

   for corporations, partnerships, and limited liability companies,

   such as GBUS, GB LLC, EA LLP, and A&A:

                 a.   Under 26 U.S.C. § 6012(a)(1)(A), corporations and

   partnerships are required to file tax returns yearly,

   irrespective of their income.      Similarly, the general rule is

   that every partnership shall file a return for each taxable

   year.     Single-member LLCs are treated as disregarded entities

   for tax purposes unless they affirmatively elect to be treated

   as corporations.

                 3.   Federal Income Tax Obligations for Individuals

           19.   Based on my training and experience, as well as

   discussions with other IRS-CI SAs and IRS revenue agents, I have

   learned the following regarding federal income tax obligations

   for individuals:

                 a.   Under 26 U.S.C. ~ 6012, ~~every individual having

   for the taxable year gross income which equals or exceeds the

   exemption amount" is required to file a federal tax return.           The

   receipt of a specified amount of gross income generally

   determines whether an income tax return must be filed.          The

   threshold gross income amount for a married person filing




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   separately for the 2011 to 2017 tax years ranged from $3,700 to

   $4,050.3

              b.    Gross income is defined as all income from

   whatever source derived, including, but not limited to, the

   following items: (1) compensation for services, including fees,

   commissions, fringe benefits, and similar items; (2) gross

   income derived from business; (3) gains derived from dealings in

   property; and (4) distributive shares of partnership gross

   income.

        B.    Background Information

        20.   Based on publicly available information and other

   information obtained during the course of this investigation, I

   have learned the following information regarding AVENATTI and

   his various companies:

              a.    AVENATTI is a plaintiff's attorney in Southern

   California.     At all relevant times, AVENATTI lived and worked in

   Orange County and Los Angeles County, within the Central

   District of California.

              b.     In 2006, AVENATTI incorporated A&A, a California

   subchapter S corporation.     In 2007, AVENATTI formed the law firm

   Eagan O'Malley & Avenatti LLP.      In approximately December 2010,

   O'Malley left the partnership and the firm changed its name to

   Eagan Avenatti LLP.     As recently as January 2019, AVENATTI was

   still practicing law under the name Eagan Avenatti LLP.

   According to AVENATTI's website, www.avenatti.com, he has


        3 Although AVENATTI was married to L.S. during the 2011 to
   2017 tax years, based on my review of IRS tax records I know
   that L.S. filed separate tax returns during each of these years.


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   obtained over `~$1 billion in verdicts and settlements as lead

   counsel" in cases throughout the country.      AVENATTI has become a

   well-known public figure due to his representation of the

   plaintiff in Stephanie Clifford v. Donald J. Trump, No. 2:18-CV-

   2217-SJO-FFM (C.D. Cal.), a lawsuit against the President of the

   United States,4 and frequent appearances on cable news shows.

              c.   EA LLP's office was located in Newport Beach,

   California until at least in or around November 2018.

              d.   AVENATTI has been since at least July 2013 the

   principal owner and CEO of GBUS, which operated Tully's stores

   in Washington and California.s     GBUS's corporate offices were

   located in Seattle, Washington.     In 2013, AVENATTI's company, GB

   LLC, acquired TC Global Inc., which previously operated Tully's,

   at a bankruptcy auction for approximately $9.2 million.

              e.   During civil depositions taken in October 2016

   and July 2017 in connection with Bellevue Square LLC v. Global

   Baristas US, LLC et al, Case No. 15-2-27043-5-SEA (the "Bellevue

   Square Litigation"), which was pending in the Superior Court of




        4 I understand that the Clifford lawsuit was filed on March
   6, 2018, well-after the EA LLP IRS collection case began in
   September 2015 and the GBUS IRS collection case began in
   September 2016. Indeed, IRS R0 1 first discussed a fraud
   referral to IRS-CI in connection with the GBUS collection case
   with his manager in September 2017, approximately six months
   before the Clifford lawsuit was filed.
        5 In or around October 2018, AVENATTI made press statements
   indicating that he was no longer the owner of GB LLC or GBUS and
   had recently sold the company for close to $28 million. To
   date, the government has been unable to locate any information
   confirming that AVENATTI sold GB LLC or GBUS. To the contrary,
   based on the information available to the government, it appears
   these statements were false.


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   the State of Washington for King County, AVENATTI admitted the

   following:

                     i.    A&A owns Doppio;

                     ii.   Doppio owns at least 800 of GB LLC; and

                     iii. GB LLC wholly owns GBUS, which handled ~~most

   of the day-to-day activities" of Tully's.

              f.     Since approximately March 2017, EA LLP has been

   involved in bankruptcy proceedings; first in the Middle District

   of Florida and then transferred in April 2017 to the Central

   District of California, In re Eagan Avenatti, LLP, No. 8:17-BK-

   11961-CB (C.D. Cal.) (the ~~EA Bankruptcy")      (See infra

   ~ IV.D.2.)      In connection with the EA Bankruptcy, AVENATTI

   admitted the following:

                     i.    AVENATTI owns 100 percent of A&A.

                     ii.   A&A owns 75 percent of EA LLP, and Michael

   Eagan owns the remaining 25 percent of EA LLP.

                g.    In documents publicly filed with the Washington

   Secretary of State, AVENATTI is listed as the sole officer and

   director of Doppio, the sole governor and president of GB LLC,

   and the sole manager of GBUS.

                h.    AVENATTI was also a competitive racecar driver

   from at least 2007 to 2015.      The website www.driverdb.com

   indicates that AVENATTI competed in 34 races during that time

   period.   AVENATTI is also the sole governor of GB Auto, a

   Washington Limited Liability Company that was formed in 2013

   shortly after AVENATTI's company GB LLC purchased TC Global

   Inc., the operator of Tully's.



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              i.   In connection with the EA Bankruptcy, AVENATTI

   described REGNIER as his office manager, chief paralegal, and

   bookkeeper.

        C.    Tax Offenses Relating to Global Baristas US LLC (GBUS)
              and Global Baristas LLC (GB LLC)

        21.   As discussed below, there is probable cause to believe

   that AVENATTI committed a variety of tax offenses in connection

   with his ownership and control of GBUS.      Specifically, the

   investigation to date has revealed that AVENATTI intentionally

   failed to pay over to the IRS approximately $3,121,460 in

   payroll taxes, including approximately $2,390,048 in trust fund

   taxes that had been withheld from GBUS employees' paychecks.

   AVENATTI also took a number of steps to obstruct the IRS

   collection action and evade the collection of GBUS's payroll

   taxes by, among other things, lying to IRS RO 1, changing GBUS's

   merchant accounts to avoid IRS tax levies, instructing employees

   to deposit over $800,000 in cash from Tully's Coffee shops into

   a bank account associated with a separate entity to avoid IRS

   levies, and changing the company name on contracts involving

   GBUS and Boeing.

              1.   Tax Information Regarding GBUS and GB LLC

        22.   Based on my review of IRS tax records and discussions

   with IRS revenue officers and IRS revenue agents, I have learned

   the following regarding GBUS's payment of federal payroll taxes,

   including trust fund taxes (i.e., employee withholdings):

              a.   Between July 2013 and September 18, 2015, GBUS

   paid its federal tax deposits, including trust fund tax
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   payments, to the IRS on a bi-weekly basis.            During this time

   period, GBUS also filed its IRS Forms 941 each quarter.

               b.    After the third quarter of 2015, GBUS stopped

   filing its IRS Forms 941 and paying its federal tax deposits to

   the IRS.

               c.    On March 27, 2017, in connection with the IRS

   collection case, the IRS prepared substitute quarterly payroll

   tax returns for the fourth quarter of 2015 through the third

   quarter of 2016.

               d.    On October 18, 2017, in connection with the IRS

   collection case, GBUS filed IRS Forms 941 for the fourth quarter

   of 2015 through the second quarter of 2017, and an IRS Form 940

   for 2016.

               e.     As detailed in the below chart, GBUS has failed

   to pay over approximately $3,121,460 in federal payroll taxes,

   including approximately $2,390,048 in trust fund taxes:6

     Period     Payroll Tax     Trust Fund    Payments    Payroll Tax   Trust Etuzd
                 Assessed      Tax Assessed                  Owed        Tax Owed

    2015, Q4        $466,215     $292,724     $173,489      $292,725      $292,724

    2016, Q1        $556,290     $382,100           $0      $556,290      $382,100

    2016, Q2        $437,336     $297,791           $0      $437,336      $297,791

    2016, Q3        $487,296     $333,969      $88,170      $399,126      $333,969

    2016, Q4        $405,440     $277,681           $0      $405,410      $277,681

    2017, Q1        $455,289     $309,702           $0      $455,289      $309,702



        6 The tax figures included throughout this affidavit are
   approximate figures based on my preliminary review of IRS tax
   records, information provided to me by IRS revenue officers,
   and/or discussions with an IRS revenue agent. IRS-CI is still
   in the process of completing its tax calculations.


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     Period    Payroll Tax      Trust Etiind   Payments   Payroll Tax   Trust Ftuui
                Assessed       Tax Assessed                  Owed        Tax Owed

    2017, Q2        $502,969      $345,094           $0     $502,969      $345,094

    2017, Q3        $421,648      $291,222     $263,678     $157,969      $150,989

    2017, Q4         Unknown       Unknown      $85,684     -$85,684       Unknown

    2018, Q1         Unknown       Unknown           $0      Unknown       Unknown

    TOTALS     $3,732,483      $2,530,281      $611,023 $3,121,460 $2,390,048



               f.     Although the IRS received approximately $611,023

   in payroll tax payments during the IRS collection case, such

   payments only account for a small portion (approximately 16

   percent) of the total amount of payroll taxes GBUS owed to the

   IRS.   Moreover, approximately $261,661 of the payroll tax

   payments the IRS received was attributable to money received

   from financial institutions in response to the IRS levies, and

   approximately $349,362 is attributable to payments GBUS or EA

   LLP made to the IRS during the IRS collection case.

               g.     GBUS, GB LLC, and Doppio did not file federal

   corporate or partnership income tax returns for the 2013, 2014,

   2015, 2016, or 2017 tax years.         In fact, GBUS, GB LLC, and

   Doppio have never filed federal corporate or partnership income

   tax returns.




        ~ Bank records show that on or about October 31, 2017, EA
   LLP sent the IRS two wire transfers totaling approximately
   $263,660 as partial payment for GBUS's outstanding payroll tax
   liability.



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                2.   The IRS Payroll Tax Collection Case

          23.   In or about September 2016, the IRS initiated a

   collection action against GBUS due to its failure to file IRS

   Forms 941 and pay its payroll taxes.      I have reviewed the

   collection case file, including the ICS History.e        I also

   participated in an interview with IRS RO 1 on September 26,

   2018.    Based on my review of the collection case file and the

   interview with RO 1, I have learned, among other things, the

   following information:

                a.   On September 24, 2016, the IRS opened a

   collection case against GBUS based on a federal tax deposit

   alert (~~FTDA")     A FTDA is generated when a company that was

   paying quarterly payroll taxes to the IRS stops making such

   payments.

                b.   On September 26, 2016, the collection case was

   assigned to RO 1.     RO 1 ran an initial compliance check on GBUS

   and determined that GBUS had already missed filing several

   quarters of payroll tax returns.

                c.   On October 7, 2016, RO 1 made a field visit to

   GBUS's corporate offices in Seattle, Washington.        RO 1 met with

   GBUS's Human Resources Director, M.E., and GBUS's Controller,

   V.S.    RO 1 told M.E. and V.S. that the purpose of his visit was

   to verify federal tax deposits, and that a FTDA had been



        $ Based on my training and experience, I know that the ICS
   History is a chronology of events that occurred during the
   collection case. During his interview, RO 1 explained that not
   all of the information he receives is included in the ICS
   History. The ICS History is not meant to document every
   statement, but is instead just a log of events.


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   generated based on the possibility that the company had fallen

   behind in its federal tax deposit payments.      Neither M.E. nor

   V.S. appeared surprised by RO 1's visit.      M.E. and V.S. both

   told RO 1 that AVENATTI was the corporate officer responsible

   for all of GBUS's business affairs.      RO 1 attempted to obtain

   payroll information from M.E. and V.S., but they did not want to

   give RO 1 any additional information until RO 1 had spoken with

   AVENATTI.    M.E. and V.S. gave RO 1 AVENATTI's contact

   information.

               d.   Later on October 7, 2016, RO 1 called AVENATTI

   and left a voicemail asking AVENATTI to call him back

   immediately.     When AVENATTI called RO 1, RO 1 stated the purpose

   of his visit to GBUS's corporate headquarters was to verify

   GBUS's federal tax deposits.     RO 1 also confirmed that AVENATTI

   was the corporate officer for GBUS.      AVENATTI appeared shocked

   and did not appear to understand how payroll taxes worked.

   AVENATTI said that he was not personally involved in the

   company's finances, and that his payroll staff and a third-party

   payroll company handled the company's payroll responsibilities

   and payroll taxes.     AVENATTI did not tell RO 1 the name of the

   third-party payroll company, but said that he would provide the

   information to RO 1 later.     RO 1 told AVENATTI that since

   September 2015 GBUS had not filed any payroll tax returns or

   made any federal tax deposit payments.      AVENATTI said he was

   very confused about this as well, and that he would talk to his

   accountant to see if the business had changed payroll companies

   in late-2015.     AVENATTI asked to speak to his accountant and



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   said he would call RO 1 back by October 13, 2016.        RO 1 also

   told AVENATTI that GBUS owed a balance of $7,758 for the 2015

   third-quarter federal tax deposits, and was delinquent for the

   fourth quarter of 2015 and the first and second quarters of

   2016.

               e.   On October 14, 2016, AVENATTI called RO 1 and

   said that he had talked to his accountant, M.H. (a certified

   public accountant in Los Angeles, California), who would be

   handling the collection case as the Power of Attorney (~~POA")

   for GBUS because AVENATTI did not have time.

               f.   On October 20, 2016, RO 1 spoke with M.H.        M.H.

   did not have any information regarding GBUS's payroll taxes at

   the time.    M.H. said she had just been hired, and would need to

   obtain information regarding the business from AVENATTI.          RO 1

   told M.H. that by November 14, 2016, GBUS needed to pay the

   remaining balance of $7,758 for the third-quarter of 2015, and

   file the delinquent quarterly payroll returns for the fourth-

   quarter of 2015 and the first three quarters of 2016.          RO 1 also

   requested that GBUS provide 12 months of bank statements, a 2016

   profit and loss statement, and a fully completed IRS Form 433B

   (collection information statement for business).        RO 1 further

   told M.H. that he would need to set up an appointment for an IRS

   Form 4180 trust fund interview, the purpose of which is the

   determination of which corporate officers are responsible for

   making the federal tax deposits.        RO 1 explained to M.H. the

   consequences that would result if GBUS did not meet these

   deadlines, including the possibility of levies, summonses, and



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   seizures.   At no point during the call, did M.H. suggest that

   AVENATTI was not the responsible party for GBUS's payroll tax

   liabilities.

               g.   On November 18, 2016, M.H. called RO 1 to request

   an extension of the November 14, 2016, deadline to pay the

   $7,758 remaining balance, file the delinquent returns, and

   provide the requested financial information and IRS Form 433B.

   M.H. told RO 1 that AVENATTI, GBUS's managing member, had been

   out of the country for work and M.H. had not been able to have a

   meaningful discussion with him regarding the status of the

   business or its taxes.    M.H. said that AVENATTI was coming home

   for the holidays and that she planned to meet with him

  "intensely" to discuss the issues with the business.           RO 1

   agreed to extend the deadline to December 19, 2016, and again

   explained to M.H. the consequences that would result if GBUS did

   not meet this deadline.

               h.   As of the December 19, 2016, deadline, RO 1 had

   not heard back from GBUS, M.H., or AVENATTI.          The IRS had not

   received from GBUS any additional payments, the delinquent

   returns, or the requested financial information.          As a result,

   RO 1 mailed to GBUS and M.H. via certified U.S. Mail completed

   substitute returns prepared by the IRS ("IRS Form 6020B"); IRS

   Publication 5, which detailed appeal rights; blank IRS Form 940

   and IRS Form 941 returns; and IRS Letter 1085, detailing the

   proposed assessment and advising GBUS that the IRS had prepared

   tax returns on the company's behalf and providing GBUS with 30

   days to contest the assessment or file its own returns.           Based



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   on the IRS Form 6020B substitute returns, GBUS owed the IRS a

   balance of approximately $4.8 million in unpaid payroll taxes.

               i.   On or about December 22, 2016, GBUS paid the

   $7,758 balance due for the 2015 third quarter federal tax

   deposits.

               j.   On or about February 9, 2017, RO 1 filed IRS Form

   6020B substitute returns with the IRS for the fourth quarter of

   2015, and the first three quarters of 2016.

               k.   As of March 13, 2017, GBUS still had not filed

   its delinquent returns or provided any of the requested

   financial information.    RO 1 attempted to contact M.H., but was

   unable to reach her.     RO 1 left M.H. a message informing her

   that liens would be filed for all balances due from the IRS Form

   6020B assessments.     RO 1 also mailed out an IRS Form 9297 to

   GBUS and M.H., which stated that GBUS had until April 10, 2017,

   to file .the delinquent returns and to provide the requested

   financial information and IRS Form 433B.      GBUS did not comply

   with the April 10, 2017, deadline.

               1.   Because RO 1 had not heard back from GBUS or M.H.

   as of June 22, 2017, RO 1 began the process of filing notices of

   liens against GBUS for all amounts due to the IRS.         On June 26,

   2017, the IRS filed a federal tax lien against GBUS for

   approximately $4,998,227 with King County in Washington.




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              m.    On August 16, 2017, at RO 1's request, IRS levies9

   were issued to a number of financial institutions and companies

   associated with GBUS, including: (1) Bank of America (~~BofA");

   (2) California Bank & Trust (~~CB&T"); (3) JP Morgan Chase Bank

   NA (~~Chase"); (4) HomeStreet Bank ("HomeStreet"); (5) KeyBank;

   (6) Heartland Payment Systems (~~Heartland"); (7) First National

   Bank of Omaha (~~FNB Omaha"); and (8) Boeing.         The levy notices

   indicated that GBUS owed the IRS a total of approximately

   $5,210,769.     The levy notices were simultaneously mailed to

   GBUS's corporate offices.     As noted in paragraph 29.q below,

   funds provided to the IRS by the recipient financial

   institutions as a result of the levies were routinely noted on

   the monthly financial statements provided to GBUS and AVENATTI

   b y the financial institutions.    RO 1 continued to issue

   a dditional levy notices to financial institutions and companies

   associated with GBUS throughout January 2018.          Because IRS

   levies only apply to funds in the accounts at the time the levy

   is issued, RO 1 issued levies on a nearly daily basis at various

   points in time.     In total, RO 1 issued approximately 125 levy

   notices.

              n.     On or about August 21, 2017, RO 1 began the

   process of bypassing GBUS's representative, M.H.          Before


        9 Based on my training and experience, I know that an IRS
   levy is used to collect money that a taxpayer owes to the IRS.
   The levy requires the recipient to turn over to the United
   States Treasury the taxpayer's property and rights to property,
   such as money, credits, and bank deposits, that the recipient of
   the levy has or is already obligated to pay to the taxpayer.
   Banks, savings and loans, and credit unions are obligated to
   hold any funds subject to the levy for 21 days before sending
   payment to the United States Treasury.


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   b ypassing a taxpayer's representative, RO 1 was first required

   to issue a warning to M.H.     RO 1 called M.H. and left her a

   message stating that three separate attempts had been made to

   obtain information from her regarding GBUS, but that no

   information had been provided, and his calls had not been

   returned.   RO D.L also said that he would be bypassing M.H. if

   she made no further contact.     RO 1 did not receive a response.

               o.   On September 1, 2017, RO 1 visited GBUS's

   corporate headquarters.    RO 1 spoke to a GBUS employee, S.F.,

   who confirmed that AVENATTI was the sole person responsible for

   GBUS's finances and served as both the CEO and Chief Financial

   Officer ("CFO").    S.F. also confirmed that the various notices

   the IRS sent to GBUS had been received by GBUS, and that the

   notices were being scanned and then emailed to AVENATTI.           S.F.

   said that AVENATTI was a practicing attorney in California.

   When asked for AVENATTI's email address, S.F. said she could not

   give that out.     S.F. did not appear surprised that RO 1 was

   visiting GBUS.     S.F. said she was aware of the IRS levies.         RO 1

   also provided S.F. with a copy of IRS Letter 903, which stated

   that the Department of Justice was considering initiating a

   civil suit or criminal prosecution due to GBUS's failure to make

   its required trust fund payments to the IRS.          RO 1 also read the

   letter to S.F., who confirmed that she understood the letter.

   As noted in paragraph 32.f below, during a subsequent interview,

   S.F. confirmed that she told AVENATTI about RO 1's visit and

   provided him with a copy of the IRS 903 Letter.




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              p.      On September 1, 2017, upon returning to his

   office, RO 1 consulted with his general manager about a possible

   fraud referral to IRS-CI due to GBUS's non-compliance. RO 1's

   justification for the potential fraud referral was that GBUS had

   not provided any documents; RO 1 had been attempting to collect

   the taxes owed for one year and had only received one payment of

   approximately $7,000; the POA, M.H., had been dismissed; and

   Tully's stores were still operating.

              q.      On September 5, 2017, Dennis Brager ("Brager"),

   an attorney from the Brager Tax Law Group, contacted RO 1.

   Brager said we would serve as the new POA for GBUS.         Brager told

   RO 1 that the payroll tax issues were all due to a financial

   error and that GBUS had gone through staffing changes in the

   financial or accounting department that had caused the payroll

   tax issue.      Brager also told RO 1 that AVENATTI knew nothing

   about the IRS issues until the delivery of the 903 Letter `last

   Friday" (i.e., September 1, 2017).      RO 1 explained to Brager

   that the case was a year old, he had been unable to get any

   information from the prior POA, M.H., and that liens and levies

   had already been issued.      Brager told RO 1 that the left hand

   did not know what the right hand was doing, that AVENATTI was

   busy, and that employees were not doing their jobs.         RO 1 told

   Brager that the balance due to the IRS was currently at

   $5,274,460.       Brager told RO 1 that GBUS would file original

   returns and correct all balances due.

                r.     On September 6, 2017, S.F. contacted RO 1 and

   said she wanted to provide information to him confidentially due
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  to fear of reprisal from AVENATTI if he learned she had spoken

  to the IRS.      RO 1 asked S.F. why she changed her mind and wanted

   to talk to him.    S.F. said that after hearing RO 1 read the 903

   Letter she became uncomfortable with AVENATTI's response to the

   situation and the scramble she had had to go through to pay

   vendors because of the filed levies.

              s.     On September 15 and September 25, 2017, RO 1

   called Brager's office, but was unable to reach him.       During the

   call on September 25, RO 1 told the receptionist that he would

   be faxing Brager a number of forms, and also mailing the forms

   to Brager via certified mail.     Among other things, RO 1 sent

   Brager a Form 9297, summary of contact letter, requesting full

   payment of the approximately $5.3 million balance due, and

   setting a deadline of October 16, 2017, for GBUS to file

   original returns to correct the Form 6020B substitute returns.

   The Form 9297 letter also advised GBUS that the IRS would seize

   corporate assets from a number of Tully's locations if GBUS were

   unable to pay the balance due.

              t.     On September 26, 2017, RO 1 conducted a IRS Form

   4180 trust fund interview with A.H., a former GBUS employee.

   A.H. confirmed that she had been a payroll clerk and bookkeeper

   at GBUS.   A.H. told RO 1 that AVENATTI was in charge of GBUS and

   made all of the financial decisions for the company.

              u.     On September 26, 2017, RO 1 also attempted to

   conduct an IRS Form 4180 trust fund interview with T.M., GBUS's

   former CFO and Chief Operating Officer (~~COO"), at his home.         RO

   1 eventually spoke with T.M. via telephone.      T.M. said he needed



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   to speak with counsel before speaking to RO 1.        Subsequently, on

   or about November 3, 2017, RO 1 received a letter from T.M.'s

   attorney attaching the completed Form 4180, a signed declaration

   from T.M., and a copy of T.M.'s September 24, 2015, resignation

   email to AVENATTI.    In the Form 4180, T.M. stated that AVENATTI

   was the sole corporate officer for GBUS and was responsible for

   GBUS's financial decisions.     The letter from T.M.'s attorney

   also argued that T.M. was not personally liable for any of

   GBUS's tax liabilities.

              v.   On October 3, 2017, RO 1 spoke with Brager.

   Brager expressed shock that levies had been issued.         RO 1 told

   Brager that the levies were issued because no federal tax

   deposits had been received from GBUS and that GBUS was an

  "egregious pyramider."10     RO 1 told Brager that RO 1 would agree

   not to issue additional levies against GBUS until October 16,

   2017, so that GBUS could take steps to make immediate federal

   tax deposits.   Brager asked RO 1 for a "levy release," which RO

   1 declined to provide because GBUS had not been in compliance

   and had failed to provide any financial information.         When

   Brager said that GBUS would not be able to make any federal tax

   deposits due to the levies in place, RO 1 told Brager that GBUS

   had not made any federal tax deposits since the fourth-quarter

   of 2015, that the levies did not start until August 2017, and

   that GBUS therefore had almost two years of payroll taxes

   stashed away.    When asked what happened to the payroll taxes


         to RO 1 explained during his September 2018 interview that a
   ~~pyramider" is a business that is accumulating payroll taxes
   every quarter without making the required payments to the IRS.


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   that had been withheld from the employees from October 2015 to

   July 2017, Brager told RO 1 that he did not know and that he

   needed to talk to AVENATTI.

                w.     On October 13, 2017, Brager contacted RO 1 and

   told him that GBUS had made a federal tax deposit payment for

   its payroll taxes.       Brager also said that GBUS had filed its

   original payroll tax return.

                x.     On October 18, 2017, RO 1 received four payroll

   tax returns from GBUS for processing and four payroll tax

   returns for 6020B reconsideration.        As of October 18, 2017,

   however, the IRS still had not received any federal tax deposits

   from GBUS.        RO 1 left a message for Brager informing him that

   there had "still been no FTDS!"       In the message, RO 1 told

   Brager that the payment of the federal tax deposits needed to be

   immediate and retroactive since the last federal tax deposit

   payment had been made on November 2, 2015.

                y.      On October 20, 2017, having still not received

   federal tax deposit payments from GBUS, RO 1 again began issuing

   daily levies to the financial institutions associated with GBUS,

   including KeyBank, CB&T, and FNB Omaha.        RO 1 also noted in the

   ICS History that the case was being considered for a fraud

   referral to IRS-CI.

                z.      On October 26, 2017, the IRS received a $23,763

   payment from GBUS.

                aa.     In late October 2017, RO 1 noticed that the

   levies issued were not producing the expected amount of seized




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   funds.   This raised a red flag for RO 1 regarding GBUS's

   financial arrangements.

               bb.   On November 2, 2017, Brager called RO 1 and faxed

   over two copies of federal tax deposits made by GBUS.          Brager

   requested that the IRS enter into an installment agreement with

   GBUS.    RO 1, however, told Brager that GBUS did not qualify for

   an installment agreement because GBUS had never provided the IRS

   with any financial information.     RO 1 told Brager that he

   believed the request for an installment agreement was merely a

   stall tactic and attempt to delay collection.11       During the call,

   Brager repeatedly told RO 1 that AVENATTI had relied on the

   payroll service provider to make payments but the provider had

   failed to make the deposits.     RO 1 responded that GBUS should

   have had the money at issue readily available since the federal

   tax deposits were never made.     Brager said he didn't know the

   financial information for GBUS, but would get together with

   AVENATTI and provide RO 1 with all the financial information

   within 10 days.     RO 1 told Brager that enforcement (i.e.,

   additional levies) would continue during that time period.

               cc.   On November 6, 2017, the IRS received a Form 941

   payroll return for GBUS for the third-quarter of 2017.          The

   payroll return was signed by M.E.

               dd.   On November 14, 2017, RO 1 spoke with a FNB Omaha

   employee.    RO 1 wanted to know why there had been no funds from

   the latest levies issued to FNB Omaha.      The FNB Omaha employee


        11 RO 1's general manager reviewed the installment
   agreement request and agreed with RO 1's assessment that it was
   merely a delay tactic.


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   told RO 1 that GBUS had changed merchant accounts and was no

   longer using FNB Omaha as the sponsoring bank.        The employee

   said that GBUS might still be using TSYS as its credit card

   processor, but a different sponsoring bank.      RO 1 considered the

   change in merchant accounts to be a red flag.

              ee.   On November 14, 2017, a GBUS employee told RO 1

   that: (1) the merchant account IDs had been changed in all of

   the Tully's stores on October 5, 2017; (2) FNB Omaha had

   requested the GBUS accounts be closed due to risk; (3) the

   account into which cash from the Tully's stores was deposited

   had been changed from a KeyBank account to a subsidiary account

   under the name of GB Auto; (4) cash was being deposited into a

   BofA account ending in 7412 (~~GB Auto BofA Account 7412"); and

   (5) cash was retrieved from the coffee shops twice a week on

   Monday and Thursday mornings.     At this point, RO 1 believed that

   GBUS was actively placing assets out of the reach of the

   government.

              ff.   On November 17, 2017, M.G. called RO 1 to say

   that M.G. wanted to cooperate and remain anonymous due to fear

   of reprisal.     M.G. was the Director of Retail Operations for

   GBUS.12   M.G. said she was responsible for daily cash deposits

   and setting up merchant credit card processing services for all

   of the Tully's stores.     M.G. told RO 1 that GBUS's corporate

   headquarters and one of the Tully's retail locations had been

   closed due to non-payment of the lease.      M.G. said that she had



        1z Based on interviews of M.G. and S.F. conducted in
   September 2018, I know that M.G. and S.F. are sisters.


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   been instructed by V.S., GBUS's controller, to make numerous

   changes to the cash deposits and the merchant accounts, which

   made her feel uneasy and suspicious as to whether fraud was

   occurring.    M.G. said she had all the financial information and

   correspondence from AVENATTI regarding changes to the merchant

   accounts.    RO 1 told her that he would be summonsing her into

   the office to provide the documents.      He also asked M.G. to let

   him know if AVENATTI changed the bank accounts or merchant

   accounts again.

                gg.   Later, on November 17, 2017, two GBUS employees,

   M.G. and V.S. were served with IRS summonses requiring them to

   appear before RO 1 and produce relevant GBUS business records.

                hh.   On November 28, 2017, M.E. appeared for an

   interview in response to the collection summons RO 1 issued.

   During the interview, M.E. filled out a Form 4180.         M.E. said

   that since April 2016 she prepared, reviewed, signed, and

   authorized the transmission of payroll tax returns.         M.E.,

   however, confirmed that AVENATTI was the owner and operator of

   GBUS, and that all financial obligations, if paid, were paid at

   the direction of AVENATTI.

                ii.   On November 29, 2017, M.G. appeared for an

   interview in response to the collection summons RO 1 issued.

   M.G. provided RO 1 with bank account information for GBUS, GB

   LLC, and GB Auto.      M.G. confirmed that GBUS had changed both its

   credit card processing and cash deposit accounts.         M.G. said

   that cash from the Tully's stores were previously being

   deposited into a KeyBank account, but was now being deposited



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   into an account for GB Auto.        M.G. said that the entity name for

   the merchant accounts had been changed from GBUS to GB LLC.

   M.G. said that REGNIER, from EA LLP, had set up the new bank

   account for GB LLC.        M.G. also provided RO 1 with emails

   regarding the company's business, including emails regarding the

   merchant account changes.13

                  jj.    On November 30, 2017, V.S. appeared for an

   interview in response to the collection summons RO 1 issued.

   V.S. told RO 1 that no payments for GBUS were made unless

   authorized by AVENATTI.         V.S. repeatedly said that AVENATTI

   refers to himself as the owner, CEO, and sole member of GBUS and

   that any and all decisions go through him.         V.S. said that funds

   were frequently transferred between GBUS and EA LLP, and that

   unreasonable legal fees were being paid to EA LLP.          V.S. also

   said that GBUS sponsored the International Motor Sports

   Association ("IMSA"), and spent approximately $200,000 in

   license fees and other investments relating to AVENATTI's racing

   team.        V.S. said that T.M., GBUS's former C00/CFO, and B.H.,

   GBUS's former Director of Operations were both aware of the

   financial irregularities at GBUS.          V.S. also provided RO 1 with

   email correspondence involving AVENATTI, as well emails

   regarding the changes to the TSYS merchant accounts.14

                   kk.   On December 5, 2017, M.G. told RO 1 that AVENATTI

   had instructed all of the Tully's stores to hold their cash


        13 IRS-CI's collection and review of these emails is
   discussed further in footnote 15 below.
           14
           IRS-CI's collection and review of the emails V.S.
   provided is discussed further in footnote 15 below.


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   deposits until further notice.       M.G. said AVENATTI was also very

   curious about what documents were submitted to the IRS in

   response to the summons and wanted a full account of the

   documents submitted.

                 11.   On or about December 7, 2017, Brager sent a

   letter to RO 1's general manager complaining about the summonses

   issued to GBUS employees.       Among other things, Brager's letter

   claimed that the IRS had provided inadequate notice of the

   summonses to GBUS.      Brager further claimed that RO 1 may have

   obtained privileged information from the employees because

   AVENATTI is both the managing member of GBUS and its general

   counsel .ls

                 mm.   On December 11, 2017, RO 1 contacted A.R.G., a

   lawyer for Boeing, regarding the sale of the Tully's kiosks

   while IRS liens were pending.       On December 12, 2017, A.R.G.

   emailed RO 1 a copy of the Global Baristas contract, and an

   email exchange with AVENATTI.       A.G. stated that the contract was


        is In April 2018, following the fraud referral to IRS-CI,
   RO 1 provided me with PDFs of six documents he had received in
   response to the summonses. In May 2018, RO 1 also provided me
   with a disk containing additional documents he had received in
   response to the summonses. I briefly reviewed the six PDFs, but
   did not review any of the materials on the disk. Later in May
   2018, while reviewing RO 1's case file, I learned of Brager's
   privilege claim. I then provided the materials I received from
   RO 1 to an attorney with the Department of Justice's Tax
   Division so that a privilege review could be conducted. I
   understand that a Privilege Review Team AUSA (~~PRTAUSA")
   subsequently conducted a review of the materials in August 2018.
   The PRTAUSA redacted two portions of one email on the basis that
   GBUS might be able to claim that the redacted portions were
   protected by the attorney-client privilege, but concluded that
   none of the other documents RO 1 had provided were protected or
   potentially protected by the attorney-client privilege. The
   redacted email and the remaining documents were then released to
   IRS-CI and the prosecution team for us to review.


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   actually with GB Hospitality, LLC.     In the email, A.G. said that

   AVENATTI "verbally had asked me to use the entity Global

   Baristas, LLC on the Bill of Sale as he said it was the entity

   that held title to the equipment."

              nn.   On December 14, 2017, RO 1 spoke with M.G. and

   S.F.   They told him AVENATTI had instructed the Tully's stores

   to hold the cash deposits because he was in the process of

   setting up new accounts to take cash deposits.        They also told

   RO 1 that GBUS was in the process of finalizing a new merchant

   credit card account with Chase Bank under the name of GB LLC.

              oo.   On December 14, 2017, RO 1 issued a summons for

   AVENATTI to appear for a 4180 trust fund interview.         On January

   11, 2018, Brager advised RO 1 that AVENATTI would not appear

   because AVENATTI had not been properly served with the summons.

              pp.   As of January 2018, RO 1 was still issuing levies

   to known bank accounts associated with GBUS, as well as to bank

   accounts associated with GB LLC and GB Auto.      These levies

   typically resulted in the recovery of only $50 to $100.

              qq.   On February 2, 2018, Brager sent RO 1 a protest

   of the proposed trust fund recovery penalty assessments against

   AVENATTI and GBUS.    Among other things, Brager claimed that

   AVENATTI "did not act willfully since he was not involved in the

   preparation, or calculation of the payroll taxes" and "did not

   have knowledge of the fact that the taxes were unpaid until

   after the taxes had accrued."     Brager therefore argued that

   AVENATTI was not a ~~responsible person" for GBUS and ~~cannot be




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   held personally liable for the trust fund taxes owed by Global

   Baristas, US LLC."

              rr.   On March 12, 2018, RO 1 made field visits to a

   number of Tully's locations, each of which had signs posted on

   the door stating that the store was temporarily closed.          RO 1

   then contacted a GBUS employee, who told him that the closures

   were in fact permanent.

              ss.   On March 19, 2018, the IRS Fraud Technical

   Advisor's Manager approved a fraud referral to IRS-CI.

              3.    GBUS Employee Interviews

        24.   As part of its investigation, IRS-CI has interviewed

   numerous former GBUS employees.     At the outset of each

   interview, Assistant United States Attorneys ("AUSAs") working

   on this investigation requested that the employee not provide

   the government with any information that might be covered by the

   attorney-client privilege.     The AUSAs explained that any legal

   discussions the employee may have had with lawyers acting on

   behalf of GBUS or any other company the employee worked for

   could potentially be covered by the attorney-client privileged,

   and that the company would hold the privilege -- meaning that

   only the company could decide to disclose privileged

   communications to the government.      The AUSAs further explained

   that the government understood that GBUS's owner and CEO,

   AVENATTI, was also a lawyer and may have acted both in a

   business capacity and a legal capacity on behalf of GBUS.           The

   AUSAs asked the employees to inform the interviewers if at any

   point the questions might require the employees to disclose
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   legal discussions they had with AVENATTI, and to not disclose

   any legal discussions they may have had with AVENATTI in his

   capacity as a lawyer for GBUS.       Each of the employees said they

   understood and agreed not to provide any information that they

   believed could be potentially privileged.

        25.    On November 13, 2018, I participated in an interview

   of T.M., GBUS's former Chief Operating Officer ("COO") and Chief

   Financial Officer (~~CFO")       T.M. was accompanied by his personal

   attorney.    T.M. provided the following information:

               a.      T.M. met AVENATTI in approximately 2011 through

   T.M.'s work for Cascade Capital Group ("Cascade").         In 2012,

   T.M., AVENATTI, and others were attending a bankruptcy hearing

   in connection with the Meridian Mortgage Funds ("Meridian")

   bankruptcy case.       Prior to the Meridian hearing, there was a

   hearing regarding the auction to purchase TC Global, Tully's

   parent company, out of bankruptcy.        During that hearing,

   AVENATTI expressed an interest in purchasing TC Global out of

   bankruptcy.       AVENATTI then hired Cascade to do due diligence on

   TC Global and Tully's.       In January 2013, AVENATTI, through GB

   LLC, put in a successful bid of $9.15 million to purchase TC

   Global at a bankruptcy auction.       The purchase closed in June

   2013.

                b.      T.M. worked as a consultant for GBUS beginning in

   July 2013.        In October or November 2013, T.M. took a full-time

   position as GBUS's COO and CFO.        T.M worked for GBUS until

   September 24, 2015, when he resigned.        Between approximately

   January 2015 and September 2015, T.M. worked for GBUS only half-



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   time.   T.M.'s base salary was $250,000, with incentives of up to

   $150,000 annually.    T.M. was also supposed to receive "phantom

   equity" in GBUS, under which T.M. would receive six percent of

   the sale proceeds of GBUS equity in excess of $9,150,000.

              c.      AVENATTI's title at GBUS was CEO and he was on

   GBUS's payroll as its CEO.     T.M. considered AVENATTI to be the

   owner and CEO.    T.M said he ~~treated this as if I was working

   for the owner."    AVENATTI's role was to identify strategy and

   make decisions for GBUS.     T.M. said that AVENATTI was the

   ultimate decision maker for GBUS and that every important

   decision was approved by AVENATTI.      For example, AVENATTI made

   all of the hiring decisions for GBUS, and interviewed and vetted

   the candidates.

              d.    T.M. said that AVENATTI's default position at

   GBUS was not as a lawyer.     When asked whether AVENATTI ever

   acted as a lawyer for GBUS, T.M. said he did not know and that

   this was a gray area.    T.M., however, said that he did not see

   any invoices from EA LLP and was not aware of GBUS ever hiring

   EA LLP to do legal work for GBUS.      T.M. considered his

   conversations with AVENATTI to be about business matters, not

   legal matters.

              e.     T.M. said that for the entire time he worked for

   GBUS, Foster Pepper PLLC was GBUS's operational counsel.           T.M.

   saw invoices from Foster Pepper to GBUS, which were then routed

   to AVENATTI.

              f.     T.M. said that GBUS used a third-party payroll

   company, but was not sure of the company's name.         The prior



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   payroll company had not been allowing direct deposit of wages

   for employees because of cash flow issues.       When GBUS switched

   to a new payroll company, GBUS set up direct deposit for its

   employees.16    As cash flow got tighter at GBUS, direct deposit

   was rolled back.    T.M. discussed rolling back direct deposit and

   reverting to paper checks with AVENATTI.

              g.    T.M. explained that after direct deposit was

   stopped in 2015, the payroll company would generate payroll

   checks on GBUS's stock checks.     When GBUS had direct deposit,

   the payroll company would pull the funds for payroll and payroll

   taxes out of GBUS's payroll account on the Friday before the

   Monday payday.     The money for payroll would therefore be gone

   immediately.     Cancelling direct deposit gave GBUS "float time"

   until the employees' checks cleared the following week, meaning

   that the payroll funds would still be in GBUS's bank account and

   GBUS had more time to make funds available to pay the employees

   and its payroll taxes.

              h.     T.M. resigned his position at GBUS in large part

   due to payroll tax issues at GBUS and because he was concerned

   about his personal liability.     Payroll was very tight and GBUS

   could not always meet its payroll obligations.        On three or four

   occasions, T.M. loaned GBUS money so that it could cover the

   gaps in its payroll obligations.        T.M. estimated that he loaned



        16 Based on interviews with other GBUS witnesses, I learned
   that GBUS used Ceridian for its payroll services at all times.
   While T.M. appears to have been mistaken about GBUS's use of a
   prior payroll company, T.M.'s statements regarding direct
   deposit are consistent with statements made by other former GBUS
   employees.


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   GBUS $10,000 to $40,000 to meet its payroll obligations.          This

   money was paid back prior to T.M.'s resignation.

                i.   On September 24, 2015, T.M. had a phone

   conversation with AVENATTI regarding the outflow of funds for

   that week.    T.M. told AVENATTI that GBUS needed funds to pay its

   payroll taxes the next day.     AVENATTI told T.M. not to count on

   that.l~   Based on AVENATTI's response, T.M. told AVENATTI that it

   would be his last day.     He then emailed AVENATTI a resignation

   letter later that same day.

                j.   T.M. said that AVENATTI was aware that GBUS

   needed to pay its payroll taxes.        T.M. specifically discussed

   GBUS's obligation to pay its payroll taxes with AVENATTI on more

   than one occasion.l$

                k.   M.D. was the head of Human Resources and Payroll

   for GBUS.     GBUS's IRS Forms 940 and IRS Forms 941 were normally

   filed by M.D.     T.M. would be notified when they were filed.

               1.    T.M. was asked whether AVENATTI ever withdrew

   money from GBUS.     T.M. said that money was flowing out of GBUS

   as early as August 2013.     AVENATTI was a signer on GBUS's bank

   accounts, and there were frequent transfers from GBUS to EA LLP




        17 As detailed in paragraph 22.b above, IRS records show
   that GBUS stopped making federal tax deposit payments to the IRS
   after the third quarter of 2015.
        1e During the discussion of GBUS's payroll tax obligations,
   T.M. began to mention a discussion he and AVENATTI had with a
   labor lawyer from Foster Pepper in early 2015. The AUSAs
   immediately instructed T.M. not to provide any information
   regarding the substance of his conversations with Foster Pepper.
   T.M. followed that instruction and did not provide any
   information regarding the substance of his discussions with
   GBUS's lawyers.


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   and from EA LLP to GBUS.    T.M. said that none of the transfers

   to EA LLP were for legal services EA LLP provided to GBUS.

   AVENATTI would not tell T.M. in advance that he would be taking

   money out of GBUS's bank accounts -- the money would just be

   gone.   M.B., GBUS's controller at the time, would tell T.M. when

   AVENATTI had taken money out of the GBUS bank accounts.          When

   T.M. asked AVENATTI if he was going to stop taking money in and

   out of GBUS's bank accounts, AVENATTI responded that he did not

   foresee that happening.    AVENATTI did not tell T.M. what the

   funds AVENATTI was taking out of GBUS's bank accounts were being

   used for.    GBUS's accounting team tracked the money AVENATTI

   transferred into and out of GBUS.

               m.   T.M. initially had authority to sign company

   checks, which were cut whenever vendor invoices were due.          By

   approximately March 2015, however, this had changed.19         T.M.

   would provide AVENATTI with a list of vendors' invoices.

   Sometimes T.M. would make the decision to pay vendors on his

   own, and other times AVENATTI would approve the payments to

   vendors.

               n.   T.M. said that the daily operations of the

   Tully's stores went through GBUS.       All cash receipts came from

   GBUS and everything happened under GBUS.       T.M. did not recall

   any cash receipts coming from GB LLC.




        19 Based on my review of GBUS bank account records, I know
   that in February 2015 GBUS opened two new accounts at CB&T.
   AVENATTI and REGNIER were the only signatories on these bank
   accounts.


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               o.   T.M. said that the majority of GBUS's profits

   came from the Tully's stores at Boeing facilities.         The

   commission payments to Boeing were delayed more than once

   because of working capital restrictions.      T.M. had never heard

   of a company called "GB Hospitality," which was the name

   AVENATTI used on the Boeing contract in November 2016 (see

   9[ 39.d).

               p.   T.M. is familiar with The Peoples Bank in

   Mississippi because of litigation that Cascade and AVENATTI

   worked on involving Mississippi Power.      T.M., however, was not

   aware of AVENATTI obtaining a loan from The Peoples Bank.          T.M.

   did not recall seeing any loan documents, and there was no debit

   or credit item for a loan from The Peoples Bank in GBUS's

   financial statements.

               q.   T.M. was also asked about GB Auto.      T.M. said GB

   Auto was AVENATTI's racing team in IMSA.      Money that was sent

   from GBUS to GB Auto would have been tracked by the accounting

   team.   AVENATTI also signed GBUS up as a coffee sponsor for

   IMSA.   AVENATTI used the Tully's logo on his race car and an

   employee would serve Tully's coffee at IMSA events.         T.M. said

   that the IMSA expenses did not help with GBUS's operations.

               r.   T.M. did not know whether corporate tax returns

   for GBUS had been completed or filed.      T.M. had arranged for

   GBUS to hire a tax accountant in Tampa, Florida, to prepare

   GBUS's tax returns.     AVENATTI participated in meetings with the

   accountants by phone.     The accountants provided GBUS with a list

   of documents that were needed to prepare the tax returns,



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   including a number of documents that would have been in

   AVENATTI's control.    T.M. did not know if AVENATTI ever provided

   the required documents to the accountants.

              s.   AVENATTI had a GBUS email address, but T.M.

   always emailed AVENATTI at his EA LLP email address.

              t.   T.M. said that REGNIER was responsible for all of

   AVENATTI's administrative needs.        REGNIER would have been copied

   on all emails to AVENATTI regarding GBUS's cash needs.          T.M.

   understood that REGNIER had been with AVENATTI for a very long

   time.

              u.   T.M. was asked about a settlement agreement he

   entered into with AVENATTI and GBUS in 2018 relating to money

   GBUS still owed T.M. as part of his employment agreement.           As

   part of the settlement, on or about October 2, 2018, T.M.

   received a $35,000 check from A&A's CB&T bank account, which

   bounced.   T.M. guessed that the check was signed by REGNIER.

              v.   Prior to the interview with T.M., I learned that

   on or about October 31, 2018, T.M. filed a civil lawsuit against

   AVENATTI in the Superior Court of the State of Washington for

   King County for wrongful wage withholding; breach of contract;

   dishonored check; and fraud and misrepresentation.         The civil

   complaint alleges that AVENATTI failed to pay T.M. money he was

   owed under his employment agreement with GBUS.        In addition to

   the incentive payments mentioned in paragraph 25.b above, the

   complaint notes that AVENATTI had recently been quoted in a

   October 24, 2018, Seattle Times article as saying that he sold

  "Global Baristas          for $28 million a long time ago."        T.M.



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   claimed that under the terms of his employment agreement, he

   would have been entitled to six percent of the sale proceeds

   above $9.15 million.

              w.     T.M. said he had never discussed selling GBUS

   with AVENATTI and does not know if AVENATTI ever sold GBUS.

        26.   On October 24, 2018, I participated in an interview of

   M.B., GBUS's former Controller.     M.B. provided the following

   information:

              a.     In October 2013, M.B. began working at GBUS as

   its Controller.    M.B. had been recruited by T.M., and

  interviewed for the position with T.M. and AVENATTI.          She

   reported to T.M.    M.B. worked full-time at GBUS until December

   2015, and part-time at GBUS in January 2016.

              b.   M.B. managed GBUS's accounting department.

   M.B.'s role at GBUS included assessing and running the

   accounting systems, overseeing the financials, and looking at

   the day-to-day accounting figures.

              c.   AVENATTI was the owner and CEO of GBUS.         M.B. did

   not know AVENATTI to be the General Counsel of GBUS.

              d.   AVENATTI would authorize payments for GBUS.           M.B.

   would email T.M. and AVENATTI to ask what bills to pay.            M.B.

   would usually get a response of approval from T.M., and

   sometimes from AVENATTI.

              e.     GBUS used Ceridian for its payroll services.

   Ceridian was initially responsible for paying the payroll taxes

   and preparing and filing the payroll tax returns.        M.B. believed

  this was set up by T.M. or AVENATTI.



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              f.   In the second or third quarter of 2015, AVENATTI

   directed Ceridian to stop paying GBUS's payroll tax withholdings

   and told Ceridian that GBUS would pay the payroll taxes itself.

   This gave GBUS float time for the payroll payments.         M.B.

   explained that AVENATTI was the only signatory on GBUS's payroll

   account and that no one other than AVENATTI was empowered to pay

   the payroll tax withholdings.     After this change, M.D. (GBUS's

   Human Resources and Payroll Director) was responsible for filing

   the payroll tax returns, and AVENATTI was responsible for paying

   the payroll tax withholdings.     M.B. said the decision to change

   the payment process for GBUS's payroll tax withholdings with

   Ceridian was made by AVENATTI, and went from AVENATTI to T.M.,

   and then from T.M. to M.D.     M.B. believes that AVENATTI would

   have signed the forms authorizing the change with Ceridian.

              g.   For the third-quarter of 2015, Ceridian paid the

   net salary to GBUS employees, Ceridian prepared the IRS Form 941

   payroll tax return, and GBUS was responsible for paying the

   payroll tax withholdings to the IRS.      AVENATTI, however, would

   not approve the payment of the payroll tax withholdings.           M.B.

   said that AVENATTI directed M.D. not to pay GBUS's payroll taxes

   for the third-quarter of 2015.     M.D. was mortified by this

   directive and told M.B. about it.

              h.   M.B. documented AVENATTI's instruction not to pay

   GBUS's payroll taxes and sent AVENATTI an email explaining the

   ramifications of not paying the payroll taxes.        AVENATTI did not

   respond to her email.    When M.B. asked AVENATTI over the phone

   whether he had received her email, he responded that it was



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   ~~mine to deal with."   M.B. did not believe she saved a copy of

   this email, and was unable to locate a copy of it in her

   personal emails following her interview.

               i.    M.B. remembered seeing emails from M.D. to

   AVENATTI requesting that AVENATTI approve the payment of the

   payroll tax payments.    M.B. also sent similar requests to

   AVENATTI.

               j.   M.B. said that V.S. and B.C. from the accounting

   department knew that GBUS's payroll taxes were not being paid

   because they had access to GBUS's financials.         M.E. from the

   human resources department also knew that the payroll taxes were

   not being paid.    In fact, M.B. speculated that everyone in

   GBUS's corporate office knew about the payroll tax issues

   because the corporate office was small, and the employees were

   close on a professional level.

               k.   M.B. said the payroll tax issue was the ~~nail in

   the coffin" as to her decision to leave GBUS.         She left GBUS a

  few months later in December 2015, and actually took a pay cut

   to leave GBUS.    She said that AVENATTI's ~~moral compass didn't

   point north."

               1.   M.B. thought GBUS spent approximately $750,000 in

   connection with its IMSA sponsorship.      GBUS was hemorrhaging

   money at the time and M.B. did not think the IMSA sponsorship

   was the best use of funds.    Without the IMSA expenses GBUS would

   have been cash neutral and in a better financial position.          M.B.

   considered the IMSA sponsorship to be a ~~vanity" decision by

   AVENATTI.



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               m.   M.B. said that AVENATTI would frequently transfer

   money in and out of GBUS's bank accounts.      This happened for

   months.   M.B. would login into GBUS's bank accounts and see

   wires to and from EA LLP or A&A.     M.B. would reconcile the bank

   accounts every day and tracked the funds deposited or withdrawn

   b y AVENATTI.    M.B. said the amount AVENATTI deposited was likely

   more than the amount he withdrew, but that if you included the

   money AVENATTI spent on IMSA he would likely have owed GBUS

   money.    M.B. said that AVENATTI's deposits and withdrawals from

   GBUS's bank account had an impact on GBUS's operations.          GBUS

   was operating with a cash loss and some of the money AVENATTI

   withdrew could have been used to pay vendors.

               n.    AVENATTI would wonder why GBUS was short on cash.

   In response, M.B. would prepare cash reports and give them to

   AVENATTI.

               o.    M.B. said that AVENATTI's law firm was not an

   investor in GBUS.     There were no invoices between the law firm

   and GBUS, and no formal loan documents between GBUS and

   AVENATTI's law firm.

               p.    M.B. would send emails to AVENATTI at his EA LLP

   email address.     M.B. would typically communicate with AVENATTI

   via email or by phone.     M.B. only saw AVENATTI a few times a

   year.

               q.    REGNIER was the right hand person for AVENATTI at

   his law firm.     M.B. dealt with REGNIER a few times when M.B.

   needed AVENATTI to get something done for GBUS.        REGNIER would

   get AVENATTI to take action at M.B.'s request.



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        27.    On October 24, 2018, I participated in an interview

   with M.D., GBUS's former human resources and payroll director.

   M.D. provided the following information:

               a.   M.D. started working at Tully's in 2000 in the

   payroll department.    He worked for Tully's when it was sold to

   TC Global in 2008, and stayed on after AVENATTI bought TC Global

   out of bankruptcy.    His job duties at GBUS included overseeing

   payroll, human resources, and facilities.      M.D. resigned from

   GBUS in November 2015.    M.D., however, worked part-time at GBUS

   until April 2016 to help with payroll.

               b.   GBUS used Ceridian to handle its payroll the

   entire time that M.D. worked for GBUS.      Payroll was on Mondays,

   so the funds would need to be available in GBUS's payroll

   account on the prior Thursday or Friday.      In 2013 and 2014,

   Ceridian was a full service payroll processor for GBUS.

   Ceridian's services during this time included direct deposit

   drawn on Ceridian's bank account, withholding, tax filings, and

   W-2s, among other things.     These were the services provided for

   the first year-and-a-half, at which point T.M. instructed M.D.

   to stop the direct deposit service.       Thereafter, payroll was no

   longer paid from Ceridian's bank account, but instead from

   GBUS's payroll bank account.     The checks were still cut by

   Ceridian, but the money was drawn on GBUS's payroll bank

   account.

               c.   M.D. said another change occurred in the summer

   of 2015, when the wires to pay the payroll taxes were not

   approved.    Ceridian requested the payroll tax money and the



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   payment did not get approved by GBUS.      M.D. recalled telling

   M.B. that he had been notified by Ceridian about the non-payment

   of the payroll taxes by GBUS.     M.D. did not know if the payroll

   tax payments were ever made to Ceridian.

               d.   M.D. said that a couple of times the payroll

   payments to Ceridian were late.     After a while, Ceridian told

   M.D. that it was no longer going to make payroll payments due to

   GBUS failing to pay Ceridian on time.      Ceridian was also no

   longer filing GBUS's payroll tax returns.      M.D. told M.B. about

   this, who then told T.M. and AVENATTI.

               e.   M.D. said that bi-weekly payments to the IRS

   stopped once the Ceridian services and payments were

   discontinued.    He believed that AVENATTI, not T.M., made the

   ultimate decision to terminate Ceridian's services.

               f.   In the third quarter of 2015, GBUS's payroll tax

   payments were not made because AVENATTI did not approve the

   payments.    M.B. told M.D. that AVENATTI did not approve the tax

   payments.

               g.   M.D. said he started looking for a new job

   because of the lack of payroll tax payments.      He thought it was

  "unethical" that payroll tax payments were not being made even

   though GBUS was withholding taxes from GBUS employees.          He was

   concerned someone would blame him so he started looking for a

   new job.    He described GBUS's failure to pay its payroll taxes

   as the final straw in his decision to leave GBUS because he

   believed GBUS had the fiduciary responsibility to pay the IRS.

   M.D. ultimately took a pay cut to leave GBUS for another job.



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              h.    M.D. did not know if the payroll tax payments for

   the third or fourth quarter of 2015 were ever paid by GBUS.

   M.D., however, said that the payroll tax payment requests would

   have been sent to GBUS's accounting team.      M.D. would send check

   requests for the state and federal tax payments to V.S.

              i.    M.D. shared his concerns regarding the payroll

   tax issues with M.B., because T.M. had already left GBUS at the

   time.

              j.    M.D. understood that M.B. was speaking to

   AVENATTI about the payroll taxes that needed to be paid.          M.B.

   told him about her discussions and communications with AVENATTI

   regarding the payroll tax issues.

              k.    M.D. believed that he, M.B., and M.E., who worked

   for him in the human resources and payroll department, were the

   only employees that knew GBUS was not paying its payroll taxes.

              1.    M.D. believed that AVENATTI and T.M. were

   signatories on the GBUS bank accounts.      M.D. said that no checks

   could be cut without AVENATTI's approval.

              m.    M.D. considered AVENATTI to be the owner,

   President, and CEO of GBUS.     This is how AVENATTI presented

   himself.   M.D. did not consider AVENATTI to be GBUS's General

   Counsel, and never heard AVENATTI refer to himself as GBUS's

   General Counsel.    M.D. was not aware of GBUS ever hiring EA LLP

   to perform any legal services for GBUS.

              n.    M.D. had limited interactions with AVENATTI

   during his time at GBUS.     M.D. had seen AVENATTI only four or

   five times.     He did not recall having any significant



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   conversations with AVENATTI or any one-on-one phone calls with

   him.   M.D. typically interacted with T.M. and M.B.

                o.   M.D. emailed AVENATTI approximately 10 times at

   his EA LLP email address.    AVENATTI had a GBUS email address,

   but did not use it.

                p.   M.D. was scared of AVENATTI when he worked at

   GBUS because he did not want to be personally sued.         M.D.

   respected AVENATTI at first, but over time he no longer trusted

   AVENATTI and became concerned that AVENATTI would sue him for

   anything.     M.D. also expressed concern that AVENATTI might

   attempt to retaliate against him if he learned that M.D. was

   cooperating with the government's investigation.

          28.   On October 22, 2018, I participated in an interview of

   B.H., GBUS's former Director of Operations.      B.H. provided the

   following information:

                a.   From early 2014 to early 2016, B.H. worked at

   GBUS as its Director of Operations.      T.M. recruited B.H. for the

   position because they had previously worked together at Cascade.

   B.H. met with T.M. and AVENATTI before accepting the position.

                b.   As Director of Operations, B.H. was responsible

   for overseeing the district managers, dealing with store-related

   issues, and dealing with IMSA-related issues.         The individual

   store managers reported to the district managers, and the

   district managers reported to B.H.      B.H. said 90 percent of

   their focus was on reaching the stores' revenue goals.




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               c.    B.H. knew AVENATTI as the owner and head of GBUS.

   AVENATTI's role at GBUS was to make major decisions, such as

   decisions regarding finances and lease agreements.

               d.    B.H. was aware that AVENATTI was a lawyer.

   B.H.'s legal experience with AVENATTI related to a dispute

   between GBUS and Green Mountain.       B.H. said that if there was a

   legal issue, AVENATTI handled it.      B.H. had no knowledge of

   AVENATTI's law firm doing any work for GBUS.

               e.    B.H. said payroll time was stressful at GBUS

   because cash was always tight.     B.H. heard rumors around the

   office that GBUS was not paying payroll taxes.        B.H. thought he

   heard these rumors from T.M., M.B., and M.D. when he discussed

   the need to pay bonuses to GBUS's district managers.         B.H. said

   he did not have first-hand knowledge of GBUS not paying taxes,

   but stated that not paying taxes went into the "barrel of bad,"

   and believed that AVENATTI would have been aware of such issues.

               f.    The Tully's stores at Boeing facilities were a

   very important part of business for GBUS.       AVENATTI was aware of

   this.     B.H. dealt with the paperwork for the GBUS stores at

   Boeing.    B.H. had never heard of the name GB Hospitality, which

   was the name AVENATTI used on the Boeing contract in November

   2016 (see 9[ 39.d).    The only name B.H. was aware of was GBUS.

                g.   B.H. spoke with AVENATTI about once or twice a

   month, and saw AVENATTI once a month at most.         Most of B.H.'s

   conversations with AVENATTI related to the IMSA sponsorship.

   B.H. said he never understood why AVENATTI wanted to have GBUS

   at IMSA when GBUS already had enough problems.        B.H. felt that




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   GBUS was losing money on the IMSA sponsorship, and said that

   AVENATTI could have been using the money he spent on IMSA on

   coffee supply.

               h.   B.H. said he left GBUS because AVENATTI did not

   follow through on the future plans for GBUS.      AVENATTI did not

   reinvest into the company and the stores were failing.          B.H.

   said there was a ~~steady bleeding" of GBUS and AVENATTI placed

  "band aids" on it.     The big reason B.H. decided to work for GBUS

   was AVENATTI's promise of growing the business, but this never

   happened.   B.H. assumed T.M. left for similar reasons.

               i.   GBUS stored its corporate records on a server

   hosted by Amazon Web Services (~~AWS").

               j.   B.H. would call REGNIER to schedule things with

   AVENATTI.

        29.    On October 22, 2018, I participated in an interview

   with V.S.    V.S. provided the following information:

               a.   V.S. started working at Tully's Coffee Inc. in

   2003 or 2004.    He worked for Tully's Coffee Inc., TC Global, and

   then eventually GBUS.    He resigned from GBUS on September 18,

   2018.   V.S. stopped working for GBUS because his paycheck

   bounced.

               b.   V.S. became the Assistant Controller when GBUS

   bought out TC Global.    V.S. then became the Controller when M.B.

   left GBUS in 2015 or 2016.

               c.   V.S. knew AVENATTI to be the owner and operator

   of GBUS.    AVENATTI was the CEO, and T.M. was the CFO.




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              d.     When he was Assistant Controller, V.S. reported

   to M.B.   For financial decisions, M.B. reported to T.M., who in

   turn reported to AVENATTI.     AVENATTI was T.M.'s boss.

              e.     V.S. said that AVENATTI was not physically

   present at GBUS's corporate office, but was actively involved in

   operating the company.     T.M. would relay messages to AVENATTI

   regarding the day-to-day operations of the company.

              f.     After T.M. left GBUS, AVENATTI communicated with

   M.B. and B.H. regarding GBUS's day-to-day operations.         Once M.B.

   left, V.S. reported directly to AVENATTI, who was effectively

   the head of the financial department.      V.S. communicated with

   AVENATTI by email 90 percent of the time and by phone 10 percent

   of the time.      AVENATTI used his EA LLP email address, rather

   than his GBUS email address.

              g.      When T.M. left GBUS, he received bonus and

   severance pay from GBUS.     AVENATTI authorized those payments,

   and REGNIER handled the wire transfers.      V.S. saw the wires on

   the bank account records, but did not have wiring authority for

   GBUS's bank accounts.

              h.      V.S. would email AVENATTI cash reports daily.

   V.S. said that the accounts payable department wanted bills to

   be paid weekly, but there was never enough money to pay all of

   the bills.

                i.    AVENATTI moved money in and out of GBUS bank

   accounts on a regular basis.      This happened from the beginning

   of GBUS's operations.      V.S. had access to GBUS's bank account




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   records.    V.S. saw the movement of funds when he would do the

   bank account reconciliations for GBUS.

               j.   V.S. said he reported to AVENATTI because

   AVENATTI was the CEO and owner of GBUS.      V.S.'s primary

   discussions with AVENATTI were about what bills to pay and what

   was in the bank account.    V.S. said he often could not tell how

   much money was in the bank accounts because money moved in and

   out frequently.

               k.    V.S. said he asked AVENATTI for supporting

   documents for some bank account activities once or twice.

   AVENATTI's response was that he was the CEO and owner, and that

   he makes the final decisions.

               1.    V.S. described the accounts payable process.

   V.S. said that the invoices were entered into the accounting

   system.    A list of invoices that were due soon was sent to

   AVENATTI.    AVENATTI would then decide which invoices were to be

   paid and which invoices were to have their payments held off.

   AVENATTI would tell S.F. to cut a check for the invoice payments

   he approved.     For the invoices AVENATTI did not approve, V.S.

   would wait another week and then bring the invoices up to

   AVENATTI again.     If payment of the outstanding invoices became

   more imperative, V.S. would bring the issue to AVENATTI's

   attention more quickly.     V.S. said he knew what invoices needed

   to be paid, but still needed AVENATTI's approval to pay the

   invoices.

               m.    Ceridian handled the payroll for GBUS.       Ceridian

   was also responsible for paying the payroll tax withholdings on



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   behalf of GBUS.    In approximately 2015 or 2016, however, GBUS

   had Ceridian stop paying the payroll tax withholdings.         V.S. did

   not know why this change occurred.

              n.     V.S. said that GBUS did not pay the payroll tax

   withholdings.     Ceridian would calculate the payroll

   withholdings, and M.E. would book the accounting entry in

   Microsoft Dynamics Nav, GBUS's accounting software.        M.E. would

   email AVENATTI, with a copy to V.S., the amount needed to pay

   the payroll tax withholdings.      AVENATTI would respond by saying

   that he would take care of it.      V.S. said that AVENATTI knew

   that the payroll tax withholdings were not being paid to the IRS

   before RO 1 first showed up to GBUS's corporate office in

   October 2016.     V.S. said AVENATTI made the decision not to pay

   the payroll tax withholdings and no one else at GBUS could have

   made that decision.

              o.     V.S. said that the State of Washington also

   contacted GBUS and AVENATTI regarding GBUS's failure to pay

   state tax withholdings.

              p.     IRS notices and levies were received at GBUS's

   corporate office, and then emailed to AVENATTI.        V.S. said that

   AVENATTI did not respond to the IRS notices or the levies.

   Initially, the IRS notices and levies GBUS received were sent to

   AVENATTI only, but later the IRS notices and levies were sent to

   AVENATTI and REGNIER.

              q.     V.S. said that AVENATTI knew what was levied

   because the bank made notations of what money was levied on the
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   bank account statements.20    V.S. also emailed AVENATTI daily cash

   reports that included the levy notations.

                r.   After GBUS's bank account at KeyBank was levied,

   AVENATTI told M.G. to hold cash deposits at the stores.          The

   cash deposits were collected, brought to the office to be

   counted, and then deposited to a different bank account with a

   different account name.     M.G. would forward a copy of the

   deposit slips to AVENATTI.     This made V.S. feel uncomfortable

   because he thought it was being done to avoid the levies.          V.S.

   discussed this with M.G., who eventually stopped collecting and

   depositing cash for GBUS.

               s.    V.S. had never heard of GB Hospitality except

   seeing it on the November 2016 contract with Boeing.         V.S. had

   been given a copy of the contract.     There were not separate

   books and records for GB Hospitality, and V.S. did not think GB

   Hospitality was registered.     The revenue from the Boeing stores

   was transferred into a GBUS account, and not to a GB Hospitality

   account.

                t.   GBUS had to make quarterly commission payments to

   Boeing.     V.S. said that some of the commission payments were

   late.     M.G. told V.S. that AVENATTI justified the late payment

   b y saying that the wire transfer had been lost, but V.S. did not

   see a wire out of the GBUS accounts' payable account that

   corresponded to when AVENATTI had said the wire to Boeing had

   been lost.


        20 I have reviewed bank records for GBUS's bank accounts at
   CB&T and KeyBank, and confirmed that the monthly account
   statements referenced the IRS levies.


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               u.   V.S. was aware that there were different company

   names for Global Baristas on contracts, but V.S. did not want to

   question AVENATTI about the different company names.         One of the

   reasons V.S. thought there were different company names listed

  for Global Baristas on contracts was to avoid liens and levies.

               v.   In September or early-October 2017, GBUS changed

   its merchant IDs for its merchant accounts with TSYS.         The

   change was made at AVENATTI's direction.      AVENATTI wanted to

   make the change fast, and dealt directly with a representative

   from TSYS (~~TSYS Rep. 1") to make the change.

               w.   V.S. reviewed an October 2, 2017, email from TSYS

   Rep. 1 to V.S. in which TSYS Rep. 1 wrote the following:

        Michael Avenatti called me on Friday. The accounts
        should be under Global Baristas LLC, not Global
        Baristas "US" LLC. We have to make changes as the IRS
        with [sic] withholding funds. Michael has asked that
        I rush this as much as possible.

   After reviewing this email, V.S. said that AVENATTI had

  instructed V.S. to give him TSYS Rep. 1's contact number.            V.S.

   also said that AVENATTI knew the purpose of the change was to

   avoid the IRS liens and levies.     V.S. said that changing the

   merchant IDs was a big deal because every store had to be

   changed.   The new merchant IDs was also associated with a

   different bank account.

               x.   V.S. said that TSYS later dropped GBUS as a

   client, at which point GBUS changed its merchant accounts from

   TSYS to Chase.    V.S. reviewed the Chase merchant account

   application, which listed Doppio Inc. as the parent company of

   GB LLC.    V.S. did not know the purpose of Doppio, did not



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   believe Doppio owned GBUS, and said that GBUS had never done any

   work for Doppio.

              y.     V.S. knew that AVENATTI was a lawyer and owned EA

   LLP.   V.S. never saw AVENATTI as the General Counsel of GBUS.

   He only heard from reports in the media that AVENATTI was the

   General Counsel for GBUS.21

              z.     AVENATTI's salary at GBUS was approximately

   $250,000 a year, and it was the highest salary at GBUS.

   AVENATTI was paid this salary as the CEO of GBUS.         AVENATTI was

   not paid as a lawyer.     The money that AVENATTI was transferring

   in and out of GBUS's bank account was not compensation to

   AVENATTI or his law firm.     Some money went to EA LLP, but GBUS

   never received an invoice from EA LLP.      V.S. believed that there

   was more outflow than inflow of cash from EA LLP into GBUS's

   bank account.

              aa.    V.S. remembered a $100,000 wire being sent to EA

   LLP in March 2017.     V.S. said that REGNIER sent the wire from

   GBUS's bank account to EA LLP.     Based on my review of EA LLP's

   bank account records, I know that AVENATTI used the proceeds of

   this $100,000 wire transfer to pay EA LLP's lawyers in

   connection with the EA LLP bankruptcy.

              bb.     V.S said that the last Tully's stores closed in

   March 2018.      After that, there was no work to be done.      V.S. was

   waiting to find out what the next plan of action would be for


        21 After the Clifford lawsuit was filed, a number of press
   articles regarding AVENATTI and GBUS appeared. In some of these
   articles, AVENATTI or a GBUS spokesperson were quoted as saying
   that AVENATTI no longer owned GBUS and was only acting as its
   General Counsel.


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   GBUS, but never heard from GBUS.     M.E. emailed AVENATTI to ask

   him to lay off the remaining GBUS employees after the last

   Tully's stores closed, but never heard back from AVENATTI.            As a

   result, M.E. kept the remaining employees on payroll.           GBUS's

   payroll continued to be funded until September 2018, at which

   point V.S. and the remaining employees' checks bounced.

              cc.   GBUS's accounting records were stored in the

   cloud.   In April or May 2017, V.S. asked A.G. to back up GBUS's

   accounting data from the cloud because 2nd Watch (the company

   that managed GBUS's cloud-based server from AWS) was

   discontinuing GBUS's services.                .

        30.   On September 25, 2018, I participated in an interview

   with M.E., GBUS's former Human Resources Director.          M.E.

   provided the following information:

              a.    M.E. started working for Tully's (i.e., TC

   Global) in 2009 as a temporary employee.          M.E. became the human

   resources coordinator in 2010 and the payroll coordinator at the

   end of 2013.     M.E. was promoted to Human Resources Director in

   April 2016 after M.D. left GBUS.        M.E. resigned from GBUS in

   September 2018 after her payroll paycheck bounced.

              b.     AVENATTI was the owner and manager of GBUS.         At

   one point, AVENATTI said he was the Chairman and CEO.           AVENATTI

   received payroll paychecks in his capacity as the CEO of GBUS.

   AVENATTI made $250,000 per year as the CEO and Chairman of GBUS.

              c.     AVENATTI was the final decision maker for GBUS.

   M.E. would copy REGNIER on emails to AVENATTI to make sure that




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   AVENATTI saw the emails.    M.E. emailed payroll figures to

   AVENATTI every other week.

              d.   M.E. said that S.F. and V.S. would send AVENATTI

   emails regarding accounts payable, and AVENATTI would tell them

   what they could or could not pay.

              e.   M.E. never heard AVENATTI refer to himself as the

   General Counsel of GBUS.     M.E. never dealt with AVENATTI as the

   company's lawyer.    M.E. said that GBUS was AVENATTI's company

   and that AVENATTI happened to be a lawyer.      M.E. read in the

   newspaper that AVENATTI said he was the General Counsel of GBUS,

   but not the owner.    When M.E. read that statement, she laughed

   in disbelief.   No one at GBUS knew or was aware of AVENATTI

   being GBUS's General Counsel.

              f.   M.E. once dealt with AVENATTI on a tricky

   personnel issue.     M.E., however, said that if AVENATTI had not

   been a lawyer she would have still brought the issue to him in

   his capacity as CEO.     M.E. also believed that AVENATTI may have

   given legal advice regarding employee issues, employee policies,

   and the employee guidebook for GBUS.      M.E. was not aware of

   AVENATTI handling any other legal issues for GBUS.

              g.    M.E. knew that GBUS had not been paying its

   payroll taxes to the IRS.     M.E. said that AVENATTI did not pay

   the payroll withholdings, but still withheld taxes from the

   employees' payroll checks.

              h.    M.D. told M.E. that Ceridian stopped paying the

   payroll withholdings because GBUS did not have the funds to pay

   the withholdings.     M.E. thought that M.D. was preparing the



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   federal payroll tax returns, but not filing them.        M.E. said

   that M.D. believed that payroll tax returns could not be filed

   without paying the tax liabilities.

               i.   M.E. found out later that GBUS's federal payroll

   tax returns for the third-quarter of 2015 and subsequent

   quarters had not been filed with the IRS.      AVENATTI asked M.E.

   to sign and file the IRS Forms 940 and IRS Forms 941 for 2015

   and 2016.    M.E. did not feel comfortable doing so and thought

   there might be negative implications for her, but signed the

   returns because she did not think she was responsible for them.

   M.E. sent AVENATTI the returns at the same time as she filed

   them with the IRS.    There were no payments made with the

   returns.    M.E. informed the accounting team, V.S. and S.F., of

   the amounts of payroll taxes owed.

               j.   M.E. learned from M.D. and V.S. that M.B. sent

   AVENATTI an email explaining to him the consequences of GBUS not

   paying its payroll taxes.

               k.   M.E. spoke with REGNIER twice on the phone in

   2017 when she filed GBUS's IRS Forms 940 and IRS Forms 941s with

   the IRS.    M.E. said that REGNIER knew how to file the forms

   online, but REGNIER wanted to mail the forms instead.          AVENATTI

   instructed M.E. to sign the forms.

               1.   M.E. was interviewed by RO 1 in November 2017.

   M.E. spoke to AVENATTI a few days later, and told AVENATTI

   everything that she had told RO 1.       When M.E. told AVENATTI that

   she had told RO 1 that AVENATTI instructed her not to file the

   tax returns, AVENATTI was shocked.       M.E. then reminded AVENATTI



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   that he had sent her an email telling her not to file the tax

   returns.

               m.   M.G. told M.E. that the merchant accounts had

   changed, but M.G. did not understand why the change had been

   made.

               n.   V.S. told M.E. that AVENATTI had instructed him

   to change the bank account for GBUS.

               o.   M.E. took part in collecting cash deposits from

   the Tully's stores.    M.E. would help M.G. count the cash that

   had been collected.    Store managers were told to hold all the

   cash from the stores, and then the GBUS's district managers were

   supposed to collect the cash.     This occurred in late 2017 or

   early 2018 when the Tully's stores were being closed down.           M.G.

   told M.E. that the directive to hold the cash deposits came from

   AVENATTI.    M.E. also said that the IRS liens were common

   knowledge throughout GBUS when the stores were holding the cash

   deposits.

               p.   When the last Tully's stores closed in

   approximately March 2018, M.E. emailed AVENATTI to ask him what

   the next step was.    AVENATTI did not respond.       M.E. did not

   understand why employees were still being paid until September

   2018 or why GBUS was still operating after the stores closed.

   M.E. wasn't doing much for GBUS during this time period other

   than processing unemployment claims and payroll.         M.E. was on

   ~~autopilot" and was just processing the payroll every week.

   This continued until September 2018, when her last paycheck from




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   GBUS bounced.     M.E. did not know how AVENATTI was paying for

   payroll after the stores closed.

        31.    On September 26, 2018, I participated in an interview

   of M.G., GBUS's former Director of Retail Operations.        M.G.

   provided the following information:

                a.   M.G. started working at Tully's as a barista in

   2004 and became a store manager in 2005.      In approximately 2012,

   M.G. became a District Manager and was responsible for the

   Tully's stores at Boeing facilities.      In March 2016, M.G. became

   the Director of Retail Operations.      M.G. resigned her position

   at GBUS in April 2018, after the last of the Tul1y's stores

   closed.     M.G.'s sister, S.F., also worked for GBUS.

                b.   AVENATTI was the owner, CEO, and Chairman of

   GBUS.     As the Director of Retail Operations, M.G. reported to

   AVENATTI.

                c.   M.G. never heard AVENATTI referred to as the

   General Counsel for GBUS, and did not consider AVENATTI to be

   GBUS's General Counsel.     M.G.'s interactions with AVENATTI

   involved standard business decisions, and were not legal

   discussions.      M.G. was also unaware of AVENATTI's law firm being

   hired to represent GBUS.     M.G. said that she asked AVENATTI for

   legal advice regarding eviction notices, legal documents, and

   the firing of a store manager on one occasion.       She discussed

   these issues with AVENATTI because he was the owner of the

   company, not because she considered him to be GBUS's General

   Counsel.




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              d.    GBUS was the operating company for the Tully's

   stores, and GB LLC was GBUS's parent company.

              e.    Ceridian handled the payroll for GBUS.        M.E. told

   M.G. that Ceridian also handled the payment of payroll taxes

   until there was not enough money in GBUS's accounts to make the

   tax payments.    At that point, GBUS was responsible for paying

   its payroll taxes itself.

              f.    M.G. had heard that GBUS was not paying its

   payroll taxes.    M.G. believes that B.H. told her that GBUS's

   payroll taxes were not being paid.       M.G. also saw an email from

   M.B. that warned AVENATTI about the consequences of not paying

   taxes.   M.G. believes that B.H. was copied on this email and

   that she saw it because she had access to B.H.'s emails after he

   left GBUS in 2016.

              g.    In connection with discussions to renew a lease

   for GBUS's training facility in 2016, M.G. forwarded an email to

   AVENATTI about an IRS lien relating to unpaid taxes.          M.G. told

   AVENATTI that these things needed to be addressed to move

   forward.   AVENATTI asked her how she learned about the lien,

   told her that it had nothing to do with GBUS's revenues, and

   said it was not her concern.

              h.    M.G. spoke with M.E. and V.S. about AVENATTI not

   paying the payroll taxes and withholdings.        M.G. felt that

   AVENATTI's actions were questionable, and that she needed to

   make sure she would not be held personally responsible.          M.G.

   was worried that it would be her word against AVENATTI's word,

   so she backed up her work files on her personal laptop in case



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   she needed them for proof down the road.      As noted in paragraph

   79 below, I understand that these records are contained on

   SUBJECT DEVICE 3.

              i.   Around September 2017, either AVENATTI or REGNIER

   told M.G. that the Tully's stores could no longer make deposits

   into GBUS's KeyBank account because there was a lien on the

   account and the money would be gone.      M.G. was instructed to

   tell the Tully's stores to hold all of their cash deposits.

   AVENATTI later instructed M.G. to deposit the cash from Tully's

   stores into GB Auto's account at BofA.      M.G. said that AVENATTI

   texted her GB Auto's bank account information and instructed her

   to text him a picture of the deposit slip whenever she made a

   cash deposit.

              j.   On or about September 7, 2017, M.G. sent AVENATTI

   a text message with a picture of the deposit slip for the first

   deposit she made to the GB Auto account.      M.G. continued to send

   AVENATTI a picture of the deposit slip whenever she made a cash

   deposit into the GB Auto account.     M.G. would give the physical

   copy of the deposit slip to V.S.     M.G. said that the last

   deposit was made in December 2017, at which point she told

   AVENATTI that she was not going to make any more cash deposits

   into the GB Auto account.     After this, the Tully's stores began

   depositing cash into a KeyBank account again.

              k.   M.G. was shown a spreadsheet detailing

   approximately 27 cash deposits made into GB Auto BofA Account

   7412 between September 2017 and December 2017, totaling
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   approximately $882,884.    M.G. confirmed that these were the cash

   deposits she made at AVENATTI's direction.

              1.   M.G. said that she was aware of the IRS liens and

   GBUS's non-payment of payroll taxes and withholdings when she

   made the first cash deposit into GB Auto BofA Account 7412.

              m.   M.G. was asked about the change in the merchant

   accounts for the Tully's stores.       M.G. said that GBUS's merchant

   accounts were initially with TSYS.       When TSYS eventually

   terminated its agreement with GBUS, GBUS switched its merchant

   accounts to Chase.    M.G. understood that the change in the

   merchant IDs for the TSYS merchant account was made at

   AVENATTI's direction.    M.G. said nobody at GBUS other than

   AVENATTI could make that type of decision.      V.S. told M.G. that

   the change in the merchant IDs for the TSYS account was done

   because of the liens on the account.

              n.   M.G. was responsible for overseeing the Tully's

   stores at Boeing facilities.     The Boeing stores were GBUS's most

   profitable stores.

              o.   M.G. was shown a redlined draft of the November

   2016 contract with Boeing in which the name of the contracting

   party had been changed from GBUS to GB Hospitality.         M.G. said

   that AVENATTI handled the Boeing contract.      When M.G. asked

   AVENATTI about this change, he told her not to worry about it.

   M.G. and V.S. looked to see if GB Hospitality was a Global

   Baristas subsidiary, but couldn't find a record of it anywhere.

   The Boeing contract was only time M.G. ever saw the name GB

   Hospitality.



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              p.     The Boeing contact was cancelled in September

   2017.   M.G. understood that the contract was cancelled because

   GBUS had not paid Boeing the commissions GBUS owed.        In

   connection with the cancellation of the contract, GBUS agreed to

   sell certain equipment to Boeing as payment for the unpaid

   commissions GBUS owed Boeing.      Separately, GBUS agreed to sell

   two coffee kiosks to Boeing.      M.G. was shown redline drafts of

   the two bills of sale for these transactions, in which the name

   GB Hospitality had been replaced with GB LLC.        M.G. did not know

   who made that change.     M.G. had received copies of the two bills

   of sale from Boeing and shared them with V.S.

              q.     GBUS was evicted from its corporate headquarters

   in Seattle, Washington, in November 2017.       All of GBUS's

   business records stayed at the corporate office when GBUS was

   evicted.   AVENATTI said he would deal with getting the business

   records back.z2

              r.     M.G. told AVENATTI about the summons she received

   from RO 1 in November 2017 and sent him a copy of the summons.

   AVENATTI called M.G. and asked her if she went to the hearing to

   which she had been summonsed, what documents she brought to the

   hearing, and what was said in the hearing.       When M.G. told

   AVENATTI she brought documents regarding the change in GBUS's

   bank accounts, AVENATTI was livid.      AVENATTI told her that she




        22 Based on my discussions with representatives from Unico,
   which served as the property manager for GBUS's corporate
   offices, I learned that GBUS's property, including any remaining
   business records, were abandoned and either sold at auction or
   destroyed.


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   should not have given the records to RO 1, and should have

   instead sent them to AVENATTI.

              s.    As of January 2018, it was getting more difficult

   to get answers from AVENATTI.     M.G. began copying REGNIER on

   emails because AVENATTI was passing GBUS matters on to REGNIER.

              t.    M.G. was aware that in March 2018 AVENATTI made

   statements to the press indicating that he was not the owner of

   GBUS.    M.G.'s understanding was that AVENATTI had always been

   GBUS's owner and believed these statements to be false.          On

   March 8, 2018, M.G. sent AVENATTI a text message confronting

   him.    M.G. asked AVENATTI if he was not the owner of GBUS, then

   who should she go to for GBUS business decisions.        AVENATTI

   responded that everything still went through him and that M.G.

   should discuss all matters with him.

               u.   Sometime after the Tully's stores closed in March

   2018, AVENATTI called M.G. and yelled at her because a store

   manager had released confidential information to the press.

   AVENATTI told M.G., ~~I will fucking destroy him."        AVENATTI also

   said that if he was willing to sue the President then he was

   willing to sue an employee.     After that conversation, M.G. felt

   that AVENATTI was no longer responsive to GBUS employees.

               v.   During her interview, M.G. consented to have the

   IRS retrieve text messages between her and five specific

   contacts that were stored on her personal cell phone, including

   all text messages between her and AVENATTI.      IRS SA John Medunic

   captured images of the text messages, returned the phone to

   M.G., and then mailed a copy of the images to the Privilege



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   Review Team AUSA assigned to this investigation.        I understand

   that a privilege review of the text messages is ongoing.

        32.   On or about September 25, 2018, I participated in an

   interview of S.F., GBUS's former Accounts Manager.         S.F.

   provided the following information:

              a.    S.F started working for Tully's in 2008, but

   eventually resigned due to health reasons.       In December 2013,

   S.F. returned to work for GBUS as an assistant store manager.

   In October 2015, S.F. became the office manager at GBUS's

   corporate headquarters.     In September 2016, she was promoted to

   Accounts Manager and Franchise License Business Manager.          S.F.

   resigned in September 2018, after her last paycheck bounced.

   S.F.'s sister, M.G., also worked at GBUS.

              b.    S.F.'s role as Accounts Manager was to enter

   vendor invoices into GBUS's accounts payable system.         Most

   invoices for GBUS went through S.F.      S.F. had little involvement

   with account receivables.

              c.    S.F. understood that AVENATTI was the CEO and

   owner of GBUS.    AVENATTI operated GBUS from EA LLP's office in

   Newport Beach, California.     S.F. used AVENATTI's EA LLP email

   address to communicate with him.       S.F. only met AVENATTI once

   and did not speak to him frequently.

              d.    S.F. never saw AVENATTI act as the General

   Counsel for GBUS.    S.F. also did not prepare any payments to

   AVENATTI's law firm.    The first time S.F. heard AVENATTI

   referred to as General Counsel was in connection with statements

   AVENATTI made to the press in 2018.



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              e.    M.G. told S.F. that GBUS was not paying its

   payroll taxes.    S.F. recalled seeing a detailed email to

   AVENATTI explaining the consequences of GBUS not paying its

   payroll taxes.

              f.    S.F. recalled RO 1 visiting GBUS's corporate

   offices in the fall of 2017.     RO 1 gave S.F. a letter during his

   visit.   S.F. remembered that the letter referenced a possible

   criminal prosecution.    S.F. said that she either scanned the

   letter and emailed it to AVENATTI or typed out its contents in

   an email to AVENATTI.    S.F. spoke to AVENATTI later that day.

   AVENATTI seemed rattled and concerned.      AVENATTI asked what RO 1

   wanted, what RO 1 had asked, what S.F. told RO 1, and whether RO

   1 came with other people.     At the end of the conversation,

   AVENATTI thanked her for letting him know about the visit, and

   asked her to keep the situation between the two of them.

              g.    S.F. was aware of the IRS levies on the GBUS bank

   accounts because she had access to GBUS bank account

   information.     S.F. said that the State of Washington had also

   placed levies on GBUS's bank accounts at one point.

              h.    REGNIER worked at EA LLP, and was AVENATTI's

   paralegal and assistant.     S.F. said the best way to get a hold

   of AVENATTI was through REGNIER.

              i.     When GBUS received IRS notices, S.F. scanned and

   emailed the notices to AVENATTI and REGNIER.

              j.     S.F. was aware that AVENATTI told M.G. to collect

   the cash deposits from the Tully's stores and deposit the cash

   into a bank account held in the name of GB Auto.



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              k.    S.F. was aware that GBUS had changed its merchant

   accounts with TSYS.    The company associated with the TSYS

   merchant accounts was changed from GBUS to GB LLC.         S.F. assumed

   this was done to avoid liens.     Later, GBUS switched its merchant

   accounts from TSYS to Chase.

              1.    S.F. heard from V.S. that AVENATTI was

   withdrawing money from GBUS's bank account.

              m.    In November 2017, GBUS was evicted from its

   corporate offices in Seattle, Washington.      The locks were

   changed and GBUS did not have an opportunity to move out of the

   office.

              n.    GBUS used Microsoft Dynamics NAV for its

   accounting software.    The information was stored in an AWS

   cloud-based server through a company called 2nd Watch.          In

   approximately May 2018, GBUS lost access to its cloud-based

   server.

        33.   On November 14, 2018, I participated in an interview

   of B.C., who previously worked in GBUS's accounting department.

   B.C. provided the following information:

              a.    B.C. started working for TC Global/Tully's in

   2011 or 2012 as a contractor setting up its point-of-sales

   ("POS") system.    After GBUS took over Tully's stores, T.M. asked

   B.C. to come back and help with other projects.        B.C. worked

   part-time (20 to 25 hours a week) for GBUS until September 2018

   when her final paycheck bounced.      B.C. primarily worked remotely

   from her home.
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               b.   B.C.'s primary role at GBUS was to pull reports

   for month end sales and book them into the correct accounting

   entries.    B.C. pulled credit-card-sales data, tax-sales data,

   and reports from the POS system, then inputted this data into

   the general ledger.    At the end of the month, she reconciled

   cash to sales figures.    B.C. reported to M.B. until M.B.

   resigned.    After M.B. resigned, she reported to V.S.

               c.   AVENATTI was GBUS's CEO.    AVENATTI appointed T.M.

   as the CFO and C00.    M.B. was GBUS's Controller.      B.C.

   understood from M.B. that AVENATTI was very involved in the

   financial aspects of GBUS, and approved payments and contracts

   for GBUS.

               d.   B.C. did not consider AVENATTI to be GBUS's

   lawyer.

               e.   B.C. had seen AVENATTI before, but had never been

   introduced to him.    She never had a direct conversation with

   him.   Although she had been copied on emails to or from

   AVENATTI, she never had direct email communications with

   AVENATTI.

               f.   GBUS changed the location of its bank accounts

   from HomeStreet to CB&T.     Cash deposits were made at KeyBank

   while GBUS was banking with CB&T.       B.C. did not have direct

   access to bank reports from CB&T, and would instead receive the

   reports from M.B. or V.S.     B.C. had access to the KeyBank

   account, and would pull reports from the KeyBank account to do

   the cash reconciliation.




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              g.    GBUS used Ceridian for payroll services.

   Ceridian used to handle the payroll taxes for GBUS, but later

   GBUS handled the payroll taxes on its own.

              h.    B.C. knew that GBUS was not paying its payroll

   taxes.   B.C. knew there were levies on all of the GBUS bank

   accounts because she reconciled the bank accounts.         V.S. told

   B.C. what the levies were for, but did x~ot go into great detail.

   V.S. told B.C. that GBUS owed the IRS millions of dollars, that

   AVENATTI was aware of this, and that AVENATTI had decided not to

   pay the IRS.

              i.    B.C. said that anything and everything was sent

   to AVENATTI.    AVENATTI made all of the decisions for GBUS and no

   other employees had authority to make decisions.        AVENATTI

   approved all account payable checks, and all GBUS checks had

   AVENATTI's signature.

              j.    In 2015, GBUS switched its merchant accounts from

   Heartland to TSYS.    TSYS Rep. 1 was GBUS's sales representative

   at TSYS.

              k.    B.C. was asked about an email TSYS Rep. 1 sent

   her on October 2, 2017 in which TSYS Rep. 1 said:

         Michael Avenatti called me on Friday. The accounts
         should be under Global Baristas LLC, not Global
         Baristas ~~US" LLC. We have to make changes as the IRS
         with [sic] withholding funds.

   B.C. explained that if the merchant IDs were changed, then the

   credit card terminals at each Tully's store would need to be

   reprogrammed.    B.C. did not understand why AVENATTI would want

   to make this change.    TSYS Rep. 1 told B.C. that AVENATTI had




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   claimed that the merchant IDs were supposed to be under GB LLC's

   name and EIN, rather than GBUS's name and EIN.        AVENATTI had

   called TSYS Rep. 1 and authorized the name change.         B.C.

   believed this change was made to alter the banking deposits and

   avoid the IRS levies, which were occurring at the same time.

              1.   TSYS Rep. 1 provided B.C. with the paperwork to

   fill out for the changes to the merchant accounts.         B.C.

   partially filed out the paperwork and then sent it to REGNIER.

   B.C. was not comfortable filing out the paperwork because the

   change was clearly being made to avoid the levies.         She believed

   that she expressed this concern to V.S. and TSYS Rep. 1 over the

   phone.

              m.   In November 2017, TSYS Rep. 1 called B.C. and

   told her that TSYS was dropping GBUS as a client.         TSYS Rep. 1

   initially offered to help B.C. identify another credit card

   processing company, but was later advised not to communicate

   with her further.    B.C. believes that TSYS dropped GBUS as a

   client because of the merchant account changes to avoid the IRS

   levies.

              n.   B.C. learned from emails between AVENATTI and

   M.G. that the Tully's stores had been instructed to hold cash

   for deposit, and then email the cash deposit amounts.          B.C. was

   on the email chain because she had to enter the cash deposits in

   the general ledger.    The cash deposits were made into a BofA

   account instead of the KeyBank account and then transferred to a

   CB&T account.




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                 o.    B.C. believed the cash deposits were timed.

   AVENATTI instructed when to make the cash deposit, when to

   transfer the funds, and when to sweep the account.         B.C. said

   that these actions were designed to avoid the levies.

                 p.    AVENATTI took money from the KeyBank account

   randomly.      M.B. instructed B.C. on how to record the money

   AVENATTI was transferring in and out of GBUS's bank account in

   GBUS's accounting records.

                 q.    GBUS used Microsoft Dynamics NAV for its

   accounting records.       The accounting data was stored and backed

   up on an AWS cloud-based server.       Eventually, GBUS's AWS cloud

   account was shut down because of non-payment.

          34.    On November 13, 2018, I participated in an interview

   with A.H., who previously worked in GBUS's accounting

   department.        A.H. provided the following information:

                 a.    A.H. worked in the accounting department at GBUS

   from approximately April 2014 to October 2016.        A.H. did basic

   accounting work involving accounts payable and accounts

   receivable.

                 b.    A.H. reported to M.B. and worked with V.S. on a

   daily basis.        After M.B. left GBUS, A.H. reported to V.S.     A.H.

   participated in weekly conference calls with AVENATTI, M.G., and

   V.S.

                 c.    A.H. was aware from discussions she had or

   overheard in the office that GBUS was not paying its payroll

   taxes.       M.B. told her she was leaving GBUS because AVENATTI was

   not paying GBUS's payroll taxes.
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               d.   A.H. recalled telling AVENATTI that GBUS had

   received another IRS letter.     GBUS employees would ask AVENATTI

   to get on a payment plan with the IRS, but AVENATTI would say

   no.   AVENATTI would say that he was negotiating with the IRS and

   taking care of it.

               e.   A.H. dealt with vendors who were waiting for

   payments.    GBUS was frequently late paying its vendors.        A.H.

   said that AVENATTI was well aware of what was owed to vendors,

   as well as what was owed to the IRS.

               f.   A.H. recalls telling AVENATTI that A.H. could not

   pay vendors because AVENATTI had pulled money out of the GBUS

   bank account.    AVENATTI responded by saying it was his money.

   AVENATTI always made it clear that he was the boss and it was

   his company.     GBUS could not pay bills without AVENATTI's

   approval, and he approved all vendor payments.

               g.   A.H. said that AVENATTI never wanted anything in

   writing.    AVENATTI would not respond by email, but would instead

   either call or email back saying ~~call me."

         35.   On October 25, 2018, I participated in an interview

   with A.G., GBUS's former Information Technology (~~IT") Manager.

   A.G. provided the following information:

               a.    A.G. started working for Tully's (TC Global)

   before GBUS took over operations.       A.G. was a System Engineer

   and then took over as IT Manager.       He stopped working for GBUS

    when his last paycheck bounced in September 2018.




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              b.    A.G. understood AVENATTI to be the owner and CEO

   of GBUS.   A.G. never heard of AVENATTI being GBUS's General

   Counsel and never had any legal discussions with him.

              c.    A.G. said that AVENATTI approved the expenses at

   GBUS.

              d.    A.G. heard that GBUS changed its bank accounts to

   avoid IRS levies.    A.G. also heard that GBUS owed a lot of taxes

   and was getting IRS notices.

              e.    A.G. knew that M.G. picked up cash deposit bags

   from the Tully's stores and counted the cash at the corporate

   office.    M.G. eventually told AVENATTI that she did not want to

   do that anymore.

              f.    In April or May 2018, AVENATTI told A.G. that, if

   A.G. was ever approached by the IRS, A.G. should contact

   AVENATTI first.

               g.    AVENATTI had a GBUS email address, but instead

   used his law firm email account for GBUS business.

               h.    GBUS's corporate computer system was setup on a

   h ybrid environment through a managed cloud service called 2nd

   Watch.23   2nd Watch managed GBUS's desktop operating system and

   server.    GBUS's desktop operating system used a cloud computing

   service called Microsoft Azure that included programs like

   Microsoft Office Online 365.     GBUS used a cloud-based server




        23 Based on documents received from 2nd Watch and a
   preliminary review of GBUS bank records, it appears that GBUS
   paid 2nd Watch on a monthly basis throughout the life of the
   contract. The contract with 2nd Watch was, however, entered
   into by "Tully's Coffee."


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   called Amazon Elastic Compute Cloud (Amazon EC2) that stored its

   data in the AWS cloud.

                i.   A.G. showed the interviewers an email he sent to

   AVENATTI on April 5, 2018.     In the email, A.G. told AVENATTI

   that 2nd Watch had turned off GBUS's server access to AWS and

   that GBUS was without functioning email.      A.G. had begged

   AVENATTI to keep paying 2nd Watch for the cloud services.

   AVENATTI initially paid for the services, but he later stopped.

                j.   J.S., an IT contractor, made a backup of GBUS's

   data and emails from the AWS cloud-based server before 2nd Watch

   turned off access to the servers.      Based on my discussions with

   A.G., I understand that this data is contained on SUBJECT DEVICE

   5, SUBJECT DEVICE 6, and SUBJECT DEVICE 7.       (See supra 9[4 81-

   82.)

                4.   Infozmation Regarding TSYS Merchant Solutions

          36.   IRS-CI's investigation has revealed that AVENATTI

   attempted to evade the collection of payroll taxes and obstruct

   the IRS collection case by directing TSYS to change the business

   name, EIN, and bank account information for GBUS's merchant

   accounts.

          37.   On November 6, 2018, I participated in an interview

   with TSYS Rep. 1.     Based on my review of documents obtained from

   TSYS and the interview with TSYS Rep. 1, I have learned, among

   other things, the following information:

                a.   On or about June 29, 2015, GBUS entered into a

   Merchant Transaction Processing Agreement with TSYS.          The

   merchant name on the agreement was GBUS, and the agreement was
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   signed by M.B.    The sponsoring bank under the TSYS agreement was

   FNB Omaha.24

               b.   On or about July 10, 2015, AVENATTI signed an ACH

   Agreement with TSYS and provided a blank check for GBUS's CB&T

   operating account ending in 2240 (~~GBUS CB&T Account 2240").

   GBUS CB&T Account 2240 began receiving deposits from TSYS via

   FNB Omaha in or around July 2015.

               c.   On or about August 16, 2017, the IRS issued a

   levy for GBUS's merchant accounts with FNB Omaha.         FNB Omaha

   began withholding funds from GBUS's account by no later than

   September 25, 2017.

               d.   On Friday, September 29, 2017, AVENATTI called

   TSYS Rep. 1.     This was the first time TSYS Rep. 1 had ever

   spoken to AVENATTI, as he primarily dealt with M.B. or B.C.

   TSYS Rep. 1 believes he spoke with AVENATTI multiple times that

   day.   During these calls, AVENATTI told TSYS Rep. 1 that TSYS

   was holding GBUS's money, and that he did not know what was

   going on.    TSYS Rep. 1 told AVENATTI that there were no normal

   holds on the GBUS account.     After AVENATTI mentioned the IRS,

   TSYS Rep. 1 suggested that it could be the result of an IRS

   "1099 hold."     B.V. explained that a "1099 hold" related to a new

   IRS reporting requirement and occurred when there were issues




        z4 TSYS Rep. 1 explained that the sponsoring bank must be a
   registered financial institution and is responsible to Visa and
   Master Card. TSYS processed the credit card transaction data.
   The funds would be paid to FNB Omaha, and then transferred from
   FNB Omaha to the GBUS's bank account, after the fees were paid
   to TSYS.
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   with the company's name or EIN.25     AVENATTI told TSYS Rep. 1 that

   TSYS had made a mistake and placed the accounts under the wrong

   company name.    AVENATTI said that the merchant accounts should

   have been under GB LLC, not GBUS.      AVENATTI told TSYS Rep. 1

   that TSYS needed to get this changed.      AVENATTI never disclosed

   to TSYS Rep. 1 that there was an IRS tax lien on GBUS, that the

   IRS had issued levies on GBUS's bank accounts, or that GBUS had

   outstanding payroll tax obligations.      Rather, AVENATTI suggested

   to TSYS Rep. 1 that he had no idea why TSYS was holding its

   funds.

              e.    TSYS Rep. 1 and AVENATTI also exchanged multiple

   emails on September 29, 2017.     TSYS Rep. 1 asked AVENATTI to

   confirm the `correct tax ID" and provide him with "the exact

   legal name as filed with the IRS."      AVENATTI responded by

   providing TSYS Rep. 1 with GB LLC's name and federal tax ID

   number (EIN)     TSYS Rep. 1 then emailed AVENATTI a list of items

   that would be "needed to perform the change of ownership."           TSYS

   Rep. 1 said that the ~~change in ownership will create new

   merchant accounts under the correct business info."          At

   AVENATTI's direction, V.S. also emailed TSYS Rep. 1 a

   spreadsheet detailing the GBUS funds that were being held by

   TSYS and FNB Omaha.

              f.    On October 2, 2017, TSYS Rep. 1 emailed B.C. and

   V.S. to obtain information he needed to change the merchant

   accounts, which would be a complicated process.         When B.C. asked


         25A call-log received from TSYS shows that on September
   29, 2017, TSYS Rep. 1 called TSYS's client services department
   to check if there was a 1099 hold on GBUS's account.
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   TSYS Rep. 1 what he had been asked to do, TSYS Rep. 1 responded

   as follows:

         Michael Avenatti called me on Friday. The accounts
         should be under Global Baristas LLC, not Global
         Baristas ~~US" LLC. We have to make changes as the IRS
         with [sic] withholding funds. Michael has asked that
         I rush this as much as possible.

               g.   On October 2, 2017, TSYS Rep. 1 emailed AVENATTI

   and V.S. to request the banking information for each Tully's

   store, as well as bank letters for each account.         AVENATTI

   responded that the ~~accounts will likely change."        In a

   subsequent email that day, AVENATTI told TSYS Rep. 1 that ~~ [w]e

   want to do it the same way we have done it in the past.          The

   account number and ownership merely changes."

               h.   Later on October 2, 2017, TSYS Rep. 1 emailed

   AVENATTI and told him there ~~appears to be a bank levy directed

   b y [sic] our Sponsor Bank - First National Bank of Omaha."            TSYS

   Rep. 1 explained to AVENATTI that TSYS does not ~~get any details

   on the levy" and provided AVENATTI with the contact information

   for FNB Omaha.    TSYS Rep. 1 also asked AVENATTI to ~~[1]et me

   know what you find out and if there are any possible

   implications when we set up the new accounts with the correct

   TAX IDs."     During his interview, TSYS Rep. 1 said that he

   believes that he learned of the levy on October 2, 2017.            TSYS

   Rep. 1, however, noted that he did not have any or all of the

   information from FNB Omaha, and AVENATTI was telling TSYS that

   TSYS had made a mistake when it set up the merchant accounts.

               i.    On October 3, 2017, TSYS Rep. 1 emailed AVENATTI

   and V.S. and asked them to send him the bank letters and the



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   signed agreement.    TSYS Rep. 1 also asked AVENATTI again to "let

   me know if you found out anything yesterday with First National

   Bank of Omaha and any possible implications or things needed on

   my end."    This was the second time TSYS Rep. 1 had asked

   AVENATTI that question.     AVENATTI never responded to his

   question or provided TSYS Rep. 1 with any information regarding

   the IRS levies or his discussions with FNB Omaha.

               j.   Later on October 3, 2017, REGNIER emailed TSYS

   Rep. 1 the new Merchant Transaction Processing Agreement, which

   was signed by AVENATTI on behalf of GB LLC in his capacity as

   CEO.   REGNIER also emailed TSYS Rep. 1 a bank letter identifying

   a GB LLC account at CB&T ending in 3730 (~~GB LLC CB&T Account

   3730").    Based on my review of CB&T bank records, I know that GB

   LLC CB&T Account 3730 was a new bank account that AVENATTI and

   REGNIER opened in Orange County, California, earlier that same

   day.   AVENATTI and V.S. were copied on all of the emails REGNIER

   sent TSYS Rep. 1.

               k.   The change in merchant accounts was completed on

   or about October 7, 2017.

              1.    On November 7, 2017, TSYS informed AVENATTI and

   GBUS that it was closing GBUS's and GB LLC's merchant accounts.

   TSYS Rep. 1 understood that TSYS decided to close the merchant

   accounts because GBUS had huge tax liens and levies with the

   IRS.

              m.    TSYS Rep. 1 does not believe that TSYS made a

   mistake or used the incorrect name when it opened the GBUS

   merchant accounts in June 2015, as AVENATTI had claimed.           TSYS
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   Rep. 1 said that when the GBUS merchant accounts were first

   opened there were discussions as to whether the correct legal

   name should be GBUS or GB LLC.

               n.   TSYS Rep. 1 said that had AVENATTI disclosed the

   existence of the IRS liens and levies to him he would have

   raised the issue with TSYS's legal department and risk

   management team.     TSYS Rep. 1 felt that information regarding

   the IRS tax liens and levies would have been highly valuable

   information to TSYS.     Indeed, TSYS ultimately cancelled the GBUS

   contract because of the IRS tax liens and levies.

               5.   Infozmation Regarding The Boeing Company

         38.   The investigation has also revealed that AVENATTI

   attempted to evade the collection of payroll taxes and obstruct

   the IRS collection case by changing the company name on

   contracts with Boeing.     As noted above, GBUS operated a number

   of Tully's stores at Boeing facilities in Washington.          These

   stores were the most profitable part of GBUS's business.

         39.   On October 23, 2018, I participated in interviews with

   three Boeing employees, P.K., C.M, and A.R.G.         P.K. and C.M.

   were both Procurement Agents at Boeing, and A.R.G. was a Senior

    Counsel in Boeing's legal department.      Based on these interviews

    and my review of documents produced by Boeing, I learned, among

    other thing the following information:

               a.   On September 2, 2016, AVENATTI submitted a

    contract renewal proposal to Boeing.     AVENATTI signed the

    proposal as the ~~CEO/Chairman of Global Baristas US, LLC (dba

    Tully's Coffee)."
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              b.    On October 28, 2016, P.K. emailed AVENATTI the

   proposed Shared Services contract between Boeing and GBUS.

              c.    On November 15, 2016, AVENATTI emailed P.K. a

   revised Shared Services contract in which he changed the

   contracting party's name from "Global Baristas US LLC" to "GB

   Hospitality LLC."    In the email, AVENATTI told P.K. that the

   name change was "occasioned by us having formed an additional

   wholly owned subsidiary that serves as the contracting party for

   all our relationships where we are proving onsite coffee service

   within corporate environments."

              d.    On November 16, 2016, AVENATTI signed the Shared

   Services contract with Boeing on behalf of "GB Hospitality LLC."

   The Shared Services contract required GB Hospitality to make

   $110,000 quarterly commission payments to Boeing in 2017.           The

   contract identified AVENATTI's title as ~~Chairman/CEO."          P.K.

   said that when he was responsible for the GBUS/GB

   Hospitality/Tully's account he viewed AVENATTI as the CEO of the

   contracting party, not as an attorney.

              e.    Between May 24, 2017, and August 15, 2017, P.K.

   and A.R.G. sent AVENATTI multiple emails and letters regarding

   GB Hospitality's failure to make the required commission

   payments for the first and second quarters of 2017.          C.M. and

   A.R.G. both said that AVENATTI repeatedly failed to respond to

   Boeing's emails and letters.      C.M. said that she knew AVENATTI

    was a lawyer, but was communicating with him because he was the

   owner of GBUS rather than because he was GBUS's lawyer.




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              f.      On August 16, 2017, Boeing received an IRS Notice

   of Levy relating to GBUS.      On or about September 19, 2017,

   Boeing returned the Notice of Levy to the IRS and indicated that

   it did not owe GBUS any money.      As a result, the levy was

   closed.    A.R.G. was aware of the levy at the time and may have

   been responsible for filling out and returning the levy form to

   the IRS.

               g.     On September 5, 2017, Boeing sent AVENATTI via

   email and FedEx a letter notifying him that Boeing was

   cancelling its contract with GB Hospitality due to the company's

   failure to make the required commission payments.         A.R.G. said

   that Boeing sent the cancellation notice to AVENATTI because he

   was the owner of GB Hospitality/GBUS.

               h.     On September 6, 2017, AVENATTI responded to the

   cancellation letter.      Among other things, AVENATTI claimed that

   he had never received the prior notice of default from Boeing,

   even though that notice had been delivered to EA LLP's offices

    via FedEx.

                 i.   On September 7, 2017, A.R.G. spoke to AVENATTI

    regarding the cancellation of the contract and transition

    discussions.      A.R.G. said that all transition calls had to go

    through AVENATTI.     A.R.G. believed that she was communicating

    with AVENATTI both as the person operating GBUS and as the

    lawyer for GBUS.      A.R.G. always believed that AVENATTI was the




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                                       .
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   decision maker for GBUS.     At one point, however, AVENATTI told

   Boeing that he had to run a decision by the Board of Directors.26

              j.     On or about September 18, 2017, A.R.G., C.M. and

   others met with AVENATTI regarding Boeing's transition from

   GBUS.   During this meeting, Boeing and AVENATTI discussed the

   sale of GBUS equipment to Boeing.          A.R.G. said that AVENATTI

   asked to be the point of contact for the sale of GBUS equipment.

                k.   On September 20, 2017, REGNIER emailed AVENATTI a

   list of GBUS equipment at the Boeing stores.          AVENATTI then

   forwarded this email to C.M., with a copy to M.G. from GBUS.

   A.R.G. said that it made sense for Boeing to buy the equipment

   from GBUS because it still wanted to supply coffee to its

   employees.

                1.   On September 22, 2017, AVENATTI emailed C.M. and

   said:   "We have discussed it internally and we propose that we

   assign the equipment to Boeing in exchange for any commissions

   due and owing to Boeing."

                m.   On September 26, 2017, A.R.G. emailed AVENATTI a

   bill of sale relating to the GBUS equipment at the Boeing

   stores.   A.R.G. drafted the bill of sale.         She identified GB

   Hospitality as the seller on the bill of sale because that was

   the entity name on the contract with Boeing.          Under the terms of

   the proposed sale, Boeing would pay GB Hospitality $10 and

   forgive all remaining debt in exchange for the equipment.



        26 This statement appears to have been false. Multiple
   former GBUS employees have said that GBUS did not have a Board
   of Directors.



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               n.   On September 27, 2017, A.R.G. and AVENATTI

   discussed Boeing purchasing two coffee kiosks27 from GBUS for

   $155,000.    C.M. said that the kiosk discussions occurred at the

   end of the transition talks.

               o.   On September 28, 2017, AVENATTI emailed A.R.G.

   and agreed to sell the kiosks for $155,000.       AVENATTI asked

   A.R.G. to send him a revised bill of sale.       He also indicated

   that he would ~~need payment no later than next Friday" (i.e.,

   October 6, 2017).    Later that day, A.R.G. emailed AVENATTI two

   separate bills of sale -- one for the purchase of the equipment

   and one for the purchase of the kiosks.      Both Bills of Sale

   identified GB Hospitality as the seller.

               p.   On September 29, 2017, A.R.G. emailed AVENATTI

   revised drafts of the two Bills of Sale in which the name of the

   seller was changed from GB Hospitality to ~~Global Baristas,

   LLC."   A.R.G. said that AVENATTI asked her to change the seller

   name because GB LLC was the owner of the equipment, not GB

   Hospitality.     In her email, A.R.G. also wrote the following:

         As part of my due diligence, I ran a quick UCC search
         on Global Baristas, LLC. I see one secured credit
         [sic] for office furniture that doesn't look relevant
         for our purposes. There is another secured creditor
         for equipment, Farnam Street Financial? Can you
         confirm that is also not covering any of this
         equipment?

   In an email response just a few minutes later, AVENATTI said

    ~~You are correct - neither covers any of the equipment."




         27 I understand that the coffee kiosks were separate stand-
    alone structures that were owned by GBUS, but located at
    Boeing's facilities.

                                      .~
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              q.    Later on September 29, 2017, AVENATTI emailed

   A.R.G. and C.M. the executed copies of the two bills of sale.

   AVENATTI signed the bills of sale on behalf GB LLC and

   identified his title as ~~Chairman."

              r.    On October 2, 2017, AVENATTI emailed wiring

   instructions to A.R.G. and C.M.      Specifically, AVENATTI

   instructed Boeing to wire the sale proceeds to an EA LLP

   attorney trust account at CB&T ending in 8671 ("EA CB&T Trust

   Account 8671").    AVENATTI also asked when the wire would be

   sent.   C.M. said that AVENATTI seemed anxious to receive the

   wire payment from Boeing.

              s.     On October 5, 2017, AVENATTI emailed A.R.G. and

   C.M. a letter on GB LLC letterhead containing the same wiring

   instructions.     REGNIER was copied on the email.      According to

   A.R.G., Boeing had asked AVENATTI to provide Boeing the wiring

   instructions on GB LLC letterhead.      Prior to receiving this

   letter, neither A.R.G. nor C.M. had ever seen any other

   documents on GB LLC letterhead.

              t.     A.R.G. indicated that she was concerned that the

   change of the entity name on the bill of sale may have violated

   the tax lien or levies, but that Boeing checked and neither ~~GB

    Hospitality, LLC" nor "Global Baristas, LLC" were identified on

   the lien and levies.     Boeing determined that it was not in

    violation of the lien because the lien related to GBUS and the

    seller identified on the two bills of sale was a different legal

    entity.   A.R.G. said that the only other entity name she had

    seen on the contracts with Boeing prior to the two bills of sale
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   was GB Hospitality.    Boeing would not have paid the $155,010 if

   GBUS's name had been on the two bills of sale or the 2016

   contract.

         40.   Based on a preliminary review2e of bank records

   relating to GBUS, GB LLC, EA LLP, A&A, and AVENATTI, I have

   learned the following regarding the $155,010 payment from Boeing

   for the kiosks and equipment:

               a.   On October 5, 2017, Boeing transferred $155,010

   via wire to EA CB&T Trust Account 8671.

               b.   On October 5, 2017, EA LLP transferred $155,010

   from EA CB&T Trust Account 8671 to A&A's CB&T account ending in

   0661 (~~A&A CB&T Account 0661")      AVENATTI then made the

   following payments from A&A CB&T Account 0661, among others:

                    i.    $15,000 wire transfer to AVENATTI and his

    wife's personal checking account at BofA ending in 5546

   ("Avenatti BofA Account 5446");

                    ii.   $8,459 payment to Neiman Marcus in Newport

    Beach, California on October 10, 2017; and

                    iii. $13,073 payment for rent for AVENATTI's

    residential apartment in Los Angeles, California on October 10,

    2017.

               c.   Out of the $155,010 that Boeing wired to EA CB&T

    Trust Account 8671 and which was subsequently transferred to A&A



         28 IRS-CI's review of the bank account records referenced
    throughout this affidavit is ongoing. The approximate amounts
    referenced herein are based on a preliminary analysis of those
    bank records and my discussions with an IRS-CI revenue agent.
    These amounts may change as IRS-CI completes its analysis and
    discovers additional bank account information.


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   CB&T Account 0661, it appears that only approximately half was

   ever transferred to bank accounts associated with GBUS.

                6.   Preliminary Review of GBUS and GB LLC Bank
                     Account Information

         41.    In connection with this investigation, IRS-CI has

   obtained bank records relating to a number of accounts

   associated with GBUS and GB LLC.      Based on a preliminary review

   of these bank account records, it appears that AVENATTI caused

   approximately $1.7 million to be transferred from GBUS or GB LLC

   to other entities AVENATTI controlled during the same time

   period in which GBUS failed to pay to the IRS approximately

   $3,121,460 in payroll taxes.

         42.    Based on a preliminary review of the GBUS and GB LLC

   bank records, I have learned, among other things, the following:

                a.   In February and March 2015, GBUS opened three new

   bank accounts with CB&T in Orange County, California, including

   a payroll account and an operating account (GBUS CB&T Account

   2240).      AVENATTI and REGNIER were the only two signatories on

   the GBUS CB&T accounts.

                b.   As noted above, on October 3, 2017, GB LLC opened

   GB LLC CB&T Account 3730 in Orange County, California.          (See

   supra 9[ 37.j.)     AVENATTI and REGNIER were the only two

   signatories on this GB LLC account.

         43.     Based on a preliminary review of the GBUS's CB&T bank

    accounts, I have learned, among other things, the following

    regarding the transfer of funds from GBUS or GB LLC to bank

    accounts associated with A&A or EA LLP:
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               a.   Between 2015 and 2017, there were a substantial

   number of wire transfers or payments between GBUS's or GB LLC's

   bank accounts on one hand, and EA LLP's or A&A's bank accounts

   on the other hand.

               b.   As detailed in the below chart, between 2015 and

   2017, there was a net total of approximately $1,701,800 in

   payments from GBUS's or GB LLC's bank accounts to A&A's or EA

   LLP's bank accounts.

    Transfers (Net)       2015        2016         2017         TOTALS
    GBUS & GB LLC       -$576,500    $440,500   $1,360,250     $1,224,250
    to A&A
    GBUS & GB LLC       -$127,436    $517,400      $87,586        $477,550
    to EA LLP
    TOTALS              -$703,936    $957,900   $1,447,836     $1,701,800


               c.   There was a net transfer of approximately

   $703,936 from A&A and EA LLP into GBUS's or GB LLC's bank

   accounts in 2015.    However, there was a net transfer of

   approximately $2,406,006 out of GBUS's and GB LLC's bank

   accounts to A&A and EA LLP during 2016 and 2017, while the IRS

   collection case was ongoing and payroll taxes were due.

         44.   As set forth further below in Section IV.D.4, it

   appears that portions of the approximately $1.7 million that was

   transferred from GBUS's and GB LLC's bank accounts to A&A or EA

   LLP were subsequently transferred to AVENATTI's personal bank

   accounts or used to pay for AVENATTI's personal expenses.

         45.   It also appears that AVENATTI directly used GBUS funds

   to pay for personal expenses.      For example, on or about March

   30, 2016, a total of $200,000 was paid to the G.P. Family Trust




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   from GBUS CB&T Account 2240.     These payments were for two months

   of rent for AVENATTI's residence in Newport Beach, California.

   (See infra ~ IV.E.3.b.)

               7.    GBUS Bankruptcy Proceedings

         46.   GBUS is currently the debtor in Chapter 7 bankruptcy

   proceedings pending in the United States Bankruptcy Court for

   the Western District of Washington, in In re: Global Baristas US

   LLC, No. 18-14095-TWD (the "GBUS Bankruptcy").        Based on my

   review of documents filed in the GBUS Bankruptcy, I have

   learned, among other things, the following:

               a.    On October 24, 2018, a Chapter 7 involuntary

   bankruptcy petition was filed against GBUS.       GBUS did not appear

   or oppose the involuntary petition.

               b.    On November 30, 2018, an Order for Relief was

   entered by default.     On or about that same date, Nancy L. James

   was appointed as the Chapter 7 bankruptcy trustee for GBUS (the

   "GBUS Trustee").

               c.    On or about November 30, 2018, GBUS was also

   directed to file financial statements and other documents with

   the bankruptcy court.     To date, GBUS has not filed any such

   documents.

                d.   On January 25, 2019, the GBUS Trustee filed a

   motion for an order directing three law firms, Osborn Machler

   PLLC; Eisenhower Carlson PLLC (~~Eisenhower"); Talmadge/

    Fitzpatrick/Tribe, PPLC, to turn over all files and records

    relating to the law firms' representation of GBUS.         Among other

    things, the GBUS Trustee noted that because the GBUS Trustee now



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   manages GBUS, the GBUS Trustee now holds the attorney-client

   privilege.

                e.   On January 31, 2019, the GBUS Trustee held the

   creditors meeting required under 11 U.S.C. ~ 341.         No one

   appeared on behalf of GBUS at the meeting.

               f.    On February 8, 2019, Eisenhower, which

   represented GBUS in the Bellevue Square Litigation, filed an

   opposition to the GBUS Trustee's motion for turnover.

   Eisenhower argued, among other things, that AVENATTI may believe

   that Eisenhower represented him in his personal capacity and

   that the motion should be denied until AVENATTI was provided

   notice and an opportunity to respond.      Eisenhower stated:

         During the course of the litigation, Bellevue Square
         LLC asserted liability against Michael Avenatti
         personally. While [Eisenhower] was not formally
         retained by Mr. Avenatti, [Eisenhower] is concerned
         that Mr. Avenatti may assert attorney-client privilege
         as to his personal communications with [Eisenhower].

                g.   On February 15, 2018, the Bankruptcy Court held a

   hearing on the GBUS Trustee's motion.      I understand that during

   the hearing the Bankruptcy Court held that the GBUS Trustee

   holds the attorney-client privilege as to communications between

   GBUS and its lawyers, that the law firms were required to turn

   over their files to the GBUS Trustee, and ordered the parties to

   submit an agreed upon order for the Court to sign by February

   22, 2018.

         47.    Although AVENATTI is not personally named in the GBUS

    Bankruptcy and has not appeared in it, he is aware of the

    proceedings.     On February 13, 2019, AVENATTI sent an email to an




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   attorney representing IMSA in a separate civil action, the GBUS

   Trustee, and the GBUS Trustee's counsel, which stated:

         It has come to my attention that you are purporting to
         proceed with a hearing tomorrow in a Florida
         collection matter in which Global Baristas US, LLC, me
         [sic] and others are defendants. Separate [sic] apart
         from the fact that service has never been properly
         effectuated, your attempt to proceed with this matter
         is entirely inappropriate as there has long been a
         bankruptcy stay in place as a result of the attached
         bankruptcy filing (the Trustee and counsel are copied
         above). Indeed, your continued pursuit of this matter
         over the last several months may subject your client
         to liability for violating the bankruptcy stay, which
         your client is well aware of.

         D.    Tax Offenses Relating to Eagan Avenatti LLP (EA LLP)
               and Avenatti & Associates, APC (A&A)

         48.   As discussed below, there is probable cause to believe

   that AVENATTI has caused his other companies, EA LLP and A&A, to

   evade their federal tax obligations.       Between 2015 and 2017, EA

   LLP failed to pay to the IRS approximately $2.4 million in

   payroll taxes, including approximately $1,279,001 in trust fund

   taxes that had been withheld from EA LLP employees' paychecks.

   EA LLP and A&A have also repeatedly failed to file federal

   income tax returns or pay federal income taxes, despite

   generating substantial income.      Indeed, despite previously

   filing tax returns, EA LLP has not filed federal tax returns for

   the 2013 through 2017 tax years, and A&A has not filed federal

   tax returns for the 2011 through 2017 tax years.

               1.   The IRS Payroll Tax Collection Case

         49.   In September 2015, the IRS initiated a collection case

   against EA LLP due to its failure to file its payroll tax

    returns and pay payroll taxes.     Based on my review of IRS tax




                                       ~~
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   information, including the ICS History, I have learned, among

   other things, the following information regarding EA LLP's

   payroll tax obligations:

               a.   Between 2011 and the first quarter of 2014, EA

   LLP paid its federal tax deposits, including trust fund tax

   payments, to the IRS on a regular basis.       During this time

   period, EA LLP also filed its IRS Forms 941 each quarter and IRS

   Forms 940 each year.29    On the various EA LLP IRS Forms 940 and

   IRS Forms 941 filed with the IRS between 2011 and 2014 that I

   have reviewed, AVENATTI signed the forms under penalty of

   perjury as the Managing Partner of EA LLP.

               b.   On or about April 30, 2015, EA LLP filed its IRS

   Form 941 for the first quarter of 2015.       The IRS Form 941

   indicated that EA LLP was required to pay to the IRS

   approximately $194,545 in payroll taxes, including approximately

   $152,562 in trust fund payments.       EA LLP, however, did not make

   the required payroll tax payments to the IRS.

               c.   On September 26, 2015, the IRS opened a

    collection case against EA LLP based on a FTDA.

               d.   On September 28, 2015, the collection case was

    assigned to an IRS revenue officer (~~RO 2").

               e.   On October 8, 2015, RO 2 made a field visit to EA

    LLP's office in Newport Beach, California.       RO 2 spoke with

    AVENATTI and told him that the field call was being made because



         z9 During this time period, Paychex was responsible for
    filing EA LLP's IRS Forms 941 and paying to the IRS EA LLP's
    federal tax deposits. (See infra 9[ 52.) These services were
    discontinued at the end of 2014. (See id.)


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   EA LLP had not made its federal tax deposits.         RO 2 asked

   AVENATTI if REGNIER could attend the meeting because she was the

   POA on file with IRS for EA LLP and was in the office at that

   time, but AVENATTI said no.     RO 2 told AVENATTI that EA LLP last

   filed a payroll tax return for the first quarter of 2015, but

   that it had not paid to the IRS the $194,545 in payroll taxes

   that were due.    RO 2 also told AVENATTI that EA LLP had not

   filed its payroll tax return or paid its federal tax deposits

   for the second quarter of 2015, and that the payroll tax return

   and federal tax deposits for the third quarter of 2015 were due

   that same day.    RO 2 explained that unless there was a reduction

   in EA LLP's payroll since the first quarter of 2015, EA LLP

   would likely owe the IRS over $200,000 in payroll taxes for each

   of these additional quarters as well.      AVENATTI told RO 2 that

   he was not aware that the federal tax deposits were not being

   paid.   When asked who prepared the payroll tax returns and made

   the federal tax deposits, AVENATTI said that Paychex was

   responsible for the payroll taxes.30      AVENATTI also said that he

   was not sure what was going on with the taxes.         RO 2 set a

   deadline of October 23, 2015, for EA LLP to make the outstanding

   payroll tax payments.     RO 2 also set deadlines for EA LLP to

   file its missing IRS Forms 940 and provide certain financial

   documentation, including bank statements and a balance sheet.

    Finally, RO 2 instructed AVENATTI to file any other unfiled tax




         3o AVENATTI made a nearly identical statement to RO 1 when
    he was contacted about GBUS failure to pay its payroll taxes one
    year later on October 7, 2016. (See supra 9[ 23.d.)


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   returns, including his unfiled personal income tax returns for

   the 2011 to 2014 tax years.

              f.     On October 14, 2015, M.H. contacted RO 2 and

   advised her that she was the POA for EA LLP.           RO 2 advised M.H.

   of the deadline she had set for EA LLP to make the outstanding

   payroll tax payments, file its IRS Forms 941, and produce

   financial documents.

              g.     On October 23, 2015, EA LLP filed its IRS Forms

   941 for the second and third quarters of 2015.          Both IRS Forms

   941 were signed by AVENATTI.      Although EA LLP filed these two

   IRS Forms 941 for the second and third quarters of 2015, EA LLP

   did not make the required outstanding payroll tax payments nor

   did it produce the required financial information RO S.M

   requested.

                h.   On March 14, 2017, RO 2 filed IRS Form 6020B

   substitute returns for the fourth quarter of 2015 and the first,

   second, third, and fourth quarters of 2016.

                i.   As discussed below in Section IV.D.2, in March

   2017, an involuntary Chapter 11 bankruptcy petition was filed

   against EA LLP.     Due to the automatic stay issued in the EA

   Bankruptcy, RO 2's efforts to collect the outstanding payroll

   taxes largely ceased.

                j.   In connection with the EA Bankruptcy, EA LLP and

   the IRS reached a settlement regarding EA LLP's unpaid payroll

   taxes in which EA LLP agreed to pay to the IRS approximately

   $2,389,005, including trust fund taxes of $1,288,277, non-trust




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   fund taxes of $311,673, penalties of $635,631, and interest of

   $153,424.

               k.   On or about September 28, 2017, the IRS received

   EA LLP's IRS Forms 941 for the fourth quarter of 2015 through

   the fourth quarter of 2016.      The IRS Forms 941 appear to have

   been signed by AVENATTI.

               2.   EA LLP Bankruptcy Proceedings

         50.   Based on my review of documents filed in connection

   with the EA Bankruptcy, I have learned, among other things, the

   following information:

               a.   On or about March 1, 2017, an involuntary

   petition was filed against EA LLP in the Middle District of

   Florida.

               b.   On or about March 10, 2017, EA LLP filed its

   answer to the involuntary petition and consented to the order

   for relief.

               c.   In April 2017, the EA Bankruptcy was transferred

   to the Central District of California.

               d.   In connection with the EA Bankruptcy, the United

   States claimed that it was a secured creditor of EA LLP due to

   the filing of federal tax liens.       The United States also filed a

   number of claims against the bankruptcy estate.

               e.   On or about October 10, 2017, the United States

   filed its Fifth Amended Proof of Claim in the amount of

   approximately $2,357,202, which consisted of a secured claim in

   the amount of $677,410, a priority tax claim of $1,259,355, and

   a general unsecured claim of $420,436.



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              f.    On January 30, 2018, EA LLP, AVENATTI, and the

   United States entered into a stipulation regarding the payment

   of taxes, in which the parties described the terms of the

   settlement reached between EA LLP, AVENATTI, and the United

   States.   In the stipulation, the parties agreed that the total

   amount EA LLP owed to the IRS as of February 28, 2018, would be

   approximately $2,389,005, consisting of trust fund taxes of

   $1,288,277, non-trust fund taxes of $311,673, penalties of

   $635,631, and interest of $153,424.       Under the terms of the

   settlement, EA LLP was required to make an initial payment to

   the United States Treasury of $1,508,422, which consisted of all

   of the $1,288,277 in trust fund taxes due to the IRS, and 20% of

   the non-trust fund taxes, penalties, and interest in the amount

   of $220,146 within 10 days of the settlement being approved and

   bankruptcy being dismissed.      EA LLP was required to pay the

   remaining balance of $880,583, plus accrued interest, within 120

   days of the dismissal order.      Specifically, EA LLP was required

   to pay $440,291, plus accrued interest of $11,709.07, on the

   60th day following the dismissal order, and an additional

   $440,291 on the 120th day following the dismissal order.

               g.   On March 15, 2018, the Bankruptcy Court issued an

   order approving the settlement between EA LLP, AVENATTI, and the

   United States, and dismissed the EA Bankruptcy.

              h.    On March 26, 2018, the IRS received the initial

   settlement payment of $1,508,422 from a trust account for

   SulmeyerKupetz, which was the law firm representing A&A and




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   AVENATTI in the EA Bankruptcy.31     EA LLP and AVENATTI, however,

   failed to make the remaining payments to the IRS as scheduled.

                i.   On July 3, 2018, the United States filed a motion

   to enforce the settlement agreement between EA LLP, AVENATTI,

   and the United States.     Among other things, the United States

   noted that EA LLP had failed to make the required payment of

   approximately $440,291, plus $11,709 by May 14, 2018, as

   required under the settlement agreement.

                j.   On August 20, 2018, EA LLP, AVENATTI, and the

   United States entered into a stipulation to resolve the United

   States July 2018 motion to enforce the settlement agreement.

   Under the stipulation, EA LLP agreed to make monthly payments to

   the United States in the amount of $75,000.




         31    Based on information I received from the Newport Beach
   Police Department and a preliminary review of the relevant bank
   account records, it appears that this payment was derived from
   money that AVENATTI had received in trust for two clients,          M.P.
   and L.T. AVENATTI represented M.P. and L.T. in connection           with
   the divestment and separation from M.P.'s business. Under           the
   engagement agreement, AVENATTI was entitled to 7.5 percent          of
   the approximately $35.6 million transaction amount (or
   approximately $2.67 million). In September 2017, the first
   portion of the transaction amount was wired to a City National
   Bank attorney trust account ending in 4704 ("Avenatti CNB Trust
   Account 4704"). After AVENATTI deducted his entire 7.5 percent
   fee, he then transferred the remaining proceeds to M.P. On
   March 14, 2018, the balance of the transaction amount
   (approximately $8,146,288) was transferred to CNB Trust Account
   4704.      But AVENATTI did not remit this entire sum to M.P. as he
   was required to do.      Rather, on March 15, 2018, AVENATTI
   transferred $3,000,000 to an EA LLP CB&T attorney trust account
   ending in 4613 ("EA CB&T Trust Account 4613")   AVENATTI then
   transferred $2,828,423 from EA CB&T Trust Account 4613 to the
   SulmeyerKupetz trust account later that same day. The following
   day, AVENATTI's attorney from SulmeyerKupetz filed a declaration
   in the EA Bankruptcy indicating that he had received the
   approximately $2.8 million payment so that it could be
   distributed to creditors, including the IRS.


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                k.   On or about August 20, 2018, EA LLP paid the

   United States Department of Treasury approximately $75,000 via a

   check from one of EA LLP's CB&T bank accounts.        I understand

   that no further payments have been received since August 2018

   and that EA LLP and AVENATTI still owe the United States

   approximately $765,015, plus accrued interest and penalties.

          51.   As part of the EA Bankruptcy, EA LLP was required to

   close pre-petition bank accounts and open new ~~debtor in

   possession" bank accounts.      EA LLP and AVENATTI were also

   required to file with the Bankruptcy Court a monthly operating

   report ("MOR") detailing all funds received and disbursed by EA

   LLP.

                3.   Information Obtained from Paychex Regarding EA
                     LLP's Payroll Taxes

          52.   As noted above in paragraph 49.e, when AVENATTI was

   first contacted by RO 2, AVENATTI claimed that Paychex was

    responsible for preparing the payroll tax returns and paying to

    the IRS EA LLP's federal tax deposits.      These claims appear to

    have been false.    Based on documents produced by Paychex, I have

    learned, among other things, the following information:

                a.   On or about May 31, 2014, AVENATTI signed a

    Paychex Proprietor Services Agreement as the Managing Partner of

    EA LLP.

                b.   On or about January 5, 2015, Paychex mailed two

    letters to EA LLP and AVENATTI confirming ~~that your Paychex

    Taxpay0 service has been discontinued at your request, effective

    December 28, 2014."    The letters further advised AVENATTI and EA




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   LLP that ~~[y]ou will be responsible for making timely tax

   deposits and filing tax return beginning on December 28, 2014."32

               4.   Other Tax Infozmation Regarding EA LLP and A&A

         53.   Based on my review of IRS tax information, I have

   learned, among other things, the following information regarding

   EA LLP's filing of federal partnership income tax returns:

               a.   On or about August 13, 2010, Eagan O'Malley &

   Avenatti LLP, which later became EA LLP, filed its 2009

   partnership income federal tax return (IRS Form 1065).           The

   return stated that in the 2009 tax year Eagan O'Malley Avenatti

   LLP had gross receipts of $12,547,675 and ordinary business

   income of $5,025,947.     The return listed G.M. in Encino,

   California, as the paid preparer, and O'Malley as the designated

   Tax Matters Partner (~~TMP") before the IRS.

               b.   On or about April 15, 2011, Eagan O'Malley &

   Avenatti LLP, filed its 2010 partnership income federal tax

   return (IRS Form 1065).     The return stated that in the 2010 tax

    year Eagan O'Malley & Avenatti LLP had gross receipts of

   $7,287,551 and ordinary business income of $1,691,667.           The

    return listed M.H. as the paid preparer, and A&A as the

    designated TMP before the IRS.


         32 At the June 12, 2017, Section 341 hearing as part of the
    EA Bankruptcy, AVENATTI testified under penalty of perjury that
    Paychex was EA LLP's payroll service since ~~the inception of the
    firm       may have been as long as 10 [years]." In response to
    a question regarding EA LLP making deposits for federal and
    state payroll taxes, AVENATTI testified: `Well, they're made now
    directly by the firm, but at some point they were being made by
    Paychex, or at least were to be made by Paychex." When asked
    when EA LLP switched from sending money to Paychex to pay the
    payroll taxes to paying the tax deposits directly, AVENATTI
    testified "sometime in 2016."


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                 c.    On or about March 17, 2014, EA LLP filed its 2011

   partnership income federal tax return (IRS Form 1065).         The

   return stated that in the 2011 tax year EA LLP had gross

   receipts of $13,819,836 and ordinary business income of

   $5,850,102.        The return indicated that it was `Self Prepared"

   and appears to have been signed by AVENATTI on March 12, 2014.

   The return listed A&A as the designated TMP before the IRS, and

   AVENATTI as the TMP representative.

                 d.     On or about October 8, 2014, EA LLP filed its

   2012 partnership income federal tax return (IRS Form 1065).          The

   return stated that in 2012 EA LLP had gross receipts of

   $6,212,605 and an ordinary business loss of 2,128,849.         The

   return appears to have been signed by AVENATTI on October 1,

   2014.    The return listed M.H. as the paid preparer, and A&A as

   the designated TMP before the IRS.

                 e.     EA LLP never filed a partnership income federal

    tax return (IRS Form 1065) for the 2013, 2014, 2015, 2016, or

    2017 tax years.

           54.   Based on my review of IRS tax information, I have

    learned, among other things, the following information regarding

    A&A:

                 a.     A&A's 2009 IRS Form 11205 Corporate Tax Return

    stated that A&A had total income of $3,391,224 and ordinary

    business income of $1,578,558 for the 2009 tax year.        The return

    listed AVENATTI as the President of A&A and M.H.'s firm as the

    return preparer (the return does not state M.H.'s name, simply

    the firm at which she worked).



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                b.   A&A's 2010 IRS Form 11205 Corporate Tax Return

   stated that A&A had total income of $1,421,028 and ordinary

   business income of $821,634 for the 2010 tax year.         AVENATTI

   appears to have signed the return on September 15, 2011, as the

   President of A&A.     The return listed M.H. as the return

   preparer.

                c.   A&A did not file federal corporate tax returns

   for the 2011, 2012, 2013, 2014, 2015, 2016, or 2017 tax years.

   The last federal income tax return that A&A filed was the return

   for the 2010 tax year.

                5.   Preliminary Review of EA LLP's and A&A's Bank
                     Account Information

         55.    A preliminary review of the bank records for accounts

   associated with EA LLP, A&A, and AVENATTI demonstrates that:

   (a) EA LLP generated significant income between 2013 and 2017

   and would likely have been required to file federal income tax

   returns for the 2013 to 2017 tax years; (b) A&A generated

   significant income between 2011 and 2017 and would likely have

   been required to file income tax returns during the 2011 to 2017

   tax years; and (c) EA LLP and AVENATTI had sufficient funds to

   make the required payroll tax payments due to the IRS in 2015

    and 2016.    Specifically, based on a preliminary review of bank

    account records associated with EA LLP, A&A, AVENATTI, I have

    learned, among other things, the following information:




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               a.     Between 2013 and 2017, EA LLP received

   approximately $137,890,016 of deposits33 into its bank accounts.

               b.     Between 2011 and 2017, A&A received approximately

   $37,961,633 of deposits into its bank accounts, including net

   payments of approximately $23,820,816 from EA LLP.

               c.     Between 2015 and 2017, EA LLP transferred

   approximately $13,360,560 to A&A's bank accounts, and A&A

   transferred approximately $4,424,740 to EA LLP's bank accounts.

   Thus, between 2015 and 2017, A&A received a net total of

   approximately $8,935,820 from EA LLP.

               d.     Between 2015 and 2017, approximately $3,697,500

   was transferred from A&A's bank accounts to AVENATTI's personal

   bank account, and approximately $190,000 was transferred from EA

   LLP's bank accounts to AVENATTI's personal bank account.

   Moreover, as discussed further in paragraph 58.c below, AVENATTI

   repeatedly used A&A funds to pay for personal expenses between

   2015 and 2017.

         E.    Tax Offenses Relating to AVENATTI's Personal Income
               Tax Obligations

         56.   As discussed below, there is probable cause to believe

   that AVENATTI committed various tax offenses in connection with

   his personal income tax obligations.        AVENATTI failed to file

   personal federal income tax returns for the 2011 through 2017

   tax years.       During these tax years, AVENATTI generated

   substantial income and lived lavishly, yet largely failed to pay


        33 I understand that the $137,890,016 of deposits likely
   includes some transfers between different EA LLP bank accounts.
   Therefore, EA LLP's total receipts during this time period could
   be substantially lower.


                                        ~ •,
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   any federal income tax.     AVENATTI also appears to have evaded

   the assessment and collection of federal income taxes during

   these tax years by using the entities he controlled, such as

   GBUS, EA LLP, and A&A, to hide and conceal his personal income.

               1.   Information Regarding AVENATTI's Personal Income
                    Tax Obligation

         57.   Based on my review of IRS tax information, I have

   learned, among other things, the following regarding AVENATTI's

   personal income tax obligations:

               a.   On or about October 15, 2010, AVENATTI filed his

   individual income tax return for the 2009 tax year.          The 2009

   return indicated that AVENATTI had total income of $1,939,942,

   and a total tax due to the IRS in the amount of $570,816.

   According to the return, AVENATTI received $300,000 in W-2 wage

   income from A&A in 2009, but only had $1,186 withheld in federal

   taxes.   AVENATTI, therefore, owed the IRS approximately $569,630

   for the 2009 tax year.    AVENATTI, however, did not pay the

   remaining tax due for the 2009 tax year until November 2015,

   when he sold his residence in Laguna Beach, California, upon

   which there was an IRS tax lien.

               b.   On or about October 11, 2011, AVENATTI filed his

   individual income tax return for the 2010 tax year.          The 2010

   return indicated that AVENATTI had total income of $1,154,800,

   and a total tax due to the IRS of $275,947.       According to the

   return, AVENATTI had $77 of taxes withheld during 2010.

   AVENATTI, therefore, owed the IRS approximately $281,786 for

   2010 tax year.    AVENATTI, however, did not pay the remaining




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   taxes due to the IRS for the 2010 tax year until November 2015,

   when he sold his residence in Laguna Beach, California, upon

   which there was an IRS tax lien.

              c.    AVENATTI never filed a 2011 individual tax

   return.    In April 2012, however, AVENATTI or his tax preparer

   filed an extension request for his 2011 individual tax return in

   which $0 in tax liability was reported.34

               d.   AVENATTI never filed a 2012 individual tax

   return.    In April 2013, however, AVENATTI or his tax preparer

   filed an extension request for the 2012 individual tax return in

   which $0 in tax liability was reported.

               e.   AVENATTI never filed a 2013 individual tax

   return.    In April 2014, however, AVENATTI or his tax preparer

   filed an extension request for the 2013 individual tax return in

   which $0 in tax liability was reported.

               f.   AVENATTI never filed a 2014 individual tax

   return.    In April 2015, however, AVENATTI or his tax preparer

   filed an extension request for the 2014 individual tax return in

    which $0 in tax liability was reported.

               g.   On September 2, 2015, the IRS filed a federal tax

    lien for approximately $903,987 due to AVENATTI's non-payment of

    taxes due for the 2009 and 2010 tax years.




         34Based on my review of IRS tax information, I believe that
    AVENATTI's extension requests for the 2011 to 2015 tax years
    were submitted to the IRS by M.H. Because we have not
    interviewed M.H. at this time, it is unclear whether AVENATTI
    knew the extension requests were being filed or knew what
    information was being provided on the extension requests.


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               h.    On or about October 23, 2015, AVENATTI's POA,

   M.H., contacted the IRS and advised it that AVENATTI would file

   his personal federal income tax returns for the 2012, 2013, and

   2014 tax years by November 7, 2015.     However, no such returns

   were ever filed.

               i.    On October 30, 2015, the IRS sent AVENATTI a

   demand letter indicating that he had an outstanding debt of

   $1,042,878 for the 2009 and 2010 tax years.      A copy of the

   demand letter was also sent to AVENATTI's POA, M.H.

               j.    On November 2, 2015, as a result of the September

   2015 federal tax lien, a copy of which was provided to the

   escrow company handling the sale of AVENATTI's Laguna Beach,

   California, residence, the IRS received a payment of $1,042,878

   for the unpaid 2009 and 2010 taxes from the escrow company after

   the completion of the sale of AVENATTI's home.

                k.   AVENATTI never filed a 2015 individual tax

   return.     In April 2016, however, AVENATTI or his tax preparer

   filed an extension request for the 2015 individual tax return in

   which $0 in tax liability was reported.

                1.   AVENATTI never filed an individual tax return for

   the 2016 or 2017 tax years.     To date, AVENATTI has not filed

   requests for extensions for the 2016 or 2017 tax years.

               2.    Preliminary Review of AVENATTI's Bank Records

         58.    A preliminary review of AVENATTI's bank account

   records demonstrates that AVENATTI generated substantial

   personal income between 2011 and 2017.      Specifically, based on a

   preliminary review of bank records associated with bank accounts



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   for AVENATTI, GBUS, EA LLP, and A&A, I have learned, among other

   things, the following:

              a.    Between 2011 and 2017, it appears that AVENATTI

   received net payments of approximately $8,464,064 from EA LLP's

   and A&A's bank accounts.35    This amount excludes any amounts that

   may have been transferred to AVENATTI's personal bank accounts

   from EA LLP's and A&A's attorney trust accounts.

              b.    Between 2014 and 2017, AVENATTI's personal bank

   accounts appear to have received a total of approximately

   $556,134 in direct payments from GBUS.

              c.    Between 2011 and 2017, approximately $37,961,633

   was deposited into A&A's bank accounts, including approximately

   $28,541,055 from EA LLP.     After deducting the approximately

   $4,720,240 that A&A paid to EA LLP, A&A appears to have received

   net payments of approximately $23,820,815 from EA LLP during

   this time period.

              d.    AVENATTI appears to have used money that was

   deposited into A&A's bank accounts for a variety of personal

   expenses and to conceal his personal income.          For example, based

   on a preliminary review of A&A CB&T Account 0661, the

   investigation has identified the following payments that appear

   personal in nature and would therefore constitute additional

   evidence of AVENATTI's unreported personal income and tax

   evasion:




        3s During this same time period, there were total deposits
   into AVENATTI's personal bank accounts of approximately
   $18,025,134.


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                   i.      Between 2011 and 2018, A&A paid AVENATTI's

   ex-wife, C.C, approximately $979,590.      The investigation has not

   yet identified any other payments from AVENATTI to C.C, which

   supports the inference that these payments constituted either

   child support or alimony, or both.

                   ii.     Between 2011 and 2017, a total of $237,985

   in cash was withdrawn from A&A CB&T Account 0661 via check or

   ATM Withdrawal.

                   iii. Between 2011 and 2017, A&A paid a total of

   approximately $216,720 to Neiman Marcus.

                   iv.     Between March and June 2011, A&A paid

   approximately $10,500 to Jewelers On Time, a luxury watch store

   in Newport Beach, California.

                     v.    Between 2013 and 2015, A&A paid a total of

   approximately $462,499 to Chase Home Finance in connection with

   the mortgage on AVENATTI's residence in Laguna Beach,

   California.36

                     vi.   In June 2014, A&A paid $58,000 to Jewelers

   On Time.37

                     vii. Between 2014 and 2015, A&A paid a total of

   approximately $1,220,201 to Gallo Builders, Inc., a custom home

   builder in Newport Beach, California.




        36 Based on records Chase submitted to the IRS, I know that
   between approximately November 2011 and November 2015 AVENATTI
   paid to Chase a total of approximately $698,909 in mortgage
   interest payments for his Laguna Beach home.
        37 GB Auto also paid Jewelers On Time approximately $48,500
   on November 27, 2015.


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                    viii.       Between February and March 2015, A&A

   paid a total of approximately $82,236 to Porsche.

                    ix.     In May 2016, A&A paid approximately $195,000

   to Circle Porsche in Long Beach, California.

                    x.    Between April 2016 and July 2016, A&A paid a

   total of approximately $500,000 to the G.P. Family Trust.         Based

   on my review of other records, I understand that these were rent

   payments made pursuant to the lease on AVENATTI's residence in

   Newport Beach, California.38

                    xi.     In September 2016, A&A paid approximately

   $176,500 to Exclusive Resorts, which is described on its website

   as the ~~World's Elite Private Vacation Club."

                    xii. Between January 2016 and November 2016, A&A

   paid approximately $65,855 to Halaby Restoration, a custom home

   painting contractor located in Lake Forest, California.

                    xiii.        Between February 2016 and September

   2016, A&A paid a total approximately $138,611 to Vincent

   Builders Inc., a custom home builder in Fountain Va11ey,

   California.39   A photo of AVENATTI's former residence in Newport

   Beach is shown on Vincent Builder's website under "Projects."




        38 Approximately $200,000 was also paid to the G.P. Family
   Trust from GBUS CB&T Account 2240 in March 2016.
         39 Between December 2015 and April 2016, approximately
   $187,611 in additional payments were made to Vincent Builders
   from an EA LLP CB&T bank account ending in 2851 ("EA CB&T
   Account 2851"), an EA LLP attorney trust account ending in 8541
   (`SEA CB&T Trust Account 8541"), GB Auto BofA Account 7412, and
   one of AVENATTI's personal bank accounts.


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                     xiv. Between February 2017 and December 2017, A&A

   paid a total of approximately $39,762 to Ferrari Financial

   Lease.

                     xv.   Between March 2017 and December 2017, A&A

   paid a total of approximately $123,825 to Ten Thousand in Los

   Angeles, California, as rent for AVENATTI's residential

   apartment.

                3.   Information Regarding the Sale of AVENATTI's
                     Residence in Laguna Beach and Purchase of
                     AVENATTI's Residence in Newport Beach

         59.    As set forth below, the investigation has revealed

   that in November 2015 AVENATTI and L.S., AVENATTI's second wife,

   sold their home on McKnight Drive in Laguna Beach, California

   (the "Laguna Beach Residence"), for approximately $12.65

   million, resulting in proceeds of approximately $5.4 million.

   It appears that the net proceeds of the sale were transferred to

   various entities AVENATTI controlled in an effort to conceal the

   proceeds of the sale.      Substantial portions of the sale proceeds

   were also used for AVENATTI's personal purposes, including to

   finance the purchase of a $15.75 million home on Via Lido Nord

   in Newport Beach, California (the ~~Newport Beach Residence").

                     a.    The Laguna Beach Residence

         60.    Based on my review of mortgage records obtained from

   Chase, I have learned that AVENATTI and L.S. purchased the

   Laguna Beach Residence for approximately $7.2 million in October

   2011.    AVENATTI and L.S. made a down-payment of approximately

   $2.2 million, and received a loan from Chase for approximately

   $5 million.



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         61.   Based on my review of records obtained from the escrow

   company that worked on the sale of the Laguna Beach Residence

   ("Escrow Company 1") and discussions with Escrow Company 1's

   manager, J.M., I have learned, among other things, the following

   information regarding the sale of AVENATTI's Laguna Beach

   Residence in November 2015:

               a.   On or about October 22, 2015, AVENATTI and L.S.

   entered into a contract to sell the Laguna Beach Residence for

   approximately $12,625,000 in cash.       Among other things, the

   contract required that escrow close on or before November 2,

   2015, and that the buyer make a $350,000 non-refundable deposit

   that would be released to AVENATTI and L.S. on October 26, 2015.

               b.   On October 23, 2015, AVENATTI emailed his real

   estate broker, R.S., and instructed him to have Escrow Company 1

    wire the $350,000 deposit funds to GBUS's KeyBank account ending

   in 6193 ("GBUS KeyBank 6193").      This email was then forwarded to

    J.M., who confirmed the wiring instructions by phone with

    AVENATTI on October 26, 2015.

               c.   On or about October 23, 2015, AVENATTI and L.S.

    also signed a form directing Escrow Company 1 to send the sale

    proceeds via wire to GBUS KeyBank 6193.

               d.   On or about October 26, 2015, Escrow Company 1

    wired $350,000 to GBUS KeyBank Account 6193.

               e.   Escrow Company 1's files included a copy of a

    demand letter the IRS sent to M.H. on October 30,. 2015.        The

    demand letter indicated that AVENATTI's outstanding tax debt

    included on the notice of federal tax lien for the 2009 and 2010



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   tax years was approximately $1,042,879.      J.M. did not recall

   having specific discussions with AVENATTI regarding the tax

   lien, but said that his standard practice in such situations was

   to discuss the issue with his client or, if his client was not

   challenging the lien, to instruct the client to get a demand

   letter or payoff amount.

              f.    On or about October 30, 2015, AVENATTI and L.S.

   electronically signed a seller's estimated closing statement,

   which indicated, among other things, that $1,042,879 would be

   disbursed to the IRS in connection with the IRS demand.

              g.    On November 2, 2015, Escrow Company 1 wired the

   remaining sale proceeds of approximately $4,553,889 to GBUS

   KeyBank 6193.

              h.    On or about November 3, 2015, Escrow Company 1

   sent AVENATTI and L.S. a letter via their real estate broker

   confirming that escrow had closed on November 2, 2015.           The

   letter confirmed the remaining proceeds of the sale in the

   amount of $4,553,889 had been wired on November 2, 2015.           The

   letter also enclosed a copy of the final settlement and closing

   costs statement, as well as a copy of an IRS Form 1099-S

   (Proceeds From Real Estate Transactions), which indicated that

   the gross proceeds of the sale of the Laguna Beach property were

   $12,625,000.

              i.    When asked whether Escrow Company 1 submitted the

   IRS Form 1099-5 to the IRS, J.M. said that Escrow Company 1's

   standard practice was to file each IRS Form 1099-5 with the IRS

   through First American Title.      During a subsequent conversation,



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   however, J.M. confirmed that the IRS Form 1099-5 for the sale of

   AVENATTI's Laguna Beach Residence was never submitted to the IRS

   due to an error by Escrow Company 1. 40

         62.   Based on a preliminary analysis of bank records

   associated with AVENATTI, GBUS, EA LLP, and other entities, it

   appears that AVENATTI diverted the profits he obtained from the

   sale of Laguna Beach Residence to a number of different entities

   that he controlled and to his personal bank accounts.

   Specifically, I have learned, among other things, the following

   regarding the proceeds from the sale of the Laguna Beach

   Residence:

                a.   On or about November 2, 2015, approximately

   $4,553,889 was transferred from Escrow Company 1 to GBUS KeyBank

   Account 6193.

                b.   On or about November 2, 2015, approximately

   $4,620,000 was transferred from GBUS KeyBank Account 6193 to

   GBUS CB&T Account 2240.

                c.   On or about November 2, 2015, approximately

   $4,600,000 was transferred from GBUS CB&T Account 2240 to an

    IOLTA attorney trust account associated with The X-Law Group in

   Los Angeles, California.

                d.   On or about November 3, 2015, the X-Law Group

    wired approximately $3,600,000 to GB Auto BofA Account 7412.         As

    set forth in paragraphs 63.b and 63.c below, it appears that the


         4o Based on my training and experience, I know that
    AVENATTI would still have been required to report the proceeds
    from the sale of the Laguna Beach Residence on his 2015 personal
    income tax return regardless of whether Escrow Company 1 filed
    the IRS Form 1099-5 with the IRS.


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   remaining $1,000,000 that had been transferred to The X-Law

   Group was used to pay $1,000,000 in deposits for AVENATTI's

   purchase of the Newport Beach Residence.

               e.    Between on or about November 3 and November 4,

   2015, $2,700,000 was paid from GB Auto Account 7412 to EA CB&T

   Account 2851.

               f.    On or about November 4, 2015, approximately

   $300,000 was transferred from EA CB&T Account 2851 to A&A CB&T

   Account 0661.

               g.    On or about November 4, 2015, approximately

   $300,000 was transferred from A&A CB&T Account 0661 to

   AVENATTI's personal bank account.

                     b,   The Newport Beach Residence

         63.   Based on my review of records obtained from Escrow

   Company 1 and discussions with J.M., I have learned, among other

   things, the following regarding AVENATTI's Newport Beach

   Residence:

                a.   On or about September 23, 2015, AVENATTI and L.S.

   entered into an agreement to purchase the Newport Beach

   Residence from the G.P. Family Trust for approximately

   $15,750,000.      The purchase agreement required AVENATTI and L.S.

   to pay an initial $200,000 deposit within three days, an

   additional non-refundable deposit of $800,000 by November 15,

   2015, and monthly rent of $100,000 from December 1, 2015, until

   August 1, 2016, or the close of escrow.




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               b.   On September 28, 2015, AVENATTI paid a $200,000

   deposit to Escrow Company 1 via a cashier's check from The X-Law

   Group.

               c.   On or about November 6, 2015, AVENATTI paid an

   additional $800,000 deposit to Escrow Company 1 via two wire

   transfers from The X-Law Group's IOLTA attorney trust account in

   the amounts of $450,000 and $350,000.

               d.   In August 2016, approximately two days before

   escrow on the Newport Beach Residence was supposed to close, a

   lawsuit was filed in the Superior Court of California for Orange

   County by a Swiss company named Maseco, S.A., in which Maseco

   claimed that it was entitled to possession and title of the

   Newport Beach Residence.     As a result, the close of escrow was

   delayed significantly due to litigation.

               e.   Ultimately, AVENATTI and L.S. never completed

   their purchase of the Newport Beach Residence.

         64.   As noted above, in 2016, AVENATTI paid to the G.P.

   Family Trust a total of $500,000 from A&A CB&T Account 0661 (see

   supra 9[ 58.d.x) and a total of $200,000 from GBUS CB&T Account

   2240 (see supra 9[ 45).

               4.   Information from AVENATTI's Divorce Proceedings

         65.   On or about January 2, 2018, L.S. filed a declaration

   in connection with the divorce proceedings regarding her

   marriage to AVENATTI.     In the declaration, L.S. said, among

   other things, the following:

               a.   AVENATTI and L.S. were married in May 2011 and

   separated in October 2017.



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              b.    Until November 2017, AVENATTI and L.S. ~~enjoyed a

   lavish marital lifestyle due to [AVENATTI's] multi-million

   dollar annual income."

              c.    In November 2016, AVENATTI told L.S. he had

   earned $3.7 million in 2016.

              d.    L.S. suspected that AVENATTI's actual earnings

   are "substantially higher" than $3.7 million based on his self-

   published verdicts, their family's monthly expenses, and the

   fact that AVENATTI failed to share with her his tax returns or

   bank account records.

               e.   In 2016, L.S. spent approximately $215,643 per

   month on expenses for her and her son.

              f.    AVENATTI and L.S. made an approximately $5.4

   million profit when they sold the Laguna Beach Residence in

   2015.

               g.   AVENATTI's and L.S.'s home in Newport Beach was

   worth approximately $19 million and they were leasing the home

   for a monthly rent of $100,000.      L.S. said that they spent

   "hundreds of thousands of dollars to fully remodel the Newport

   Beach residence."

               h.   AVENATTI and L.S. employed two nannies and

    various housekeepers at a cost of approximately $15,000 per

   month.

               i.   AVENATTI made quarterly payments to L.S. in the

    amount of $60,000 to $80,000 that AVENATTI and L.S. agreed could

    be added to her personal savings.




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               j.   AVENATTI and L.S. spent approximately $30,000 per

   month on travel, entertainment, and gifts.

               k.   L.S. spent approximately $20,000 per month on

   clothing.

               1.   L.S.'s monthly American Express bill typically

   ranged from $60,000 to $70,000 and was always paid in full.

               m.   AVENATTI and L.S. owned two different private

   jets -- one through A&A and one through an entity called

   Passport 420.    L.S. believed each private jet was worth

   approximately $4.5 million.

               n.   AVENATTI and L.S. had an investment in Exclusive

   Resorts.    (See supra 9[ 58.d.xi.)    L.S. indicated that the total

    yearly cost for the investment in, and use of, Exclusive Resorts

   was approximately $158,000.

               o.   In 2017, AVENATTI and L.S. bought an antique

   Ferrari at Ferrari Southbay.

               p.   AVENATTI drives a 2016 Ferrari GT Spider, leased

   in L.S.'s name, valued at $410,000.

               q.   AVENATTI has an extensive watch collection,

   including three or four Patek Phillippe watches AVENATTI told

    L.S. were worth $60,000 to $70,000 each.

               5.   AVENATTI's Statements Regarding His Net Worth

         66.   Based on my review of documents collected in

    connection with this investigation, I have learned that AVENATTI

    previously provided various banks with the following information

    regarding his net worth:




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               a.    On or about May 19, 2013, AVENATTI provided

   HomeStreet with a ~~Personal Balance Sheet."      The Personal

   Balance Sheet indicated that he had: (1) total assets of

   $40,039,000; (2) liabilities of $5,463,000; and (3) a net worth

   of $34,576,000.

               b.    On or about March 11, 2014, AVENATTI provided The

   Peoples Bank with a "Personal Balance Sheet."         The Personal

   Balance Sheet indicated that AVENATTI had (1) total assets of

   $69,583,000; (2) total liabilities of $5,495,000; and (3) a net

   worth of $64,088,000.     At the bottom of the Personal Balance

   Sheet there is a handwritten note signed by AVENATTI which

   states:     ~~The above is true and correct to the best of my

   knowledge as of March 11, 2014."

               c.    On or about November 1, 2014, AVENATTI provided

   The Peoples Bank with an updated "Personal Balance Sheet."            The

   updated Personal Balance Sheet stated that AVENATTI had:

   (1) total assets of $75,698,000; (2) total liabilities of

   $5,456,000; and (3) a net worth of $70,242,000.

         67.    Despite claiming that he had a net worth in 2013 and

   2014 ranging from $34 million to $70 million, AVENATTI did not

   file any personal income tax returns during these tax years.

         F.     Fraud Offenses Relating to The Peoples Bank

         68.    As discussed below, there is probable cause to believe

   that between approximately January 2014 and April 2016 AVENATTI

   engaged in a scheme to defraud The Peoples Bank in Mississippi

   b y submitting false documents, including false tax returns and




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   balance sheets, in connection with three separate loans AVENATTI

   and his companies sought and obtained.

          69.    Based on my review of publicly available information,

   I know that The Peoples Bank, which is located in Biloxi,

   Mississippi, has been federally insured by the Federal Insurance

   Deposit Commission ("FDIC") since approximately 1934.

          70.    Based on my review of records obtained from The

   Peoples Bank, I have learned, among other things, that AVENATTI

   obtained three separate loans from The Peoples Bank during 2014:

   (1) a loan to GB LLC for $850,500 on January 16, 2014 to mature

   on April 15, 2014; (2) a loan to EA LLP for $2,750,000 on March

   14, 2014 to mature on June 15, 2014; and (3) a loan to EA LLP

   for $500,000 on December 12, 2014 to mature on December 12,

   2015.41      I have also reviewed IRS tax records and other bank

   account records that are relevant to these loans.

                 1.   $850,000 Loan to GB LLC in January 2014

          71.    In or about January 2014, AVENATTI sought a three-

   month loan from The Peoples Bank for GB LLC in the amount of

   $850,500 for the specific purpose of "working capital."           I have

   learned, among other things, the following regarding this loan:

                 a.   AVENATTI personally guaranteed the loan, as did

   Doppio, and AVENATTI signed the loan documents as Manager of GB

   LLC.    AVENATTI told C.S. -- the President and CEO of The Peoples




        41 Based on the interview with T.M. and the records
   obtained from The Peoples Bank, I have learned that M.C., an
   individual with whom AVENATTI had a business and litigation
   relationship in Seattle, Washington, introduced AVENATTI to
   C.S., the president and CEO of The Peoples Bank.


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   Bank -- that AVENATTI ~~own[ed] 900 of [GB] LLC through Doppio,

   Inc., which [he] wholly own[ed]."

              b.    The Peoples Bank provided a list of information

   they would need from AVENATTI before the bank could approve the

   loan.   AVENATTI provided numerous documents to The Peoples Bank,

   including financial statements for GB LLC that listed over $41

   million in assets for the company (including over $22 million in

   "International rights") and nearly $38 million in member's

   equity.   AVENATTI also provided GB LLC's Operating Agreement

   dated December 12, 2012, the stock certificates for GB LLC and

   Doppio, and an irrevocable stock transfer signing over the stock

   certificates as collateral for the loan.

              c.    The Peoples Bank also told AVENATTI that, prior

   to authorizing the loan, the bank needed a "Taxpayer Statement

   and copy of most recent filed tax return."       The Peoples Bank had

   a copy in its files of AVENATTI's 2011 U.S. Individual Income

   Tax Return (Form 1040).     The AVENATTI 2011 Form 1040 that was

   provided to the bank listed AVENATTI's total income and adjusted

   gross income as $4,562,881, and indicated that he owed the IRS

   $1,506,707 in taxes for the 2011 tax year.       The 2011 Form 1040

   listed M.H. as the preparer.     Based on a review of IRS records,

   however, I know that AVENATTI did not file any IRS Form 1040 for

   the 2011 tax year nor did he pay any taxes to the IRS for the

   2011 tax year.

              d.    The Peoples Bank approved the loan and wired the

   loan proceeds to GB LLC's HomeStreet account, pursuant to

   AVENATTI's wire instructions.     A third party, J.R.C., then



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   accepted assignment of the loan and became the "grantor" on the

   loan requiring AVENATTI to repay the loan to J.R.C.

               2.   $2,750,000 Loan to EA LLP in March 2014

         72.   In early March 2014, AVENATTI sought and obtained a

   three-month loan from The Peoples Bank for EA LLP in the amount

   of $2.75 million.    I have learned, among other things, the

   following information regarding this loan:

               a.   AVENATTI told The Peoples Bank that the $2.75

   million loan to EA LLP would be used to repay J.R.C. for the

   earlier $850,000 loan (plus interest), and for "working

   capital."

               b.   When seeking the loan, AVENATTI said that his

   firm was due approximately $19 million shortly from the

   settlement of the Scott v. SCI litigation, and that EA LLP and

   AVENATTI would sign a commercial pledge agreement requiring the

   escrow company in charge of the settlement proceeds to pay off

   the loan from The Peoples Bank first upon disbursement of the

   settlement funds.    AVENATTI submitted a commercial loan

   application, which he signed both individually and on behalf of

   EA LLP.     In the loan application, AVENATTI claimed that, as of

   March 10, 2014, EA LLP had assets and a net worth of

   approximately $21 million, and had income and revenues of

   approximately $15.7 million.     AVENATTI also submitted Balance

   Sheets and Profit and Loss Statements for EA LLP through March

   10, 2014, which stated, among other information, that the firm

   earned over $40 million in total income from January 2011

   through March 10, 2014.



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               c.   Additionally, AVENATTI emailed The Peoples Bank

   what purported to be EA LLP's 2012 U.S. Partnership Return, Form

   1065 ("Peoples Bank 2012 Form 1065").       The Peoples Bank 2012

   Form 1065, which stated that it was "Firm Prepared," declared

   that in 2012 EA LLP had gross receipts and total income of

   slightly over $11.4 million, and ordinary business income

   (calculated after subtracting expenses and deductions from the

   total income) of approximately $5.8 million.        The Peoples Bank

   2012 Form 1065 also attached a Schedule K-1, which showed the

   distribution of income or loss to the partners.         The Schedule K-

   1 attached to the Peoples Bank 2012 1065 showed that AVENATTI,

   through A&A, received $4,364,592 in income from EA LLP in 2012.

               d.    I have reviewed the 2012 U.S. Partnership Return,

   Form 1065, that EA LLP actually filed with the IRS ("IRS 2012

   Form 1065") on October 8, 2014, and compared it to the Peoples

   Bank 2012 Form 1065 AVENATTI submitted in March 2014.         AVENATTI

   signed the IRS 2012 Form 1065 under penalty of perjury as the

   member manager.     The IRS 2012 Form 1065 was prepared by M.H.

   (the CPA in Los Angeles, California, who served as the POA for

   GBUS).   The IRS 2012 Form 1065 listed gross receipts and total

   income of approximately $6.2 million, and an ordinary business

   loss of approximately $2.13 million.       The Schedule K-1 attached

   to the IRS 2012 Form 1065 listed an ordinary loss of

   approximately $1.6 million to A&A.       Thus, the 2012 Form 1065

   AVENATTI provided to The Peoples Bank claimed over $5.2 million

   more of gross receipts and nearly $8 million in additional

   ordinary business income (the difference between the business



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   income on the Peoples Bank 2012 Form 1065 and the business loss

   on the IRS 2012 Form 1065) than was reported on the actual Form

   1065 that was filed with the IRS.

               e.   On or about March 14, 2014, the loan in the

   amount of $2.75 million was approved with a maturity date of

   June 15, 2014.    In support of the loan, AVENATTI signed

   commercial pledge agreements on behalf of EA LLP, GB LLC, and

   Doppio, and a personal commercial guaranty.       AVENATTI also

   signed a loan disbursement request, which instructed The Peoples

   Bank to repay J.R.C. the approximately $884,165.63 that was owed

   from the January 2014 $850,000 loan (plus interest), and to wire

   the remaining $1,824,584 to an EA LLP bank account at CB&T.

               f.   On or about May 23, 2014, after the Scott v. SCI

   settlement was finalized, the escrow company wired approximately

   $2,787,430 to The Peoples Bank to pay off the outstanding

   balance of the March 2014 loan.

               3.   $500,000 Loan to EA I~LP in December 2014

         73.   In December 2014, AVENATTI obtained a $500,000 loan

    from The Peoples Bank to EA LLP.     I have learned, among other

    things, the following information regarding this loan:

               a.   On November 10, 2014, AVENATTI emailed C.S. at

    The Peoples Bank to follow up on a prior discussion in which

    AVENATTI sought a $2.5 million line of credit from the bank for

    EA LLP to provide working capital for the needs of the law firm.

    AVENATTI offered certain guarantees and protections to the bank,

    including pledging an interest in an ongoing litigation to the




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   bank and a full security agreement to secure the loan, and to

   provide any further financial information the bank needed.

              b.    Two days later, on November 12, 2014, AVENATTI

   sent an additional email to C.S. attaching a spreadsheet that

   included EA LLP's ~~expected and estimated contingency fees in

   2015."   The spreadsheet indicated that the firm expected to

   receive approximately $165 million in gross recoveries from

   contingency cases, and the net costs and attorneys' fees due to

   EA LLP from these contingency cases would be approximately $47.6

   million.   AVENATTI further explained that the attached expected

   earnings of the firm "obviously does not reflect our projected

   gross hourly revenue from non-contingency cases in 2015."

              c.    On November 15, 2014, the bank told AVENATTI that

   for the bank to consider and move forward on the credit

   facility, AVENATTI would need to provide: an updated personal

   balance sheet; personal income tax returns for 2012 and 2013;

   interim internal financials of EA LLP through September or

   October 2014; and an audited financial statement for GB LLC and

   its subsidiaries.

               d.   Later on November 15, 2014, AVENATTI emailed back

   his personal balance sheet as of November 1, 2014, and stated

   that he would get the bank the other requested documents later.

    AVENATTI noted, however, that GB LLC and its subsidiaries did

    not have audited financials on an annual basis, but that there

    had been no material change to the audited GB LLC balance sheet

    from sixteen months earlier, which AVENATTI had previously

    provided to the bank.    On the personal balance sheet, AVENATTI



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   listed over $75 million in total personal assets and a net worth

   of over $70 million.    (See supra 9[ 66.c.)

              e.    On November 16, 2014, AVENATTI emailed The

   Peoples Bank the updated financials for EA LLP, including a

   Profit and Loss Statement, and a Balance Sheet for January 2014

   through September 2014.     The Profit and Loss Statement listed EA

   LLP's total income for the year up through September 2014 as

   approximately $23.4 million and its net income as approximately

   $18.2 million.    The EA LLP Balance Sheet for the same time

   period claimed total current assets of over $31 million and net

   income of over $27 million (which is $9 million more than listed

   on the Profit and Loss statement for the same period).          In

   addition, the EA LLP Balance Sheet that AVENATTI provided the

   bank indicated that EA LLP had approximately $712,729 in its

   operating account with CB&T (~~EA LLP CB&T Account 8461"), as of

   September 30, 2014.     Based on a review of the CB&T bank records,

   however, I know that EA LLP CB&T Account 8461 had a balance of

   approximately $27,710 as of September 30, 2014.

              f.    On November 22, 2014, C.S. at The Peoples Bank

   emailed AVENATTI stating that the bank still needed financial

   information on GB LLC (even if not audited) and AVENATTI's

   personal tax returns for 2012 and 2013.        Soon thereafter,

    AVENATTI replied that he "had asked that the remaining info be

   forwarded to you [C.S.] and will follow-up in short order."

               g.   On November 25, 2014, AVENATTI emailed C.S. and

    attached a Profit and Loss Statement and Balance Sheet for GB

    LLC as of November 2, 2014, which listed the company's total



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   assets as approximately $41.3 million and total equity of

   approximately $35.4 million.

              h.    On or about December 1, 2014, AVENATTI provided

   The Peoples Bank with what were purported to be his 2012 and

   2013 U.S. Individual Income Tax Returns (IRS Forms 1040).42

              i.    The 2012 IRS Form 1040 that AVENATTI provided to

   the Peoples Bank, included the following information: AVENATTI's

   filing status was ~~single;"43 AVENATTI's total income and

   adjusted gross income were $5,423,099; the total tax due was

   $1,790,744; AVENATTI had made $1,600,000 in estimated tax

   payments in 2012 and still owed $190,744 in taxes; and the

   return was prepared by M.H.     According to IRS records, however,

   AVENATTI did not file a 2012 Form 1040, and did not make any tax

   payments toward his 2012 individual tax liability.

              j.    Both the ~~draft" and subsequent version of the

   2013 Form 1040 that AVENATTI provided to The Peoples Bank

   included the following information: AVENATTI's filing status was

   `single;" AVENATTI's total income and adjusted gross income were

    $4,082,803; AVENATTI had paid $1,353,511 to the IRS in 2013

    ($1,250,000 in estimated tax payments and $103,511 in


         42 The Peoples Bank deemed the 2013 IRS Form 1040 they
    received from AVENATTI via email on December 1, 2014, as a draft
    because they received a slightly different and updated 2013 IRS
    Form 1040 soon thereafter. The Peoples Bank also received 2011
    and 2012 IRS Forms 1040 for AVENATTI. However, neither the 2011
    Form 1040, 2012 Form 1040, nor the updated 2013 Form 1040 were
    attached to an email, so the bank is not certain if they
    received the documents via United States Postal Service or
    another method.
         43 AVENATTI married L.S. in 2011, however, the 2012 Form

    1040 listed AVENATTI as single rather than married filing
    jointly or separately.


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   withholdings from W-2s or 1099s); and the return was prepared by

   M.H.   The "draft" 2013 Form 1040 stated AVENATTI owed $1,305,482

   in taxes for calendar year 2013, and based on his tax payments

   durinc~~the year, he wanted $48,029 applied to his 2014 estimated

   tax.   The subsequent 2013 Form 1040 provided to The Peoples Bank

   claimed AVENATTI owed $1,459,000 in taxes for calendar year

   2013, and that based on his tax payments during the year, he

   owed $105,489 to the IRS.      According to IRS records, however,

   AVENATTI did not file a 2013 Form 1040, did not make any

   estimated tax payments toward his 2013 individual tax liability,

   and did not have any tax withholdings in 2013.

               k.    Although AVENATTI initially requested a $2.5

   million line of credit for EA LLP, after receiving the required

   documentation from AVENATTI, The Peoples Bank issued EA LLP a

   $500,000 loan on December 12, 2014, which was set to mature on

   December 12, 2015.     The loan was guaranteed by AVENATTI

   individually and by AVENATTI on behalf of EA LLP, GB LLC, and

   Doppio.   AVENATTI also signed a Commercial Pledge Agreement in

   which EA LLP agreed to the "Assignment of the first $500,000

   plus interest of settlement proceeds in the Meridian related

   cases, said attorney's fees to be $10.5 million plus out of

   pocket costs for class counsel [EA] LLP."        M.C., who was the

   individual that initially put AVENATTI in touch with C.S. at The

   Peoples Bank, was serving as the Meridian Liquidating Trustee on

   the litigation.     As part of the loan documents, on December 12,

   2014, AVENATTI also signed a disbursement request and




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   authorization, which stated that the ~~specific purpose of this

   loan is: Case Costs and Working Capital."

              1.    On December 12, 2014, The Peoples Bank wired the

   loan proceeds, $494,500, to EA CB&T Account 8461.         The same day,

   $350,000 was wired to a bank account for a lawyer who worked for

   EA LLP, and $105,000 was transferred to A&A CB&T Account 0661.

              m.    On February 24, 2015, M.C. informed C.S. at The

   Peoples Bank that the Meridian case settled and AVENATTI would

   be receiving approximately $2.5 million as part of the

   settlement.     M.C. wanted to know if he had signed an assignment

   of proceeds to The Peoples Bank so he could determine where to

   send AVENATTI's money.     C.S. told M.C. that EA LLP was obligated

   to pay off the loan, and said the bank could give AVENATTI the

   pay-off amount if he called.

              n.     On June 6, 2015, C.S. sent M.C. an email

   (forwarding the February 24, 2015 emails) after realizing that

   neither EA LLP nor AVENATTI had paid off the $500,000 loan to

   The Peoples Bank in February 2015 after the Meridian settlement.

   M.C. then forwarded the email to AVENATTI (copying C.S.) asking

   AVENATTI what his status or plan for the loan was.         The bank's

   records do not show AVENATTI replied to the email.

              o.     On November 14, 2015, The Peoples Bank emailed

   AVENATTI regarding the $500,000 loan to EA LLP, which would be

   maturing on December 12, 2015.      The Peoples Bank wanted to get

   an update because the bank's files showed it was supposed to be

   paid off months earlier with the proceeds of the Meridian

   settlement.     Approximately 30 minutes later, C.S. emailed



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   AVENATTI thanking him for the quick response to the prior email

   (presumably, AVENATTI responded by phone), and C.S. told

   AVENATTI that he would need to pay off his current loan before

   The Peoples Bank could establish a line of credit for EA LLP as

   AVENATTI sought.     C.S. also provided a list of documentation

   that AVENATTI would need to provide before the bank could

   authorize a line of credit.

              p.    On December 23, 2015, C.S. responded to the above

   emails and informed AVENATTI that the loan matured on December

   12, 2015, and wanted to make sure the loan was paid off by the

   end of the year.

              q.    From February through April 2016, C.S. and others

   from The Peoples Bank reached out to AVENATTI on numerous dates

   to get an update on the past-due loan and find out when AVENATTI

   was going to pay off the loan.      On a couple of occasions,

   AVENATTI said that a wire to pay off the loan would be coming by

   a certain date, but the money was never transferred to the bank.

              r.    In April 2016, C.S. informed AVENATTI that the

   bank would send the loan to its collections department on April

   20, 2016, if the loan was not paid off by then, which would

    result in additional costs and fees to AVENATTI.        On April 20,

    2016, AVENATTI emailed the bank attaching documentation

    establishing that he would soon receive proceeds from a case and

    would instruct that the first part of the settlement proceeds be

    used to pay The Peoples Bank.

               s.   On April 22, 2016, the $500,000 EA LLP loan was

    finally paid off.



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         G.    Fraud Offenses Relating to the $1.6 Million G.B.
               Settlement

         74.   As discussed below, there is probable cause to believe

   that AVENATTI: (a) defrauded EA LLP's client, G.B., out of his

   portion of an approximately $1.6 million settlement payment;

   (b) used the settlement proceeds for AVENATTI's own purposes;

   and (c) failed to disclose in the EA Bankruptcy that he had

   received the $1.6 million settlement payment, despite being

   aware that he was required to do so.

         75.   On or about January 14, 2019, G.B. filed an

   arbitration claim alleging that AVENATTI received $1.6 million

   in settlement proceeds from a prior arbitration proceeding

    against a Colorado-based company ("Company 1") and failed to

    turn over G.B.'s portion of the settlement proceeds to G.B.

    G.B. also reported the alleged fraud to the Federal Bureau of

    Investigation and Newport Beach Police Department.         I have

    reviewed various records relating to G.B.'s claim, including,

    but not limited to, documents provided to the government by

    G.B.'s present counsel and by D.S., Company 1's counsel in the

    arbitration, and bank records from City National Bank.44           Based

    on my review of these documents and records, I have learned,

    among other things, the following:

               a.   In approximately July 2014, G.B. retained EA LLP

    to represent him in various litigation matters, including an

    intellectual property dispute against Company 1.         The fee


           I have learned that G.B. pleaded guilty to a felony theft
          44

    count and received a term of probation. As such, I have relied
    primarily on the documentary evidence I have reviewed as it
    relates to possible fraud committed against G.B.


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   agreement entered into by G.B. and AVENATTI on behalf of EA LLP,

   included a 40 percent contingency agreement based on the amount

   of the recovery.    After AVENATTI and EA LLP initially filed a

   civil complaint in federal court on behalf of G.B. against

   Company 1, the parties agreed to handle the case through private

   arbitration in Colorado.

              b.     On December 22, 2017, D.S. sent AVENATTI a draft

   settlement agreement to resolve the arbitration, which required

   Company 1 to pay G.B. $1.9 million, with $1.6 million due on

   January 10, 2018, and $100,000 due on January 10 of the three

   subsequent years.

              c.     On December 26, 2017, AVENATTI sent an email to

   D.S. with a Microsoft Word document entitled, "MJA Revised

   Draft," which still had the same payment amounts and dates.

   AVENATTI also stated in the email that he would provide wire

   instructions immediately prior to the execution of the

   agreement.

                d.   On December 27, 2017, AVENATTI sent another

   Microsoft Word document titled "Further Revised," to D.S., which

   was a revised version of the settlement agreement, with red-

   lines of the revisions AVENATTI made to the document.          This

   revised settlement agreement also set the payment due dates as

   January 10, 2018 through 2021.      The primary change AVENATTI made

   to this draft of the settlement agreement was to remove the

   requirement that the settlement payment be sent via wire

   transfer to a specific account identified in the agreement and

   instead required that the settlement payment be sent via wire



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   transfer to an account that AVENATTI would identify to D.S. via

   email by January 3, 2018.

                e.   On December 28, 2017, D.S. emailed AVENATTI a

   copy of the fully executed settlement agreement with both

   parties' signatures, as well as a stipulation to dismiss the

   matter from arbitration.     The settlement agreement again listed

   the payment dates as January 10, 2018 through 2021.

                f.   The copy of the settlement agreement that was

   provided to G.B., however, listed the payment dates for the $1.9

   million settlement as $1.6 million on March 10, 2018, and

   $100,000 on March 10 of each of the next three years.

                g.   On January 2, 2018, AVENATTI emailed D.S. with

   instructions to wire the settlement money to a City National

   Bank attorney trust account ending in 5566 ("CNB Trust Account

   5566").45    AVENATTI also wanted to confirm ~~that we are on

   track."     D.S. responded that they were ~~on track."

                h.   On January 5, 2018, Company 1 wired the $1.6

   million settlement into CNB Trust Account 5566 as directed by

   AVENATTI.     City National Bank records confirm that the $1.6

   million wire transfer was received in CNB Trust Account 5566.

   Prior to the $1.6 million wire transfer, CNB Trust Account 5566

   had a balance of $0.

                i.   None of the $1.6 million in settlement funds that

   were deposited into CNB Trust Account 5566 were ever paid to

   G.B.    Rather, between January 5, 2018, and March 14, 2018,


          4s   City National Bank records show that AVENATTI opened CNB
   Trust Account 5566 on December 28, 2017, the same date the
   settlement agreement was finalized and executed.


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   AVENATTI caused approximately $1,599,058 to be paid out of CNB

   Trust Account 5566 for his own personal purposes, including the

   following payments:

                    i.    approximately $617,000 to a Florida-based

   attorney AVENATTI worked with on an unrelated contingency case;

                    ii.   a total of approximately $350,000 paid to EA

   LLP bank accounts;

                    iii. a total of approximately $200,000 to GBUS

   and vendors of GBUS;

                    iv.   a total of approximately $112,000 to a bank

   account in the name of "Michael Avenatti, Esq.";

                    v.    approximately $46,000 to The X-Law Group;

   and

                    vi.   approximately $27,000 to Dennis Brager, the

   lawyer who was representing GBUS in the IRS payroll collection

   case.

              j.    G.B. sent numerous text messages and emails to

   AVENATTI between January 2018 and November 2018.         These text

   messages are consistent with G.B.'s claims that he believed the

   first settlement payment was due on March 10, 2018; did not know

   that Company 1 had made the $1.6 million settlement payment; and

   did not know that AVENATTI had received the settlement payment

   in January 2018.

              k.    As set forth below, beginning on March 10, 2018,

   the date that G.B. believed the settlement proceeds from Company

   1 would be arriving, G.B. repeatedly asked AVENATTI if he had

   received the settlement proceeds, whether AVENATTI had heard



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   anything from Company 1 regarding when the money would arrive,

   and what, if anything, G.B. and AVENATTI could do to get the

   money G.B. was owed.    It appears that AVENATTI did not respond

   to most of the messages from G.B. to AVENATTI relating to the

   settlement payment from Company 1.       G.B. also made clear to

   AVENATTI that he had would be having financial difficulties

   without the settlement proceeds and that it was imperative for

   G.B. to get the money.

                    i.    On or about March 10, 2018, G.B. sent a text

   message to AVENATTI stating "I was just thinking is this a big

   day from our friends at [Company 1]?"

                    ii.   On March 12, G.B. sent AVENATTI a text

   message in which he said "[h]ere is my account information for

   the wire."

                    iii. On March 13, 2018, G.B. sent AVENATTI a text

   message saying, among other things, "any word on that wire from

   [Company 1]?"

                    iv.   On March 14, 2018, G.B. sent AVENATTI a text

   message saying that he needed the settlement money and would be

   in trouble without the cash because he had made investments over

   the last four months in reliance on the settlement money coming

   in.   The next day, March 15, 2018, AVENATTI replied, ~~Let's chat

   today - I'm sure it will be resolved."

                    v.    Over the next couple weeks, G.B. sent

   several additional text messages to AVENATTI explaining how

    concerned G.B. was and expressing his need for the settlement

    money.   On March 23, 2018, AVENATTI texted G.B. back and told



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   him ~~don't worry.     Let's chat tmrw.   We will figure this out.

   Michael."

                    vi.    Through the rest of March to May 2018, G.B.

   repeatedly asked AVENATTI about the money, whether AVENATTI had

   heard from Company 1 about when the money was going to be sent,

   and what actions G.B. and AVENATTI could take to cause Company 1

   to pay the agreed-upon settlement.        AVENATTI never told G.B. the

   money had already come in.      AVENATTI, however, agreed via text

   message to provide G.B. `advances" of money to assist him with

   expenses.   Based on records provided by G.B.'s attorney, it

   appears that AVENATTI "advanced" G.B. approximately $130,000

   between April 2018 and November 2018.

                    vii. Throughout October 2018 and up until

   approximately November 16, 2018, G.B. sent numerous text

   messages and emails to AVENATTI again describing G.B.'s dire

   financial situation and asking numerous questions about what

   actions they could take going forward to get G.B. his money.

   AVENATTI did not respond to most of the messages, but on a few

   occasions, AVENATTI replied, saying he was working on a solution

   and they could set a time to talk.        AVENATTI never responded in

   writing to G.B.'s specific questions regarding the Company 1

   settlement.

               1.   On or about November 16, 2018, after retaining

   new counsel to attempt to collect his settlement proceeds, G.B.,

   through his counsel, learned that the actual settlement

   agreement had provided for the initial $1.6 million dollars to

   be paid on January 10, 2018, as opposed to March 10, 2018, as



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   G.B. had been led to believe, and that Company 1 had in fact

   made the $1.6 million settlement payment on January 5, 2018.

                   m.   On November 17, 2018, G.B.'s new counsel sent a

   letter to AVENATTI via email, which stated that G.B. had been

   led to believe that Company 1 had not made the initial $1.6

   million payment required under the settlement agreement and

   sought confirmation of this fact.            The letter also requested a

   true and correct copy of the Settlement Agreement and any fee

   agreements AVENATTI and EA LLP had with G.B.            Finally, the

   letter requested that if the settlement money had actually

   already been paid, to provide an immediate accounting concerning

   the funds.

                   n.   At approximately 10:12 p.m. on November 17, 2018,

   AVENATTI sent two text messages to G.B. stating ~~Pls call me"

   and ~~What is this all about? Pls call me ASAP."46          AVENATTI also

   called G.B.'s phone twice that night and left a voicemail at

   approximately 10:14 p.m., which included, in part, AVENATTI

   stating, "Give me a call when you get a chance.            I mean as soon

    as possible if you get this please it's urgent.           Thank you."     At

    approximately 10:26 p.m., AVENATTI sent G.B. an email saying, "I

    just tried you on your cell.        Please call me when you receive

    this.        Thanks, Michael."   To date, AVENATTI never responded to

    or provided documents as requested in the letter G.B.'s counsel

    sent AVENATTI on November 17, 2018.



            Although AVENATTI was on notice that G.B. was represented
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    b y new counsel and had been contacted by said counsel rather
    than by G.B., AVENATTI contacted G.B. directly and made no known
    effort to communicate with G.B.'s new counsel.


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         76.   As noted in paragraph 51 above, in connection with the

   EA Bankruptcy, EA LLP and AVENATTI were required to file with

   the Bankruptcy Court a MOR each month.       AVENATTI, however, never

   disclosed the $1.6 million settlement payment from the G.B. case

   nor the existence of CNB Trust Account 5566 to the Bankruptcy

   Court, as he was required to do.47       Rather, on February 15, 2018,

   AVENATTI signed and filed EA LLP's January 2018 MOR under

   penalty of perjury, which falsely stated that EA LLP had total

   receipts of approximately $232,221 during January 2018, based

   solely on deposits into the EA LLP's DIP CB&T bank account.

   Additionally, approximately $141,113 out of the $232,221

   reported on the MOR was made up of two cashier's checks written

   from CNB Trust Account 5566, which came from the settlement

   proceeds.    By using cashier's checks for these payments from CNB

    Trust Account 5566, AVENATTI hid the existence of this bank

    account from the Bankruptcy Court and EA LLP's creditors.

    Finally, based on the records it is clear that G.B. was

    represented by EA LLP in his case against Company 1; thus, I

    understand that any payment AVENATTI received from the G.B. case

    would be property of the bankruptcy estate.

        V.     ADDITIONAL INFORMATION REGARDING THE SUBJECT DEVICES

         A.     Collection of the Subject Devices

         77.    SUBEJECT DEVICE 1:   On October 5, 2018, M.E. was

    served with a subpoena demanding that she produce certain



         47 It appears that AVENATTI also failed to disclose in the
    EA Bankruptcy the payments he received in connection with his
    representation of M.P. and L.T. and the CNB bank account into
    which such payments were deposited. (See supra page 103 n. 31.)


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   records relating to GBUS and GB LLC, including any digital

   devices used to conduct business on behalf of GBUS, GB LLC, and

   other related entities.     On October 22, 2018, M.E. met with me

   and IRS-CI SA John Weeks48 to produce responsive records.          M.E.

   consented to have IRS-CI copy and secure evidence from her

   laptop computer.    SA John Weeks took possession of the laptop,

   created an image of the laptop's hard drive (SUBJECT DEVICE 1),

   and returned the laptop to M.E.      M.E. also produced a number of

   hard copy GBUS emails responsive to the subpoena.         The hard copy

   emails were sealed in an envelope, marked as potentially

   tainted, and sent to a PRTAUSA in Los Angeles.49        Neither the

   contents of SUBJECT DEVICE 1 nor the hard copy records produced

   b y M.E. have been reviewed by me or any other member of the

   prosecution team.    Based on my discussions with M.E., however, I

   understand that SUBJECT DEVICE 1 contains copies of her GBUS

   emails and other GBUS records.

         78.    SUBJECT DEVICE 2:   On October 5, 2018, S.F. was served

    with a subpoena demanding that she produce certain records

    relating to GBUS and GB LLC, including any digital devices used

    to conduct business on behalf of GBUS, GB LLC, and other related

    entities.    On October 21, 2018, SA James Kim and I met with S.F.

    to obtain records responsive to the subpoena.        S.F. produced to




         48  SA Weeks is an IRS Computer Investigative Specialist
    (~~CIS")   SA Weeks is not part of the investigative team.
    Rather, SA Weeks involvement in this investigation has been
    limited to the forensic collection of digital evidence.
         49 Because the hard copy documents were produced by M.E. in
    response to specific requests in the subpoena, the government is
    not seeking a warrant to search these documents.


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   us two boxes of documents, which she indicated consisted of GBUS

   mail and invoices.     S.F. also consented to have IRS agents copy

   and secure evidence from her laptop computer, and allowed us to

   take temporary custody of the computer.      SA Weeks subsequently

   created a forensic image of S.F.'s laptop (SUBJECT DEVICE 2),

   which we returned to her on October 25, 2018.         The contents of

   SUBJECT DEVICE 2 have not been reviewed by me or any other

   member of the prosecution team.      Based on my discussions with

   S.F., however, I understand that SUBJECT DEVICE 2 contains

   copies of her GBUS emails and other GBUS records.         The hard copy

   documents were mailed to IRS-CI's office in Laguna Niguel and

   reviewed by an IRS-CI privilege review SA.       The privilege review

   SA confirmed, after consulting with a PRTAUSA, that the hard

   copy documents did not contain potentially privileged

   information, and then released them to me to review.

         79.    SUBJECT DEVICE 3:   On October 5, 2018, M.G. was

    served with a subpoena demanding that she produce certain

    records relating to GBUS and GB LLC, including any external hard

    drives that she used to store business records relating to GBUS,

    GB LLC, and other entities.     On October 22, 2018, M.G. met with

    me and SA Weeks to produce responsive records.        M.G. consented

    to have IRS-CI copy and secure evidence from her external hard

    drive.     SA Weeks took possession of the hard drive, created a

    forensic image of the hard drive (SUBJECT DEVICE 3), and

    returned the hard drive to M.G.     M.G. also consented to have

    IRS-CI secure all text messages between her and RO 1, which SA

    Weeks retrieved from her cell phone.      Neither the contents of



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   SUBJECT DEVICE 3 nor the text messages have been reviewed by me

   or any other member of the prosecution team.          Based on my

   discussions with M.G., however, I understand that SUBJECT DEVICE

   3 contains copies of M.G.'s GBUS emails and other GBUS records.

          80.   SUBJECT DEVICE 4:   On October 22, 2018, V.S. was

   served with a subpoena demanding that he produce certain records

   relating to GBUS and GB LLC, including any digital devices used

   to conduct business on behalf of GBUS, GB LLC, and other related

   entities.     In response to the subpoena, on October 29, 2018, I

   received SUBJECT DEVICE 4 and certain hard copy records from

   V.S.    SUBJECT DEVICE 4 was sent to IRS-CI SA John Weeks to

   download and secure the evidence.        The hard copy documents were

   sealed and then provided to an IRS-CI privilege review SA.            The

   privilege review SA confirmed, after consulting with a PRTAUSA,

   that the hard copy documents did not contain potentially

   privileged information, and then released the documents to me to

   review.      The contents of SUBJECT DEVICE 4 have been not reviewed

   b y me or any other member of the prosecution team.         Based on my

   discussions with V.S., however, I understand that SUBJECT DEVICE

   4 contains copies of V.S.'s GBUS emails and other GBUS records.

          81.   SUBJECT DEVICE 5 and SUBJECT DEVICE 6:       On October 25,

   2018, A.G. was served with a subpoena demanding that he produce

   certain records relating to GBUS and GB LLC, including any

   digital devices used to conduct business on behalf of GBUS, GB

   LLC, and other related entities.      On November 13, 2018, A.G. met

   with me and an IRS CIS, and provided us with a Seagate external

   hard drive and Veeam 2GB flash drive.        A.G. consented to have



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   IRS-CI copy and secure the evidence from these devices.          An IRS

   CIS took possession of the devices, created forensic images of

   the hard drive (SUBJECT DEVICE 5) and the flash drive (SUBJECT

   DEVICE 6), and then returned the devices to A.G. the next day.

   Based on my discussions with A.G., I understand that SUBJECT

   DEVICE 5 and SUBJECT DEVICE 6 contain GBUS business records,

   including GBUS business records that an IT consultant, J.S.,

   downloaded from the AWS cloud server before AWS and 2nd Watch

   discontinued GBUS's services for non-payment of its fees.           The

   contents of SUBJECT DEVICE 5 and SUBJECT DEVICE 6 have not been

   reviewed by me or any other member of the prosecution team.

         82.   SUBJECT DEVICE 7:   On November 20, 2018, SA Weeks

   received from A.G. a Seagate external hard drive50 containing

   additional records responsive to the October 25, 2018, subpoena.

   SA Weeks then created a forensic image of the hard drive

   (described herein as SUBJECT DEVICE 7)        I then mailed the

   device back to A.G. on December 3, 2018.       Based on my

   discussions with A.G. and SA Weeks, I understand that SUBJECT

   DEVICE 7 contains approximately 1.5 million emails that J.S.

   downloaded from the AWS cloud server before GBUS's services were

   discontinued.    SA Weeks further advised me that SUBJECT DEVICE 7

   contains a number of GBUS email mailboxes, including email

   mailboxes associated with the following former GBUS employees:

   A.G.; B.H.; M.D.; M.E.; M.G.; S.F.; T.M.; and V.S.          Notably,



        so I understand that A.G. used the same Seagate external
   hard drive he provided to IRS-CI on November 13, 2018, to
   produce this additional data to IRS-CI.



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   SUBJECT DEVICE 7 does not appear to contain any email mailboxes

   associated with AVENATTI.51     Although SA Weeks provided me with a

   list of the email mailboxes stored on SUBJECT DEVICE 7, the

   specific contents of SUBJECT DEVICE 7 have not been reviewed by

   me or any other member of the prosecution team.

         B.    The SUBJECT DEVICES Are Unlikely to Contain Attorney-
               Client Privileged Communications or Records

         83.   Although AVENATTI is a licensed attorney and has

   previously claimed in connection with the IRS collection case

   that he served as GBUS's General Counsel, it is highly unlikely

   that the SUBJECT DEVICES will contain information protected by

   the attorney-client privilege for the following reasons:

               a.     First, on February 19, 2019, the GBUS Trustee

   (see supra Section IV.C.7) executed a written waiver of the

   attorney-client privilege as to any communications between

   GBUS's officer, directors, employees, and agents, and any lawyer

   acting on GBUS's behalf, including any communications with

   AVENATTI.52      The Trustee has also consented to a search of the




        sl As noted in Section IV.C.3 above, multiple former GBUS
   employees indicated that although AVENATTI had a GBUS email
   account, he did not use it to conduct business on behalf of
   GBUS, and used his EA LLP email account instead.
        5z The written waiver is limited to attorney-client
   communications prior to the filing of the involuntary bankruptcy
   petition on October 24, 2018, and does not cover communications
   between the GBUS Trustee and any lawyers acting on behalf of the
   GBUS Trustee. Based on when the SUBJECT DEVICES were collected
   and my discussions with the former GBUS employees regarding the
   general contents of the SUBJECT DEVICES, I do not believe the
   SUBJECT DEVICES include any communications that occurred or
   records that were created after October 24, 2018, or any
   communications involving the GBUS Trustee.


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   SUBJECT DEVICES.    A copy of the Trustee's written waiver of the

   attorney-client privilege is attached hereto as Exhibit 1.

               b.   Second, the former GBUS employees who have been

   interviewed during the investigation have all indicated that

   AVENATTI primarily, if not exclusively, served in a business

   capacity, and did little to no legal work for GBUS.           Indeed, all

   of the former GBUS employees considered AVENATTI to be the CEO

   and Chairman of GBUS, as opposed to its General Counsel.            It is

   therefore highly unlikely that any of the former GBUS employees'

   emails contained on the SUBJECT DEVICES would constitute

   attorney-client privileged communications.         But, to the extent

   AVENATTI was acting as GBUS's lawyer, any of the individual GBUS

   employees' communications with AVENATTI are covered by the

   Trustee's written waiver of the attorney-client privilege

   referenced in paragraph 83.a above and attached hereto as

   Exhibit 1.

         84.    Third, I understand AVENATTI could potentially assert

   that he had an individual attorney-client relationship with

   certain lawyers that also represented GBUS, such as the

   Eisenhower law firm, which represented GBUS in the Bellevue

   Square Litigation, or The Brager Tax Law Group.          I have no

   reason to believe, however, that communications between AVENATTI

   and any lawyers representing him in an individual capacity are

   contained on the SUBJECT DEVICES.          Based on the evidence

   collected to date and witness interviews, I understand that

   AVENATTI exclusively used his EA LLP email account to conduct

    business on behalf of GBUS.     Further, to the best of my



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   knowledge, the SUBJECT DEVICES do not contain a backup of

   AVENATTI's GBUS email account, which in any case GBUS employees

   said AVENATTI never used.s3

         85.    For the foregoing reasons, I believe that the SUBJECT

   DEVICES will contain limited, if any, attorney-client

   communications and that any such attorney-client communications

   on the SUBJECT DEVICES are subject to the written waiver of the

   attorney-client privilege executed by the Trustee for GBUS.

   Accordingly, a privilege review search protocol that encompasses

   all of AVENATTI's communications with GBUS employees is

   unnecessary and would significantly delay this investigation.

   Nevertheless, as set forth in Attachment B to the search warrant

   application, a privilege review team will conduct a limited

   search of the devices for communications with the following five

   law firms with which AVENATTI may claim that he had an

   individual attorney-client relationship: (a) Foster Pepper PLLC;

   (b) Osborn Machler PLLC; (c) Eisenhower Carlson PLLC; (d)

    T almadge/Fitzpatrick/Tribe, PPLC; and (e) The Brager Tax Law

    Group.     The search team will also be advised of the possibility

    that AVENATTI could claim that he had an individual attorney-

    client relationship with other law firms or lawyers.            To the

    extent the search team discovers any individual communications

    between AVENATTI and lawyers from the five identified law firms



         53 To the extent any of the SUBJECT DEVICES do in fact

    contain a backup of AVENATTI's GBUS email accounts, paragraph 8
    of Attachment B to the search warrant application requires that
    any such email accounts be immediately segregated and not
    searched or reviewed absent further authorization from the
    Court.


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   or any other law firms, the search team will immediately cease

   its review of those communications and provide them to the

   PRTAUSA for further review and, if necessary, relief from the

   Court.

               VI.   TRAINING AND EXPERIENCE ON DIGITAL DEVICES

         86.    As used herein, the term "digital device" includes any

   electronic system or device capable of storing or processing

   data in digital form, including central processing units;

   desktop, laptop, notebook, and tablet computers; personal

   digital assistants; wireless communication devices, such as

   telephone paging devices, beepers, mobile telephones, and smart

   phones; digital cameras; gaming consoles (including Sony

    PlayStations and Microsoft Xboxes); peripheral input/output

    devices, such as keyboards, printers, scanners, plotters,

    monitors, and drives intended for removable media; related

    communications devices, such as modems, routers, cables, and

    connections; storage media, such as hard disk drives, floppy

    disks, memory cards, optical disks, and magnetic tapes used to

    store digital data (excluding analog tapes such as VHS); and

    security devices.

         87.    Based on my knowledge, training, and experience, as

    well as information related to me by agents and others involved

    in the forensic examination of digital devices, I know that it

    is not always possible to search digital devices for digital

    data in a single day or even over several weeks for a number of

    reasons, including the following:




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              a.    Searching digital devices can be a highly

   technical process that requires specific expertise and

   specialized equipment.     There are so many types of digital

   devices and software programs in use today that it takes time to

   conduct a thorough search.     In addition, it may be necessary to

   consult with specially trained personnel who have specific

   expertise in the type of digital device, operating system, and

   software application being searched.

               b.   Digital data is particularly vulnerable to

   inadvertent or intentional modification or destruction.

    Searching digital devices can require the use of precise,

    scientific procedures that are designed to maintain the

    integrity of digital data and to recover "hidden," erased,

    compressed, encrypted, or password-protected data.         As a result,

    a controlled environment, such as a law enforcement laboratory

    or similar facility, is essential to conducting a complete and

    accurate analysis of data stored on digital devices.

               c.   Based on my discussions with IRS-CI SA John

    Weeks, I understand the SUBJECT DEVICES may contain a

    substantial of data.    A single megabyte of storage space is the

    equivalent of 500 double-spaced pages of text.        A single

    gigabyte of storage space, or 1,000 megabytes, is the equivalent

    of 500,000 double-spaced pages of text.

               d.   Electronic files or remnants of such files can be

    recovered months or even years after they have been downloaded




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   onto a hard drive, deleted, or viewed via the Internet.s4

   Electronic files saved to a hard drive can be stored for years

   with little or no cost.     Even when such files have been deleted,

   they can be recovered months or years later using readily-

   available forensics tools.     Normally, when a person deletes a

   file on a computer, the data contained in the file does not

   actually disappear; rather, that data remains on the hard drive

   until it is overwritten by new data.      Therefore, deleted files,

   or remnants of deleted files, may reside in free space or slack

   space, i.e., space on a hard drive that is not allocated to an

   active file or that is unused after a file has been allocated to

   a set block of storage space, for long periods of time before

   they are overwritten.     In addition, a computer's operating

   system may also keep a record of deleted data in a swap or

   recovery file.    Similarly, files that have been viewed on the

   Internet are often automatically downloaded into a temporary

   directory or cache.     The browser typically maintains a fixed

   amount of hard drive space devoted to these files, and the files

    are only overwritten as they are replaced with more recently

    downloaded or viewed content.     Thus, the ability to retrieve

    residue of an electronic file from a hard drive depends less on

    when the file was downloaded or viewed than on a particular

    user's operating system, storage capacity, and computer habits.

    Recovery of residue of electronic files from a hard drive



         s4 These statements do not generally apply to data stored in
    volatile memory such as random-access memory, or "RAM," which
    data is, generally speaking, deleted once a device is turned
    off.


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   requires specialized tools and a controlled laboratory

   environment.    Recovery also can require substantial time.

              e.    Although some of the records called for by this

   warrant might be found in the form of user-generated documents

   (such as word processing, picture, and movie files), digital

   devices can contain other forms of electronic evidence as well.

   In particular, records of how a digital device has been used,

   what it has been used for, who has used it, and who has been

   responsible for creating or maintaining records, documents,

   programs, applications and materials contained on the digital

   devices are, as described further in the attachments, called for

   b y this warrant.   Those records will not always be found in

   digital data that is neatly segregable from the hard drive image

   as a whole.     Digital data on the hard drive not currently

   associated with any file can provide evidence of a file that was

   once on the hard drive but has since been deleted or edited, or

   of a deleted portion of a file (such as a paragraph that has

   been deleted from a word processing file).       Virtual memory

    paging systems can leave digital data on the hard drive that

    show what tasks and processes on the computer were recently

    used.   Web browsers, e-mail programs, and chat programs often

    store configuration data on the hard drive that can reveal

    information such as online nicknames and passwords.         Operating

    systems can record additional data, such as the attachment of

    peripherals, the attachment of USB flash storage devices, and

    the times the computer was in use.      Computer file systems can

    record data about the dates files were created and the sequence



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   in which they were created.     This data can be evidence of a

   crime, indicate the identity of the user of the digital device,

   or point toward the existence of evidence in other locations.

   Recovery of this data requires specialized tools and a

   controlled laboratory environment, and also can require

   substantial time.

              f.    Further, evidence of-how a digital device has

   been used, what it has been used for, and who has used it, may

    be the absence of particular data on a digital device.          For

                                                                 was
    example, to rebut a claim that the owner of a digital device

    not responsible for a particular use because the device was

    being controlled remotely by malicious software, it may be

    necessary to show that malicious software that allows someone
                                                               on
    else to control the digital device remotely is not present

    the digital device.    Evidence of the absence of particular data

    on a digital device is not segregable from the digital device.

    Analysis of the digital device as a whole to demonstrate the
                                                              a
    absence of particular data requires specialized tools and
                                                               tial
    controlled laboratory environment, and can require substan

    time.

               g.    Digital device users can attempt to conceal data
                                                                ng
    within digital devices through a number of methods, includi

    the use of innocuous or misleading filenames and extensions.

    For example, files with the extension ".jpg" often are image

    files; however, a user can easily change the extension to ".txt"
                                                                  s
    to conceal the image and make it appear that the file contain

    text.   Digital device users can also attempt to conceal data by



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   using encryption, which means that a password or device, such as

   a `~dongle" or "keycard," is necessary to decrypt the data into

   readable form.    In addition, digital device users can conceal

   data within another seemingly unrelated and innocuous file in a

   process called "steganography."      For example, by using

   steganography a digital device user can conceal text in an image

   file that cannot be viewed when the image file is opened.

   Digital devices may also contain "booby traps" that destroy or

   alter data if certain procedures are not scrupulously followed.

   A substantial amount of time is necessary to extract and sort

   through data that is concealed, encrypted, or subject to booby

   traps, to determine whether it is evidence, contraband or

   instrumentalities of a crime.      In addition, decryption of

   devices and data stored thereon is a constantly evolving field,

   and law enforcement agencies continuously develop or acquire new

   methods of decryption, even for devices or data that cannot

   currently be decrypted.

               h.   The search of the SUBJECT DEVICES will likely

   take a considerable amount of time for multiple reasons.           First,

   as noted above, the SUBJECT DEVICES contain a substantial amount

   of data.    For example, I understand that SUBJECT DEVICE 7 alone

   contains approximately 1.5 million emails.       Second, the search

    of the SUBJECT DEVICES will require the use of a Privilege

    Review Team and the search protocols set forth in Attachment B

    to the search warrant application.




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         88.   Other than what has been described herein, to my

   knowledge, the United States has not attempted to obtain this

   data by other means.

                          VII. REQUEST FOR SEALING

         89.   I request that the search warrant, the search warrant

   application, and this affidavit be kept under seal to maintain

   the integrity of this investigation until further order of the

   Court, or until the government determines that these materials

   are subject to its discovery obligations in connection with

   criminal proceedings, at which time they may be produced to

   defense counsel.     I make this request for several reasons.

               a.   First, this criminal investigation is ongoing and

   is neither public nor known to AVENATTI and other subjects of

   the investigation.     Disclosure of the search warrant,

   application, and this affidavit could cause AVENATTI and others

   to accelerate any existing or evolving plans to, and give them

   an opportunity to, destroy or tamper with evidence, tamper with

   or intimidate witnesses, change patterns of behavior, or notify

   confederates.

               b.   Second, based on evidence collected to date and

   described herein, there is probable cause to believe that

   AVENATTI took a number of affirmative actions to obstruct the

    IRS civil collection action relating to GBUS's unpaid payroll

    taxes by, among other things, lying to RO 1, changing contracts,

    merchant accounts, and bank account information to avoid liens

    and levies imposed by the IRS, and instructing employees to

    deposit over $800,000 in cash from Tully's stores, which were



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   owned and operated by GBUS, into a bank account associated with

   a separate entity to avoid liens and levies by the IRS.          If

   AVENATTI were to learn of the instant investigation he might

   engage in similarly obstructive conduct.

              c.    Third, a number of former GBUS employees have

   expressed concerns that AVENATTI might attempt to retaliate

   against them if he learned they were cooperating with the

   government's investigation.

              d.    Fourth, there is a possibility that some evidence

   relating to GBUS's operations may have already been lost when

   GBUS was evicted from its corporate offices and AVENATTI refused

   to pay the bill for GBUS's cloud-based server.         Although IRS-CI

   has been able to obtain some GBUS records, including the data

   stored on the SUBJECT DEVICES, from other sources, AVENATTI's

   apparent willingness to allow GBUS records to be lost or

   destroyed raises a concern that, were AVENATTI to learn of the

   instant investigation, he might not hesitate to destroy any

    remaining GBUS records and other relevant evidence.

               e.   Fifth, the government is still attempting to

   locate additional documentary evidence that is relevant to the

   investigation, including emails and electronic records that may

    be stored by AVENATTI, EA LLP, A&A, or other related entities.

    As noted herein, AVENATTI appears to have worked primarily out

    of EA LLP's office and used solely his EA LLP email address to

    conduct business.    The government is still attempting to

    identify the Internet service provider AVENATTI used for EA

    LLP's email accounts and/or the location of his email server.



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   Additionally, EA LLP was recently evicted from its offices in

   Newport Beach, California, and investigators have yet to

   determine where EA LLP's records are being currently stored.            If

   alerted to the government's investigation, it is therefore

   possible that AVENATTI would attempt to destroy such records and

   that the government would have no other means to obtain this

   evidence.

                            V222.      CONCLUSION

         90.   For the reasons described above, I respectfully submit

   there is probable cause to believe that evidence, fruits, and

   instrumentalities of the Subject Offenses, as described with

   particularity in Attachment B, will be found on the SUBJECT

   DEVICES, as described with particularity in Attachment A.



                                                 /s/
                                        Remoun Karlous, Special Agent
                                        Internal Revenue Service -
                                        Criminal Investigation




    Subscribed to and sworn before me
    this 22nd day of February, 2019.


           DOUGLAS F. McCORMICK
    HONORABLE DOUGLAS F. McCORMICK
    UNITED STATES MAGISTRATE JUDGE




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       Y~IMITED WAIVER OF ATTURNEY-CLIENT PRIVILEGE AND CONSENT T0►
            SEARCH SY NANCY L. JAMES IN HER CAPACITY AS TRUSTEE
                        FUk ~LUBAL ~ARISTAS US,PLC

            I,Nancy L. James, in my capacity as the Trustee far Global Baristas US LLC, hereby
   agree and state as follows.
            1.     On or about 4o#ober 24, ~U18, s Chapter 7 ~tvoluntary bankruptcy petition was
   filed against Global Baristas US, LLC ("G$US"), in the United States Bank~vptcy Court for the
   Western District of Washiington, in In re: Global Baristas US LLC, No. 18-14095~TVfiD (the
   "GBUS Bankruptcy"). fln Navem6er 30, 2018, an Qrder for Relief was issued in connection
   with GBUS Bankruptcy, andIwas apgoint,~cl as ~Ct~e Tres#ee fer GBUS.
            2.     Iunderstand that the Internal Revenue Services — Crimina] tnvestigation~ {"IRS-
   ~P'~ is in g~ssessan o~ certain GBUS business recc3rds and communieatic~ns it obtained from
   ft~rmer GBUS employees in both hard-copy and electronic form, as described xn paragraph 3,
   below.
            3.     In my capacity as Tru~ttee for GBUS,Iconsent to the seaz~~ of the ~a~lawing
   items Curren#y in the possession of IRS-CI.
                    a,     A, ~o~rensic image of a Dell XPS I28 GB Samsung SSD, bearing serial
   number SiD2NSAG5(}00'7?7, provided to TRS-CI by ~ia~~an or about Oc#ober 22,
    2D18.
                    b.     Hard-cagy GBUS records provided by Ni-E~on or about October
    22, 2018.
                    c,     A forensic image of a Dell Frecision,, Nfodel M4800, bearing service tag
    number ~52~+1262, provided to SRC-CI by S~F~~n car about Qctaber 21, 2018.
                    d.     Hard-copy GSUS records grov died by S~F~nn ar abau~
    O~ctot~er 21, 2418.




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                  e,      A far~nsia image ofa Seagate External Hard Drive, mode number
   SRDO~~'1, wring seriat number NA44~IIL,QH, provided to IRS-CI by N1-G■on or about
   October 2~, 208.
                  f.      Cflpies of i~xt messages betweenM~t'~a~d other GBUS
   employees obtained from Grice can or about September 2b, 2418.
                  g.      A farms c image ofa Samsung flash drive provided to IRS-CI by V-
   5~an or about October 31, 2~1S,
                  h.      Hardcopy BUS business xecords provided to IRS-CI by V~5'
   on or abau# acto6er 31, 2418.
                  i.      A forensic image of a Seagate Hazd Drive,. wring serial number
   SVJ+C1GXV provided to IRSRCI by A~CJ~ on er about November 13, 2018.
                   j.     A fames c image of a Veeam 2GB flash drive provided tc> IRS-CI by
   A~G~on or about November 13, 2Ui8.
                   k.     A forensic rage of a Seagate Hard Drive,. bearing serial number
   SV~CIG~V provided to TRS-CI by A~G                     an ar about November ZU, 2018.
           4.      With respect to any GBUS business m:cor~s, including those records and
   canununicatians ~n the possession of TRS-CI described in paragraph 3 above, in my capacity as
    the Trustee for IiBUS,Iagree to waive any claims of the attarneylclient privilege that may exist
   between GBUS and any legal counsel acting ran its be~al£ More s~cificalty, and sul~jeet to the
   limitations below,Iagree to waive the attorney-client privilege as to any attorney-client
    communications which may exist between. any officear, director, employee, or agent of GBUS on
    tt~e one hand, and an the c~thex Ind any lawyer acting on b~balf of GBUS, including, but not
   limited t4, the following indivi+ uais and law firms. Michael Avenatti; Eagan Avenat~ LLP;
    Avenatti &Associates ~1PC; Foste;~ Pepper PLL~; 4sbc►rn Machter PLLC Eisenhower Carlson
    PLLC, and Tatmadg~elTFitzpatrck/'~"ribe, PPI.G,
           S.      This v~aiver of the attorney-client privilege is limited in that it does not apply to
    any attorr~.ey-client privileged ~ornmuc~icatians that took place after the involuntary pefition was

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   filed in the GBUS Bai~icruptcy on October 24,?018. Nor does it apply #o any communications

   between the Trustee of GBUS and any lawyers acting oii behalf pf tl~e Trustee, including, but not

   limited to, Rory C. Livesey and the Livesey Law Firm. This waiver ofthe attorney-client

   privilege is further limited to the United States government and its employees and agenfis,for any

   purpose related to the official performance oftheir duties, and does not extend to any other

   individual, entity or third party.

          6.          In my capacity as Trustee for GBUS,I also authorize any former or current

   officer, directors, employees, or agents of GBUS to disclose to the United States governmeizt all

   materials, written or oral., relating to any attorney-client privileged communications covered by

   the limited attorney-client privilege waiver set forth in paragraphs S and 6 above.

          7.          I have read this Limited Waiver ofthe Attorney-Client Privilege and Consent to

   Search ca~•efiilly and understand it thoroughly. I, in my capacity as Trustee for GBUS,have

   agreed to this Linuted Waiver ofthe Attorney-Client Privilege and Consent to Search freely and.

   voluntarily.


                                                                          2 - J ~/-~
               L. J                                                     Date
    Trustee for Global Baristas US LLC




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